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1                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
2

3       UNITED STATES OF AMERICA,
                                                              Criminal Action
4                     Plaintiff,                              No. 1: 21-399
5               vs.                                           Washington, DC
                                                              February 12, 2024
6       ROMAN STERLINGOV,
                                                              9:08 a.m.
7                   Defendant.
        __________________________/
8

9                             TRANSCRIPT OF JURY TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                          UNITED STATES DISTRICT JUDGE
11

12      APPEARANCES:
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22

23                       APPEARANCES CONTINUED ON NEXT PAGE

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1                                APPEARANCES CONTINUED

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1                                P R O C E E D I N G S
2                   THE COURTROOM DEPUTY:        Criminal case 21-399, United

3       States of America versus Roman Sterlingov.

4                   Would counsel please state your name for the record,

5       starting with government counsel?

6                   MR. PEARLMAN:    Jeffrey Pearlman for the government.

7       With me is Chris Brown, and Alden Pelker for the government.

8                   THE COURT:    All right.      Good morning to you.

9                   MR. EKELAND:    Tor Ekeland and Michael Hassard for the

10      defendant, Roman Sterlingov, who is present in court.

11                  THE COURT:    All right.      Good morning to you as well.

12      I want to get to the jury selection process, because we have a

13      lot of people waiting here.          And I want to make sure we get it

14      done today.    There are a couple of things I wanted to mention

15      to you preliminarily.      And then we can come back for openings

16      and discuss other issues that we need to discuss before we do

17      openings.

18                  THE REPORTER:    Can you turn up the microphone?

19                  THE COURT:    Can you not hear me?

20                  MR. EKELAND:    It is a little garbled to me.

21                  THE COURT:    Well, I will do my best to speak up.

22                  First off, it appears to me that Mr. Sterlingov was

23      successful in getting the hair cut and the shave.

24                  You can answer, Mr. Ekeland.

25                  MR. EKELAND:    I haven't had a chance to speak with
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1       him this morning, but it looks like --

2                   May he address the Court?

3                   THE COURT:     Yes, if he wants to.

4                   THE DEFENDANT:     Your Honor, I did get a haircut,

5       although, there is a few issues with it, it should be fine.

6       But there are issues with shaving.            This facility, the CDF part

7       of it, and they didn't give you any razors or any ability to

8       shave.    When they shave you, they do it with a cutter?

9                   THE COURT:     A straight razor, a blade?

10                  THE DEFENDANT:     No, a machine.

11                  THE COURT:     I see.

12                  THE DEFENDANT:     It doesn't clean shave.

13                  THE COURT:     It is not a close shave.

14                  THE DEFENDANT:     Yeah.      No, it is not a razor, it is

15      just a machine.       And I am not sure that they will be able to

16      provide that every day of the trial.

17                  THE COURT:     If it is an issue, let me know.               From

18      here at least, you look fine to me.            If there is an issue, let

19      me know and I will see what I can do to address it.

20                  THE DEFENDANT:     I would like you to ask them to

21      transfer me to CTF.       I have been looking into issues for a

22      while and all of them are resolved there.

23                  THE COURT:     I will -- did we ask the marshal to come

24      by?   Was he able to come back?

25                  I will follow up.         I did contact the marshal and I
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1       will follow up.       All I can do is make a request and then I will

2       see what they say.

3                   I do want to mention to you all that I currently have

4       a jury that is deliberating in another case.               And so it is

5       possible that I may get a jury note or a verdict while we are

6       involved in jury selection here and I will have to excuse

7       myself and go take care of that.         Let's see here.

8                   For efficiency, quite frankly, I think the only

9       difficulty we are going to have in picking a jury in this case

10      is how lengthy the trial is going to be.               We are going to have

11      a lot of people who will just say that they can't serve for

12      that long.    I probably will jump to that question first, when I

13      follow up with the jurors.        If everyone is in agreement, either

14      because of that or for other reasons, a person doesn't speak

15      English well or has health issues, if we are in agreement early

16      on in the selection, I am going to look up at you.                And if you

17      both say me to, no objection, Your Honor, I will just look at

18      you and say no objection, I will go ahead and excuse that

19      person, before we spend another 10 minutes going through and

20      asking about their views about the internet, you know, versus

21      not going -- if a person is not going to sit anyway.                 So be

22      prepared to signal me on that, just for the sake of efficiency,

23      by and large.

24                  Go ahead.

25                  MR. PEARLMAN:     Your Honor, if I may, but you will
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1       inquire as to their availability, there will back and forth

2       about that?

3                   THE COURT:    Oh, yeah.     Yes, I am saying someone where

4       the person is going to simply say, this case would be an

5       extreme hardship.      And they are going to say, I am a doctor, I

6       have got 75 surgeries scheduled for the next month, people will

7       die if I serve as a juror in this case.            I will go, okay, and

8       you will say no objection, no objection and then we'll know

9       that person -- we won't waste any further time on that person.

10                  MR. EKELAND:    Thank you, Your Honor.

11                  THE COURT:    I am going to tell the jurors absent any

12      disagreement on this that the trial -- that we expect the

13      presentation of evidence to be done by March 7th.              Quite

14      frankly, I am a little surprised.          Obviously, you know the case

15      in a way I don't.      I am surprised this case is going to take

16      that long.    But unless you think that is ill advised, that is

17      what I am going to tell the jury or the prospective jury.

18                  Oh, a lot of time when I get people with excuses that

19      are not overwhelming, like my example of the surgeon, I

20      probably will go ahead and confer with you on the phone.               And

21      even if we decide to excuse the person, I probably will send

22      the person back to their seat.         Because I don't want to create

23      a template for people who would rather not spend a month in

24      jury service where they know that if they say, I have

25      non-refundable plane tickets, that is the end of the inquiry.
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1       And they will then -- -- I have seen it before where the next

2       10 people will say, I have non-refundable plane tickets.               So

3       rather than on the public record excuse that person, I will

4       send them back to their seat.        And the deputy clerk will at

5       some point later during a break, keep track of that and let

6       people know if we decide they were excused, but rather than

7       creating that type of template.

8                   The government filed a motion with respect to the

9       voir dire and asked that I preclude the defense from using this

10      as an opportunity to make improper argument to the jury,

11      including jury nullification and so forth.            I should be clear

12      to both parties, that I do not regard this as an opportunity

13      for any argument to the jury.        We are not beginning argument in

14      this case.    And you should not use the jury selection process

15      as an opportunity for argument of any type.            Nor is it an

16      opportunity to ingratiate yourself with prospective jurors or

17      to pick a fight with the juror that you want to exclude.               It is

18      an opportunity for brief follow-up to questions that I have

19      asked and we have already agreed are appropriate questions to

20      ask.   It is not an open-ended inquiry.

21                  Under Rule 24, if I conclude that the parties are not

22      abiding by my instruction in this respect, I will not allow

23      counsel to ask any follow-up questions and you will submit to

24      me in writing any follow-up questions you want to ask.                So I

25      encourage you to be thoughtful about the follow-up questions
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1       you ask.    And by way of example, what I have in mind is a juror

2       says that they may be biased in favor of or against law

3       enforcement for X reason.      And I ask the person some questions

4       about that and ask the person whether they can nonetheless be

5       fair and impartial and they say, yes, I can be.              And someone

6       wants to get up and say -- ask a follow-up question and say,

7       well, when you said before that you were concerned about

8       whether you could be impartial, do you feel as though you could

9       put those concerns aside?      That is the type of follow up that I

10      have in mind.     I don't have in mind getting up and just going

11      onto entirely new lines of questioning that were not raised in

12      the prospective juror's answers to the questionnaire or to my

13      questions, both the ones that I delivered to everybody together

14      and the follow-up questions.         It is not an opportunity for

15      open-ended follow up.

16                  And I will tell you this by way of my experience.                  I

17      mean, I am just finishing this other trial.             And I would say

18      two-thirds of the time there was no follow up, but one-third of

19      the time there was one or two questions follow up.              I am not

20      saying that is a strict rule.        That has sort of been my

21      experience of what I have seen.         And certainly it is not an

22      opportunity to engage in any lengthy conversation.              Let's see

23      here.

24                  The defense filed something last night asking that I

25      rule on the pending venue motion and Daubert motions.                  I have
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1       already told you a substantial amount about my thinking on

2       those issues.     I will -- I don't want to take the time to do it

3       now while we have prospective jurors waiting.             But I will give

4       you an oral ruling form the bench explaining my ruling in

5       greater detail.       But just for your preparation purposes, I have

6       already indicated to you that I am inclined to deny the venue

7       motion.    Although I thought that hidden within that venue

8       motion was just a substantive issue that didn't go to venue,

9       that went to applicability of the DC statute.             And we all

10      agreed that I would give you an opportunity subsequently, if

11      you wanted to, to brief and address those issues perhaps in a

12      post-trial briefing.       But I will give you a further analysis.

13                  And then with respect to the Daubert issues, the

14      defense has withdrawn Ms. Still and Dr. Dror.             And I think I

15      ruled in general with respect to the remaining defense

16      witnesses, although something was filed I think it was -- I am

17      losing track -- last night or shortly before last night, a

18      filing from the government which I might -- I mean from the

19      defense which I might infer is a partial motion for

20      reconsideration with respect to Cabanas and Verret by providing

21      certificates with respect to their additional certifications or

22      training.

23                  And if you want to raise something with respect to

24      that, we can come back to that.         And I am going to have to give

25      you my rulings with respect to Scholl, Bisbee, Mazars de
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1        Mazarin, and Vlahakis, for purposes of your trial preparation,

2        I think you can assume that I am going to allow in the bulk of

3        that testimony.      Although, there may be some areas where I

4        limit what is allowed.      But I will give you more complete

5        description, very brief description of my reasoning as to all

6        of that before you open.

7                   Trying to read my own handwriting here.

8                   Well, the government filed a motion requesting that

9        my preliminary jury instructions -- I tell the jury that I am

10       going to allow jury questions, which I have not done in the

11       past.   It does me seem to this is a case in which that might be

12       appropriate.    I want to hear from the defense.          We don't need

13       to take the time to do it right now before I make a decision

14       about doing that, but it does strike me when dealing with some

15       highly technical issues that permitting jurors to ask questions

16       in the very limited manner that it is allowed under the red

17       book, provision might be appropriate.         But that would only be

18       after the lawyers have asked all of the questions before the

19       witness is dismissed.      And it would be in writing to me and I

20       would then discuss it with you and decide whether to ask the

21       question or not.

22                  And then one final thing that I wanted to raise,

23       before we get going now was the motion -- again, I think it was

24       filed last night -- the defense filed on a discovery issue.

25       And said they just received an additional bulk of -- a great
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1        bulk of additional discovery.        So maybe if the government could

2        respond to that.

3                   MS. PELKER:      Yes, Your Honor.      So the government

4        pushed out discovery on Saturday night.           The vast majority of

5        that discovery is Jencks and cooperator discovery, as well as

6        discovery pertaining to updated trial visuals of demonstratives

7        and summary charts, much of which we have previously provided

8        to defense in prior versions.        We wanted to make sure they had

9        the most updated versions.       The size of the file is largely

10       driven by two database files that pertain to a cooperator,

11       which we produced out of, frankly, an overabundance of caution.

12       Those two files together total 953 megabytes, so almost the

13       entirety of it.      Spreadsheets pertaining to that work have been

14       produced to defense prior to the previous trial date.                  And in

15       doing our final due diligence, I don't believe there is

16       anything that is significantly new in these database files.                    We

17       wanted to give them all of this because it is sensitive

18       cooperator discovery.       And that is the reason for the

19       production.

20                  There are two actual new pieces of information that

21       were provided.       There is a scrape of the -- or a print off of

22       the defendant's public Reddit post.          And there is also a

23       finalized set of translations for some post on another forum

24       that was made by the defendant.         We had produced those posts

25       and messages to the defense on February 3rd and flagged in our
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1        discovery letter that the official translations were in process

2        and would be provided as soon as we had them.

3                   THE COURT:    Have you been able to identify for

4        defense, just to save them time, what is new in the discovery

5        that they have provided?      So they don't have to go through all

6        of it to figure out what is new.

7                   MS. PELKER:     I believe that it should be fairly self

8        evident based on the folders.       But the two new items are the

9        Reddit post, which is titled, Captain something Reddit post.

10       And then the exploit meth folders, which is an update of a

11       prior production.

12                  THE COURT:    Okay.

13                  MS. PELKER:     And in the trial visuals, there are

14       updates based on updates to the charts that have been

15       previously provided.

16                  THE COURT:    All right.     Mr. Ekeland.

17                  MR. EKELAND:     Yes, Your Honor.

18                  THE COURT:    Make sure you are at a microphone.

19                  MR. EKELAND:     Your Honor, it is -- again, it is over

20       a gigabyte worth of data.      So we have been unable to look at

21       everything.    So I can't say one way or the other right now

22       whether the government's representations are accurate.                As for

23       the database files that Ms. Pelker is referencing, one of them

24       is an 800 megabyte SQL file that we need specialized software

25       to open up.    Apparently there is a spreadsheet that I don't
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1        know that has been produced or not before that shows that

2        government accessed all of Mr. Sterlingov's passwords to all of

3        his accounts from his laptop.        Nothing in there shows that he

4        is operating Bitcoin Fog.      But the issue is that we got this

5        all on Saturday around 9:30 right, obviously, on the eve of

6        trial.   We just haven't had the time to look at it.             So I am a

7        little uncomfortable making representations to the Court as to

8        what is or what isn't in it.        I am not sure it is all Jencks.

9        It might be, it might not.      There might be new discovery in

10       there that we haven't seen or maybe there is stuff they

11       produced and we haven't missed.

12                   And there are some concerns.         And, again, I don't

13       know whether or not, because I haven't looked at it that there

14       is -- you know may be potentially Brady concerns in here with

15       the spreadsheet.     I do not know.      What we are asking for is a

16       couple days, just to be able to go look through this volume of

17       discovery, rather than having it all, you know, sort of given

18       to us on Saturday night.      We also got another production last

19       night.   And this was translations.        And stuff that is more in

20       line with what I am used to on the eve of trial.             But a

21       gigabyte of data on the eve of trial I think is burdensome to

22       the defense.    So we ask for a short continuance so we can

23       evaluate.

24                   THE COURT:   The problem is I have got a trial the day

25       after we finish this trial.         So any continuance in this means
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1        you all have to be shorter in putting your case on.                And I

2        don't know how I control that.

3                    I have to say, I am not convinced there is a need for

4        a continuance based on Ms. Pelker's description of what was

5        provided.    You may need to look at it.          I am a little surprised

6        you haven't had a chance to glance at it yet.               But if you look

7        at it and there is a problem, let me know.              But at this point,

8        Ms. Pelker is telling me what she says is there and you are

9        telling me you don't know what is there.               I have to go at least

10       for now with what she has described.

11                   MR. EKELAND:     Your Honor, I do know, for instance,

12       there is an 800 megabyte SQL file.

13                   THE COURT:    I know.     Ms. Pelker has just described to

14       us what it is.       It is something that has been previously

15       produced that they are giving you the most absolutely updated

16       version of.    So they are being careful to make sure you have

17       the absolutely most updated version.

18                   MR. EKELAND:     Your Honor, we will go back and look

19       again, because we have not had time to closely look at it.                  But

20       we just object to getting a gigabyte of discovery on Saturday

21       on the eve of trial.

22                   THE COURT:    Okay.      All right.    So anything else that

23       we need to address before we bring the prospective jurors in?

24                   MS. PELKER:     Nothing from the government, Your Honor.

25                   THE COURT:    So I am going to step off the bench while
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1        the deputy clerk arranges everybody.         And we will get going

2        with the jury selection.

3                   (Recess taken at 9:28 a.m.)

4                   (Jury in at 10:02 a.m.)

5                   THE COURTROOM DEPUTY:       Calling criminal case 21-399,

6        United States of America versus Roman Sterlingov.

7                   Would counsel please state their name for the record,

8        starting with government counsel.

9                   MR. PEARLMAN:     Good afternoon, Your Honor.         Jeff

10       Pearlman for the government.        With me are attorneys Christopher

11       Brown and Christine Pelker.

12                  THE COURT:    All right.     Good morning.

13                  MR. EKELAND:     Good morning, Your Honor.         Tor Ekeland

14       and Michael Hassard for Defendant Roman Sterlingov, who is

15       present in court.

16                  THE COURT:    All right.     Thank you.

17                  Good morning.     And welcome to the United States

18       District Court.      I am Judge Moss.    And I am going to be the

19       presiding judge in this case.       You have all been called to this

20       courtroom for possible selection in a criminal case entitled

21       United States versus Roman Sterlingov.          Let me ask that you all

22       first stand so the deputy clerk can administer the oath and

23       then we can proceed.

24                  (Jury panel sworn.)

25                  THE JURY:    Yes.
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1                   THE COURTROOM DEPUTY:       Thank you.     Please be seated.

2                   THE COURT:    The purpose of a jury selection, which

3        you will hear referred to sometimes as voir dire, is to select

4        jurors who have no prior knowledge of the case.            And no bias

5        toward either side in the case.        In short, it is our aim to

6        select a jury of 12 with four alternates that will reach a

7        verdict based solely on the evidence presented in the courtroom

8        and the law as I instruct you.

9                   During this process, you will be introduced to the

10       participants in the trial.      And I will ask you a series of

11       questions that the lawyers and I think will be helpful to us in

12       selecting a fair and impartial jury.

13                  You, of course, are bound by the oath that you have

14       just taken to truthfully answer those questions.            This is a

15       criminal case in which the defendant, Roman Sterlingov, is

16       charged in an indictment with money laundering, conspiracy to

17       commit money laundering, operating an unlicensed money

18       transmitting business and money transmission without a license.

19       The charged offenses are alleged to have occurred from on or

20       about October 27th, 2011 to at least on or about April 27th,

21       2021, in the District of Columbia and elsewhere.

22                  An indictment is just the formal way of informing a

23       defendant of the nature of the charges against him.

24       Mr. Sterlingov has pled not guilty to the indictment and has

25       sought a trial by jury.      He is presumed innocent of the charged
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1        crimes and you are not to consider the indictment as any

2        indication of guilt.     You should all now have an index card and

3        a pen or pencil.     Does everyone have that?

4                   A JUROR:    Yes.

5                   THE COURT:    If you have not already done so, please

6        write your juror number in the upper right-hand corner of the

7        index card.

8                   I am now going to ask you a series of questions.

9        They are all yes-or-no questions.        If you have a yes answer to

10       a particular question, please write down the number of that

11       question on your card.      Don't write yes or why you have a yes

12       answer, just write down that number.         And if the answer is no,

13       you don't have to write down anything at all.            After I finish

14       asking you all of the questions, I, along with the lawyers and

15       my staff will leave and -- I'm sorry.         We are going to stay

16       here, I apologize.     Change of plans.      What we are going to do

17       is the deputy clerk will escort you up one by one to the

18       witness box there.     And I will then ask you about your answers.

19       And I will provide the lawyers with a brief opportunity to

20       follow up on our discussion.

21                  I should note that if a few of the questions I need

22       to ask might touch on personal or private matters, which you

23       would rather not discuss on the public record.            And in order to

24       choose a fair and impartial jury, I do need to ask those

25       questions and you need to answer them truthfully and fully.
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1        And if there is anything you would like to discuss in private,

2        just let me know and I can close that portion of our discussion

3        to everyone except for the lawyers and their client.             And I

4        will instruct them to keep your comments private.

5                   So here are my questions:        And if at any point, you

6        either can't hear or if you want me to repeat a question, just

7        raise your hand.     Because I want to make sure everyone

8        understands all of the questions and that you hear them

9        clearly.

10                  So question number 1, do you no longer live in the

11       District of Columbia?

12                  Question number 2, other than what I have just

13       summarized, have you heard, seen or read anything from any

14       source about this case?

15                  Question number 3, do you read, subscribe to, listen

16       to podcasts or follow on social media any specialized

17       technology or cryptocurrency media such as "Wired Magazine,"

18       CoinDesk, Cointelegraph or podcasts relating to cryptocurrency?

19                  Question number 4, have you heard, seen or read

20       anything about a case involving the theft and laundering of

21       cryptocurrency from the cryptocurrency exchange Bitfinex or the

22       arrest of Ilya Dutch Lichtenstein and Heather Morgan also known

23       as Razzlekhan or the Crocodile of Wall Street?

24                  Question number 5, have you heard, seen or read

25       anything about a case involving Larry Harmon, Helix or Bitcoin
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1        mixing and tumbling?

2                   Question number 6, are you familiar with any of the

3        following companies:     Chainalysis, CipherTrace, Excygent LLC,

4        Elliptic or any companies that do blockchain analysis?

5                   Question number 7.       The government is represented by

6        Assistant United States Attorneys Christopher Brown and

7        Department of Justice Attorneys Catherine Alden Pelker and

8        Jeffrey Pearlman.     They will be assisted at trial by paralegals

9        Angela de Falco and Divya Ramjee.        Do you know or do you have

10       any connection with Mr. Brown, Ms. Pelker, Mr. Pearlman, Ms. De

11       Falco or Ms. Ramjee?

12                  Question number 8, the defendant in this case is

13       Roman Sterlingov.     Do any of you know or have any connection

14       with Mr. Sterlingov?

15                  Question number 9, the attorneys representing the

16       defendant are Tor Ekeland and Michael Hassard of Tor Ekeland

17       PLLC.   They will be assisted by legal assistants Courtney

18       Galiwas and Stephanie Norman, do you know or have any

19       connection with Mr. Ekeland, Mr. Hassard, Tor Ekeland PLLC,

20       Ms. Galiwas or Ms. Norman?

21                  Question number 10, if I can ask you to take a minute

22       and look around the courtroom here at your other fellow

23       potential jurors.     Do you recognize or think you know any other

24       potential juror in the panel?

25                  Question number 11, during the presentation of
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1        evidence, you may hear testimony from, or about the following

2        persons:   Aaron Bice, Albin Hoffmeier, Alexandra Comolli, Andy

3        Greenberg, Angela Wilkins, Bryon Bishop, Devon Beckett, Diana

4        Erwin, Duncan Townsend, Elizabeth Bisbee, Eric Svensson,

5        Francisco Cabanas, Ilya Lichtenstein, JW Verret, James Rohls,

6        Jeffrey Fischbach, John Henry Smith, Jonathan Levin, Jonelle

7        Still, Justin Allen, Kathleen Kaderabek, Larry Harmon, Leo

8        Rovensky, Luke Scholl, Mansur Alyadinov -- that is

9        A-L-Y-A-D-I-N-O-V -- Martin Mattson, Matthew Price, Matthew St.

10       Jean, Max Barno, Michael Gronager, Ryan Lamb, Sarah Glave,

11       Sayyora Krulikowski, Sergei Miroff, Stephanie Norman, Steven

12       Santell, Theodore Vlahakis, Tracy Daun, Valerie Mazars de

13       Mazarin, Youli Lee, Yves Brechbill, or Zia Faruqui.             Do you

14       know any of the prospective witnesses or individuals?

15                  Question number 12, the courtroom deputy is Glenda

16       Walker and my law clerks are Megan Holloway, Jessica Levy and

17       Taylor Nicolas.      Do you know me or any member of my staff?

18                  Question number 13, the government has the burden of

19       proving that Mr. Sterlingov is guilty beyond a reasonable

20       doubt.   And he is presumed innocent unless and until the

21       government meets that burden.       Would you have any difficulty or

22       hesitation with respecting that allocation of the burden of

23       proof?

24                  Question number 14, there has been an indictment in

25       this case.    An indictment is not evidence of a crime.               It
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1        merely initiates a case and is a formal way of presenting the

2        charges.   The indictment here informs the defendant, the Court

3        and the members of the jury of the charges against the

4        defendant.    Would the fact the defendant -- would the fact an

5        indictment charges Defendant Sterlingov lead you to believe

6        that he is, in fact, guilty or make it difficult for you to

7        apply the presumption of innocence?

8                   Question number 15.      The indictment contains several

9        charges or counts against Mr. Sterlingov.            If the evidence

10       convinces you that Mr. Sterlingov is guilty beyond a reasonable

11       doubt with respect to one count but not of another count, would

12       you have any difficulty considering the evidence of each count

13       separately in rendering an independent verdict on each count?

14                  Question number 16, do you currently have an opinion

15       regarding whether the defendant is guilty or not guilty?

16                  Question number 17, some of you may watch legal or

17       true crime shows on television or on the internet in which

18       financial crimes are investigated.        The shows are usually

19       fictional.    If you watch the shows, would you be able to set

20       aside what you have seen and decide this case solely based on

21       the evidence presented at trial?

22                  Question number 18, in this case you may hear from

23       one or more witnesses who have already pled guilty to a

24       criminal offense and who have entered into a cooperation

25       agreement with the government.       Would the use of these
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1        cooperating witnesses prevent you from rendering a fair and

2        impartial verdict in this case?

3                   Question number 19, the defendant is a citizen of

4        Russia and of Sweden.      Do you have any strong feelings or

5        opinions about Russia or Sweden that would make it difficult

6        for you to render a fair and impartial verdict in this case?

7                   Question number 20, do you have any strong feelings

8        about foreign nationals being prosecuted in the United States

9        that would make it difficult for you to render a fair and

10       impartial verdict in this case?

11                  Question number 21, are you a computer professional

12       by education, training or experience?

13                  Question number 22, have you ever used the Tor

14       browser or used any similar technology for your online

15       activities?    It is just a coincidence, by the way, that the

16       defense counsel Mr. Ekeland's first name is Tor.

17                  Question number 23, have you ever accessed part of

18       the internet called the darknet or the deep web?

19                  Question number 24, do you have any strong feelings

20       or opinions about the use of cryptocurrency or about the

21       darknet or deep web?

22                  Question number 25, have you ever purchased, sold or

23       owned any cryptocurrency such as Bitcoin Ethereum or Dogecoin

24       or any other kind of cryptocurrency?

25                  Question number 26, have you ever participated in an
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1        initial coin offering purchased a non-fungible token or NFT or

2        purchased some other form of digital asset?

3                   Question number 27, do you have any strong feelings

4        or opinions about whether cryptocurrency should or should not

5        be regulated by the government?

6                   Question number 28, do you have any strong feelings

7        or opinions about the laws governing illegal drugs, narcotics

8        or controlled substances?

9                   Question number 29, do you have any strong feelings

10       or opinions about the laws relating to finance regulation or

11       commercial protection?

12                  Question number 30, do you have any strong feelings

13       or opinions about the IRS or the FBI that would make it

14       difficult for you to be a fair juror in this case?

15                  Have you or any family member or close friend ever

16       been audited by IRS?

17                  Question number 32, do you have any strong feelings

18       or opinions about law enforcement using undercover

19       investigative methods or techniques to collect evidence in

20       criminal cases?

21                  Question number 33, have you previously served on a

22       jury or a trial jury in a criminal or civil case in any court?

23                  Question number 34, have you ever been a witness in a

24       civil or criminal court case?       Have you ever been a party to a

25       court case?
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1                   Question number 35, have you, a family member or

2        close friend been the victim of or witness to a crime?

3                   Question number 36, have you, a family member or

4        close friend ever had any legal training or ever worked in a

5        law office?

6                   Question number 37, have you, a family member or

7        close friend ever been detained by the police, arrested or

8        charged with a crime?

9                   Question 38, do you have any strong opinions about

10       criminal defendants, defense attorney or prosecutors that would

11       make it difficult for you to render a fair and impartial

12       verdict if you were chosen as a juror?

13                  Question number 39, there may be testimony from law

14       enforcement officers in this case.        Would you tend to believe

15       or disbelieve their testimony or find them more or less

16       credible than other witnesses simply because they are law

17       enforcement officers?

18                  Question number 40, have you, a family member or

19       close friend ever worked for any of the following

20       organizations?

21                  First, any type of federal, state or local law

22       enforcement agency; second, a local, state or federal

23       prosecutor's office, such as the Office of the Attorney General

24       for the District of Columbia, the US Attorney's Office, the

25       Department of Justice or a state's attorney or commonwealth
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1        attorney; third, any public defender or private criminal

2        defense office; and, fourth, any jail, prison or other type of

3        penal institution?

4                   Question number 41.      Have you or any family member or

5        close friend or household member ever worked for or with a

6        government entity, engaged in financial regulation whether at

7        the local or federal level such as the DC Department of

8        Insurance, Securities and Banking; the US Department of the

9        Treasury; the Financial Crimes Enforcement Network; the US

10       Securities and Exchange Commission; the Federal Reserve System;

11       the Commodity Futures Trading Commission; the Federal Deposit

12       Insurance Corporation; the Office of the Comptroller of the

13       Currency or similar agency?

14                  Question number 42, do you have any health problems

15       that would interfere with your ability to serve as a juror?                Do

16       you take medication that makes you drowsy or make it difficult

17       for you to remain alert during the proceeding?            Do you have any

18       problems with your hearing or eyesight?

19                  Question number 43, are you or is anyone with whom

20       you live with whom you need to have frequent contact at

21       heightened risk of severe illness from COVID-19?

22                  Question 44, do you have any difficulty reading,

23       speaking or understanding English?        Question number 45, we

24       expect the presentation of evidence in this trial to conclude

25       by March 7th, 2024.     After the close of the evidence, the jury
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1        will deliberate until it has reached a decision.            Would serving

2        as a juror in this case be an extreme hardship to you?

3                    Question number 46, which I have referred to as my

4        catch-all question, and this asks whether there is any other

5        reason that I haven't asked about that might make it difficult

6        for you to sit fairly, impartially and attentively as a juror?

7        Perhaps you have a religious, moral or philosophic reason that

8        you believe would make it hard for you to be fair.             In sum, is

9        there any other reason that would make it difficult for you to

10       sit as a fair and impartial juror in this case?

11                   Now, as I explained, the deputy clerk will bring you

12       one by one up to the witness box.        And we'll collect your cards

13       as she does so.      We will go over the information that you have

14       listed and have a discussion with you about that.             We are going

15       to start on the right side in the front row there and make our

16       way through as many of you as we need to talk to.             If you need

17       to use the facilities, you can go outside and courthouse

18       personnel can direct you to them.        Please, please come out

19       promptly.    Don't wait around out in the hall.          Certainly don't

20       leave this floor of the courthouse.         Sometimes people stand

21       outside the courtroom and start talking among themselves, that

22       simply means the deputy clerk has to go out and find you and

23       that takes time.     So please come back to the courtroom

24       promptly.

25                   I ask that you not speculate about the case.              If you
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1        have any information that you are going to be providing me,

2        please don't discuss it with your fellow jurors so you don't

3        create a problem for them that telling them something that may

4        require that I excuse you and then may wind up requiring that I

5        excuse them all.     If there is anything that we should discuss

6        privately or confidentially, let me know.            You may not conduct

7        any independent investigation of the law or facts in the case.

8        That means you cannot conduct any kind of research about the

9        case, for example, researching any issue on the internet, using

10       your phone or another device, asking any questions of anyone

11       via email or text or otherwise communicating about or

12       investigating the facts or law connected to the case.

13                  Similarly, you may not do any investigation about any

14       of the attorneys, witnesses, expert witnesses or law

15       enforcement personnel in the case.        If a family member or a

16       colleague asks you about the case, you can say that you are

17       being considered for service in a criminal case, but you may

18       not say anything more and you may not discuss the case with

19       anyone.   You can talk amongst yourselves.           There is no problem

20       with that.    I just ask that you not discuss the case.

21                  If you do get up, please look at whoever is sitting

22       on either side of you.      We put you in order according to our

23       list.   And we ask that you come back to the same seat that you

24       are currently in and that way we won't inadvertently take you

25       out of order.    If you run into anyone associated with the case,
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1        please do not talk with them about the case.            If you are seen

2        talking to them, I will need to ask you additional questions

3        about that.    Again, you are not allowed to talk about the case.

4        And, again, if you are seen talking to counsels or anyone else

5        associated with the case, I will need to ask about that and

6        that just takes extra time.         We want you to come here without

7        getting any additional information from somebody else.                 If you

8        are chosen as a juror, you will be required to make your

9        decision based solely on the evidence that is going to be

10       presented in the courtroom.         And so we'll move through this as

11       quickly as we can.     And I do greatly appreciate all of your

12       service and your patience.       So why don't we go ahead and begin.

13                  THE COURTROOM DEPUTY:        Juror number 1728, please.

14                  THE COURT:    We have juror 1728.          And you answered yes

15       to whether there are health -- you have a health problem that

16       would interfere with your ability to be a juror?

17                  A JUROR:    I recently had neck and spine surgery.             And

18       I am in very active physical therapy three times a week.

19                  THE COURT:    Okay.      When is your physical therapy?            Is

20       there a particular time of day?

21                  A JUROR:    I stopped right now in case I had to, but

22       it is usually on Monday, Wednesday, Fridays.

23                  THE COURT:    And would you be able to schedule it for

24       early in the morning or in the evening?

25                  A JUROR:    I am not sure.       I also have with me -- I
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1        have to wear a bone stimulator machine four hours a day, so I

2        would probably end up sitting here with this thing on.

3                    THE COURT:   Does it make a noise?

4                    A JUROR:   No.

5                    THE COURT:   So we probably will not sit every Friday,

6        just given the length of the trial, we may not be able to sit

7        every Friday.    So you might have Fridays off at least at times.

8        So I guess my question for you is, given your health are you

9        available to do this or not?

10                   A JUROR:   I mean, I am.     I wear a full brace.         It is

11       not comfortable to sit for long or stand for long.             But if you

12       needed me, I guess I could.

13                   THE COURT:   I greatly appreciate that.         Let me ask

14       this or mention this.      I have no problem if a juror wants to

15       stand up at some point and sit back down for health reasons.                I

16       don't think anyone would have any concern with that, if you

17       just needed to stand up and then sit down and take care of

18       yourself.    And if you needed a break, you could let me know as

19       well.   Is that okay?

20                   A JUROR:   (Nodding.)

21                   THE COURT:   And then you answered yes to question 35,

22       which is whether you or a family member have been the victim of

23       or witness to a crime.

24                   A JUROR:   In the past years ago when I lived in

25       Massachusetts, there were -- I wasn't living in the best of
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1        neighborhoods and I did witness several shootings and --

2                   THE COURT:    Would that have any bearing on your

3        ability to be a fair and impartial juror?

4                   A JUROR:    No.

5                   THE COURT:    And then you answered yes to question 33

6        about whether you have been a juror before.

7                   A JUROR:    Yes.   In Massachusetts, I was on a medical

8        malpractice for two and a half weeks.

9                   THE COURT:    Okay.      And how long have you been in DC?

10                  A JUROR:    Four years.

11                  THE COURT:    Any follow up?       And I will just do my

12       best to remember back and forth.

13                  Mr. Pearlman, any follow up?

14                  MR. PEARLMAN:      No, ma'am.     Thank you.

15                  THE COURT:    Mr. Ekeland, any follow up?

16                  MR. EKELAND:      No, Your Honor.

17                  THE COURT:    Okay.      You can go back to your seat.

18       Thank you.

19                  THE COURTROOM DEPUTY:        Juror number 0831.

20                  THE COURT:    Thank you.      We have juror 0831.           And you

21       answered yes both to the extreme hardship and catch-all

22       questions, so why don't we start there.

23                  A JUROR:    Perfect.     I work at a small marketing group

24       that is part of an energy company.         It is the busiest time of

25       our year and there is only two of us.          So I do some fairly
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1        important duties like payroll that might be hard to do while I

2        am here for that period of time.

3                   THE COURT:    As I mentioned, I think we will probably

4        not sit every Friday.      And when we do sit Fridays, it probably

5        will just be for a part day on Fridays.           Do you think you could

6        handle what you need to for your business, getting the payroll

7        out during that time of the evening and mornings?

8                   A JUROR:    It is possible.       My other complication is I

9        am dating a litigator.       And she is actually in trial later this

10       month in San Diego.     So I will be doing some house duties as

11       well, so it might be a bit of a lift depending on -- it is just

12       three days a week, so it kind of depends on when those days

13       hit.

14                  THE COURT:    Are there people at home who need your

15       care?

16                  A JUROR:    No.    There is dogs.

17                  THE COURT:    Dogs.      All right.    Those matter too.

18                  Obviously and I will say this to everyone here, this

19       a lengthier trial.     I have had longer trials, but this is on

20       the lengthier side.     And I realize for everyone involved there

21       is some imposition involved in doing it.              But we obviously need

22       people who can be here and be attentive and fair jurors.                Do

23       you think that you could handle your professional and personal

24       obligations, mornings, evenings and part days on Fridays?

25                  A JUROR:    Hopefully, yes.
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1                    THE COURT:   All right.      And then you answered yes to

2        question 43 about having frequent contact with somebody who is

3        at a risk of extreme COVID.

4                    A JUROR:   My grandparents are going into a home.           And

5        I am assisting with them out of Washington state, so I am

6        actually traveling a little bit during this time as well.

7                    THE COURT:   When will you be traveling out there?

8                    A JUROR:   It is depending when they decide to move,

9        looking at the end of this month.         It is tentative right now.

10                   THE COURT:   Again, would you be available through

11       early March, if you are going to be working with your

12       grandparents for the move?

13                   A JUROR:   It would be on the weekends, so Fridays

14       might be hard, because I would leave on Thursday.

15                   THE COURT:   As I mentioned, we probably will not be

16       sitting every Friday, so we probably could work around that as

17       an issue.

18                   And I see you are not wearing a mask now.            Would you

19       have concern about sitting on a jury?          Do you take precautions

20       because you are going to be around your grandparents where you

21       wear masks and go places and things?

22                   A JUROR:   I don't go out much, but I'd be comfortable

23       with it.

24                   THE COURT:   Okay.      Thank you.    And then you answered

25       yes to question 40, which is about whether you or a family
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1        member or friend have worked for one of those organizations I

2        listed.

3                   A JUROR:    Yeah.   I was in a long term relationship

4        with a public defender, Charles county.

5                   THE COURT:    Do you know the sort of work he or she

6        did?

7                   A JUROR:    Criminal.

8                   THE COURT:    What I meant was in what areas were they,

9        what types of cases?

10                  A JUROR:    Everything, a little bit.         The ones I sat

11       in on including sexual assault, as well as some driving issues.

12                  THE COURT:    Would that prior relationship have any

13       impact on your ability to be fair and impartial here?

14                  A JUROR:    I certainly heard a lot about the system.

15       And so I do have some of my own personal thoughts as to how

16       that works and how effective that is.

17                  THE COURT:    Would you be able to decide the case

18       based only on the laws as I describe it to you and the evidence

19       that is presented in the courtroom?

20                  A JUROR:    I would do my best.

21                  THE COURT:    So you are the only person who knows

22       that.   And that is an answer I often get from people on

23       questions like this.     And my answer -- my question back has

24       always been, I can't get in your head, only you can.             Both the

25       government and the defendant deserve fair and impartial jurors.
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1        And the question is whether you think your feelings are so

2        strong -- and, frankly, I'm not sure what they are, but they

3        are so strong that they would interfere with your ability to

4        apply the law as I instruct you on the law and decide the case

5        just based on the facts as presented.

6                   A JUROR:    I would be hesitant to say I would not be

7        affected by it.

8                   THE COURT:    Let me ask you to pick up the phone.          You

9        push this button here.

10                  (Conference held at the bench.)

11                  THE COURT:    All right.     Do you want to describe to me

12       what you are talking about?

13                  A JUROR:    Just having some interactions with police

14       as well as the prosecutors and kind of hearing it from all

15       sides including the witness' side and not really having a lot

16       of faith in what some of the motives were.

17                  THE COURT:    Can you explain a little bit more?           I am

18       not sure I follow.

19                  A JUROR:    Just the -- some malpractice I guess would

20       be the word on the side of the PD that was prosecuting.

21                  THE COURT:    The public defender --

22                  A JUROR:    The police.     I'm sorry.

23                  THE COURT:    I guess I am still not following,

24       malpractice by the police.      What do you mean?

25                  A JUROR:    Not telling the whole truth, so I found
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1        that hard to believe.

2                   THE COURT:    I see.     So does that mean that you would

3        be less inclined to believe law enforcement witnesses than any

4        other witnesses?

5                   A JUROR:    Unfortunately, a little bit.          I don't know

6        how to qualify that other than, yes, maybe.            But that is -- I

7        would try to set that aside certainly.

8                   THE COURT:    So obviously every case is different and

9        every person who testifies in a case is a different individual,

10       and some people are honest and some people are dishonest.              And

11       the question for you is whether you could, in your mind, listen

12       to the testimony and decide who you believe and don't believe

13       based on the testimony and all of the other evidence in this

14       case.

15                  A JUROR:    I would do my best.        I'd do my best.

16                  THE COURT:    I can't get in your head.          So tell me if

17       you can't do it, that is fine.        I need you to tell me whether

18       you could do it.

19                  A JUROR:    It would go against where my head has been

20       for the last few years to accept without a lot of questioning.

21                  THE COURT:    There will be questioning from both

22       sides, so that is --

23                  A JUROR:    Do you want a yes or no?

24                  THE COURT:    Yes.

25                  A JUROR:    Yes.   Yes.    Let's go with yes.
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1                   THE COURT:    Is that -- I mean, I don't want you to

2        pick one, because you have to.        I want to know what you think.

3                   A JUROR:    It would really put me on the ropes, to be

4        honest.   So I want to say, no, that I would not be able to set

5        aside a lot of that.     Because there is a seven-year long

6        relationship and there was a lot of information that I got

7        through that period.     And there was a lot of friends that are

8        public defenders and not a lot of friends who are police

9        officers, so that has kind of unfortunately formed a lot of my

10       views.

11                  THE COURT:    Okay.      Any follow up from the government?

12                  A JUROR:    I'm sorry?

13                  THE COURT:    Any follow up from the government?

14                  MR. PEARLMAN:     Not based on this record, Your Honor.

15                  THE COURT:    Mr. Ekeland, any follow up?

16                  MR. EKELAND:     No, Your Honor.

17                  No, Your Honor.

18                  (End of bench conference.)

19                  THE COURT:    All right.      Let me -- you can go back

20       ahead and go to your seat.       Thank you.

21                  MR. PEARLMAN:     Your Honor, motion.        Your Honor,

22       motion.

23                  (Conference held at the bench.)

24                  THE COURT:    Yes.

25                  MR. PEARLMAN:     Move to strike for cause, Your Honor.
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1                   THE COURT:    Mr. Ekeland.

2                   MR. EKELAND:     Can you hear me?

3                   Can you hear me, Your Honor?

4                   We object to striking for cause.          We don't think

5        there is cause to strike him.

6                   THE COURT:    All right.     I am going to go ahead and

7        strike him for cause, but I am not going to announce it.

8                   (End of bench conference.)

9                   THE COURT:    All right.     Next.

10                  THE COURTROOM DEPUTY:       Juror 1913, please.

11                  THE COURT:    Just if, Counsel, you need to be careful

12       when you pick up and move the phones.         If you push the buttons

13       you change the channel and therefore that is why they don't

14       work.   So if you are moving them around on the desk, you are --

15                  All right.    So we have juror 1913.        And you answered

16       yes to several of my questions.        Why don't I start with the

17       extreme hardship question.

18                  A JUROR:    Which one was that?

19                  THE COURT:    Extreme hardship, 45, whether serving on

20       the jury would be an extreme hardship for you?

21                  A JUROR:    Yeah.   So I am employed on Capitol Hill for

22       a member of congress who sits on the House Appropriations

23       Committee.    Right now, this is appropriations season.               We have

24       a continuing resolution and FY25 hearings are going to be

25       coming soon in the next two to four weeks.           And so I am having
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1        about 40 to 60 meetings a week that I have to staff him at.                    So

2        it would be very difficult for me to be away from work.

3                   THE COURT:    What do you do for the congressman?

4                   A JUROR:    I am senior legislative assistant.             I

5        handle our policy portfolio of various issues.

6                   THE COURT:    I see.     It does seems to me like it is

7        always appropriation season.

8                   Are there others who staff the congressman on

9        appropriation issues as well?       Is there appropriations staff?

10                  A JUROR:    We all staff him on the issues that we

11       handle.   It is all hands on deck during this particular time

12       between February and April.

13                  THE COURT:    I see.     Okay.   And then you answered yes

14       to whether you were in frequent contact with someone who is at

15       risk of extreme illness from COVID.

16                  A JUROR:    My husband is a type one diabetic.             And he

17       is hard of hearing, so he is immunocompromised.

18                  THE COURT:    Do you -- well, would serving as a juror

19       be a problem from your perspective in that regard?

20                  A JUROR:    No.

21                  THE COURT:    And then you answered yes to question 39,

22       which is whether you would tend to believe or disbelieve

23       testimony from law enforcement simply because they are law

24       enforcement?

25                  A JUROR:    I would be apt to believe it.
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1                   THE COURT:    Okay.      If I were to instruct you that you

2        have to give equal weight to all of the testimony and judge it

3        not based on any preconceived views, but based on the

4        believability or lack of believability of the witness testimony

5        and based on all of the evidence in the case and the witness'

6        demeanor and so forth.      Could you apply that?

7                   A JUROR:    I would to the best of my ability.

8                   THE COURT:    Well, you would -- I mean, I need to know

9        whether you -- you know yourself better than I do.              Do you

10       think you would be able to do that, do you think?

11                  A JUROR:    I think I would.

12                  THE COURT:    Okay.      All right.    And then you answered

13       yes to question 36, which is whether you or a family member or

14       close friend have legal training or worked in a law firm?

15                  A JUROR:    Yes.   I previously many, many years ago,

16       like over 10 year ago, I worked as a legal secretary in a

17       defense law firm.     And I have multiple relatives who are

18       lawyers.

19                  THE COURT:    And any of them practice criminal law?

20                  A JUROR:    Yes.

21                  THE COURT:    Okay.      Tell us about that.

22                  A JUROR:    I have an aunt and an uncle-in-law in

23       addition to two cousins-in-law who are defense attorneys.

24                  THE COURT:    Okay.      Would the fact that you worked at

25       a defense firm in the past or the relatives who work on the
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1        defense, would that have any bearing on your ability to be fair

2        and impartial?

3                   A JUROR:    No.

4                   THE COURT:    And then you answered yes -- let's see --

5        to question 34 about whether you have been a juror before.

6                   A JUROR:    No.

7                   THE COURT:    All right.     I'm sorry.     Whether you have

8        been a witness or a party to a case.         I'm sorry.

9                   A JUROR:    In a civil case.

10                  THE COURT:    What sort of case was it?

11                  A JUROR:    My husband had a civil case in DC, which I

12       was deposed for.

13                  THE COURT:    I see.     And very generally, what was the

14       nature of the case?

15                  A JUROR:    He was physically assaulted and he worked

16       with the government to press criminal charges.            And he also

17       filed a civil lawsuit, which is what I was called -- deposed

18       for.

19                  THE COURT:    I see.     And would any of that have any

20       bearing on your ability to be fair and impartial in the case?

21                  A JUROR:    No.

22                  THE COURT:    And then you answered yes to question 28

23       about whether you have -- maybe I will be able to handle these

24       somewhat together.

25                  You answered yes to questions 25 through 28, which
     Case 1:21-cr-00399-RDM   Document 276    Filed 03/16/24   Page 41 of 270
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1        are about whether you have ever purchased or sold

2        cryptocurrency, participated in an initial coin offering, have

3        strong feelings about cryptocurrency and have strong feelings

4        about laws governing illegal drug use and narcotics.

5                   A JUROR:    Yes.   So I have purchased and sold

6        cryptocurrencies in the past.        And for the previous member of

7        congress that I worked for, he sat on the house financial

8        services committee, specifically a subcommittee that did

9        oversight on cryptocurrencies.

10                  THE COURT:    I see.     Would you be able to put aside

11       what you know about cryptocurrency and decide this case based

12       on the evidence presented in this case?

13                  A JUROR:    I believe so.

14                  THE COURT:    And tell me about your strong feelings

15       about financial regulation and illegal drugs.

16                  A JUROR:    I don't have particularly strong opinions

17       about financial regulation.         I have slightly strong opinions

18       about drug trafficking, based on the line of work that I do.

19                  THE COURT:    Which is?      Is that part of your

20       portfolio?

21                  A JUROR:    Yes.   So my boss is involved in -- he has a

22       fentanyl task force, so we deal a lot with opioid issues in

23       rural communities.

24                  THE COURT:    Would you be able to put aside those

25       feelings and decide this case based on the evidence presented?
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1                   A JUROR:    I believe so.

2                   THE COURT:    I think you answered yes to one question,

3        which was 17, which was the television shows, which is whether

4        you would have difficulty putting aside what you may have seen

5        on TV about investigations involving financial crimes.

6                   A JUROR:    Yeah.   I seen TV shows about it before.

7                   THE COURT:    Would you have any difficulty putting

8        that aside and deciding the case just based on the evidence?

9                   A JUROR:    No.

10                  THE COURT:    All right.      Mr. Ekeland, any follow up?

11                  MR. EKELAND:      I just --

12                  THE COURT:    You need to be at a microphone.

13                  MR. EKELAND:      I just didn't completely hear your

14       answer when Judge Moss asked you about your feelings about law

15       enforcement and whether you would give them more credit than,

16       say, someone on the defense side.

17                  A JUROR:    Do you want me to reanswer the question?

18                  MR. EKELAND:      I guess what I am asking is what your

19       feelings are about law enforcement.          Do you feel like that law

20       enforcement is more trustworthy than, say, any other witness?

21                  A JUROR:    Yes, I do.

22                  MR. EKELAND:      Okay.   And then -- May I ask another

23       follow up?

24                  THE COURT:    Yes, of course.

25                  MR. EKELAND:      You mentioned that you had bought -- I
     Case 1:21-cr-00399-RDM    Document 276   Filed 03/16/24   Page 43 of 270
                                                                                43

1        think you bought and sold cryptocurrency.

2                   A JUROR:     Yes.

3                   MR. EKELAND:      And what cryptocurrency did you buy and

4        sell?

5                   A JUROR:     There were a bunch.       I don't remember all

6        of them.   But Bitcoin, Ethereum, Dogecoin.           They are all sold

7        at this point.       Those are the ones I remember but there were

8        many others.

9                   MR. EKELAND:      Oh, Dogecoin.     Did you do that on an

10       exchange or did you do that with your own private wallet?

11                  A JUROR:     I used several exchanges.         Again, it has

12       been a couple of years since I have done it actively, so I

13       don't remember.      I used Coinbase, for example and a couple of

14       other apps.

15                  MR. EKELAND:      Have you ever set up your own wallet?

16                  A JUROR:     I don't believe so.

17                  MR. EKELAND:      No further questions, Your Honor.

18                  THE COURT:     Okay.

19                  MR. PEARLMAN:       Your Honor, follow up?

20                  THE COURT:     Yes.

21                  MR. PEARLMAN:       Ma'am --

22                  THE COURT:     Let me say to the attorneys.          You all are

23       welcome to sit when you have asked your follow-up questions.                I

24       won't regard it as disrespectful to anybody, but the

25       microphones are at chair level, that way you shouldn't have to
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1        stand up and lean down to the microphone.

2                   MR. PEARLMAN:     Ma'am, I understand that you may have

3        strong feelings concerning law enforcement.             My question is,

4        you are going to be hearing from various law enforcement

5        witnesses in this case.      Are you going to be able to put aside

6        those feelings and judge each of those witnesses and their

7        credibility on their own, in other words putting your feelings

8        about law enforcement aside?

9                   A JUROR:    I believe so.

10                  THE COURT:    Let me just follow up a little bit about

11       that also.    There are, obviously, are all different types of

12       roles that law enforcement play and different types of crimes

13       that they investigate.      And there are cops on the beat and

14       there are other, you know, FBI investigators.              And the types of

15       evidence that they are offering differs.              And so I offer that

16       by way of background to ask you to sort of follow up and just

17       make sure that you are comfortable that in a case of this

18       nature, that you could fairly judge the testimony of the law

19       enforcement officers and decide whether you believe it or not

20       based on only the evidence presented in the case?

21                  A JUROR:    I believe so.

22                  THE COURT:    Okay.      All right.    Any further follow up?

23                  MR. PEARLMAN:     No, thank you, Your Honor.

24                  MR. EKELAND:     No, Your Honor.

25                  THE COURT:    Okay.      You can go back to your seat.
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1        Thank you.

2                    THE COURTROOM DEPUTY:       Juror number 1860.

3                    THE COURT:   Thank you.      All right.     We have juror

4        1860.   And you too answered yes to the question about whether

5        this case would pose an extreme hardship to you.

6                    A JUROR:   It is going to get to another question too.

7        But I am an attorney and I have a lot of clients that I deal

8        with day to day so --

9                    THE COURT:   What sort of law do you practice?

10                   A JUROR:   Antitrust law.

11                   THE COURT:   Okay.      And are you providing advice or

12       doing enforcement actions or both?

13                   A JUROR:   Both.

14                   THE COURT:   Both.      Okay.   And are you at a private

15       law firm?

16                   A JUROR:   Yes.

17                   THE COURT:   Well, let me -- jumping to the question

18       about an attorney, since you have legal training.              Would you be

19       able to put aside anything you may have learned in law school

20       about criminal law and follow the law just as I instruct you on

21       it?

22                   A JUROR:   Yes.

23                   THE COURT:   All right.      And how large a law firm are

24       you at?

25                   A JUROR:   Very large.      I don't know how many.
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1                   THE COURT:    How many?

2                   A JUROR:    I don't know how many.

3                   THE COURT:    Are there others who practice in your

4        area?   I mean, I realize that you may have clients that you are

5        principally responsible for.        Are there others who practice in

6        your area if there were an emergency who could pitch in?

7                   A JUROR:    I am not sure.

8                   THE COURT:    Okay.      And if we were not to sit on

9        Fridays and also, you know, there would be breaks in the trial,

10       so if you had to take a call or if there was a client who

11       needed urgent advice, you had to get someone else to research

12       something, would that work for you?

13                  A JUROR:    How long is the day?

14                  THE COURT:    Well, we will probably sit from 9:00

15       until 4:30, maybe 5:00 on some occasions.

16                  A JUROR:    With a break in between?

17                  THE COURT:    We'll take a morning break, full lunch

18       break and an afternoon break and then a break in the evening as

19       well.

20                  So I know from having worked at a private law firm

21       myself that is about half the work day.

22                  A JUROR:    Yeah.   So probably.

23                  THE COURT:    Okay.      All right.

24                  Mr. Pearlman, any follow up?

25                  MR. PEARLMAN:     No, thank you.
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1                   THE COURT:    Mr. Ekeland.

2                   MR. EKELAND:      No, Your Honor.

3                   THE COURT:    All right.      You can go back to your seat.

4        Thank you.

5                   THE COURTROOM DEPUTY:        Juror number 0686.

6                   THE COURT:    All right.      I have got number 0686.       You

7        didn't have a yes to any of the questions; correct?

8                   A JUROR:    No.

9                   THE COURT:    Did you hear all of my questions?

10                  A JUROR:    Yes.

11                  THE COURT:    How long have you lived in DC?

12                  A JUROR:    About 12 years.

13                  THE COURT:    What do you do right now?

14                  A JUROR:    Retired right now.

15                  THE COURT:    Have you ever been a juror before?

16                  A JUROR:    No.

17                  THE COURT:    Any follow up, Mr. Ekeland?

18                  MR. EKELAND:      I'm sorry.     I didn't hear what she said

19       when she answered your question about what she did.

20                  THE COURT:    She is retired.

21                  MR. EKELAND:      No, Your Honor.

22                  THE COURT:    Okay.      All right.    Mr. Pearlman.

23                  MR. PEARLMAN:      Your Honor, may I ask what she used to

24       do?

25                  THE COURT:    Sure.
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1                   A JUROR:    Excuse me?

2                   MR. PEARLMAN:      Ma'am, what did you used to do?

3                   A JUROR:    I used to work in like a plant,

4        manufacturing plant.

5                   MR. PEARLMAN:      Thank you, ma'am.

6                   THE COURT:    All right.      You can go back to your seat.

7        Thank you.

8                   THE COURTROOM DEPUTY:        Juror number 0012, please.

9                   THE COURT:    Thank you.      All right.

10                  Juror 0012, how are you today?

11                  A JUROR:    Great.

12                  THE COURT:    And you answered yes to two of my

13       questions.    First, you have been a juror before.

14                  A JUROR:    Yes.

15                  THE COURT:    Tell us about that.

16                  A JUROR:    I was a juror probably in February 2013,

17       District Government.     It was a civil case, insurance fraud.

18                  THE COURT:    Okay.      Would that have any bearing on

19       your role as a juror in this case?

20                  A JUROR:    No.

21                  THE COURT:    And you answered yes to question 25,

22       which is whether you have ever purchased, sold or owned

23       cryptocurrency?

24                  A JUROR:    Yes.

25                  THE COURT:    Tell us about that.
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1                   A JUROR:    It was a betting site, BetUSA and I don't

2        know why the way they pay you out is through Bitcoin and

3        Dogecoin, so I was able to purchase some of the Bitcoin and

4        Ethereum, Dogecoin.     I don't remember all of the others.           There

5        was a couple.

6                   THE COURT:    How long ago was that?

7                   A JUROR:    2019.

8                   THE COURT:    Do you still have the Bitcoin or the

9        cryptocurrency?

10                  A JUROR:    No.    Because I lost the address.        You need

11       this long address.     And I just -- $200 just gone now.

12                  THE COURT:    All right.     Any follow up, Mr. Ekeland?

13                  MR. EKELAND:      I think -- are you an investigator?

14                  A JUROR:    Yes.

15                  MR. EKELAND:      What kind of investigations do you do?

16                  A JUROR:    Department of Disabilities.         We do so far

17       as borderline criminal, so we investigate doctors, anyone who

18       is in support cares, doctors, nurses, petitions [sic],

19       caregivers.    Our clients are like the person who is disabled.

20                  MR. EKELAND:      When you bought I think you said

21       Bitcoin and like Dogecoin and stuff like that, did you do that

22       through an exchange like Coinbase or -- I think you mentioned a

23       bank or something.

24                  A JUROR:    It was Coinbase and I had a wallet.

25                  MR. EKELAND:      Uh-huh.
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1                   A JUROR:    My son set it up.      I don't know how I

2        lost -- somewhere.     I had a wallet, but I don't know.              I gave

3        him my phone and he was putting whatever.

4                   MR. EKELAND:     And you lost the private key to the

5        wallet.

6                   A JUROR:    Yeah.    That is how I lost the money because

7        I didn't know the long address.

8                   MR. EKELAND:     No further questions, Your Honor.

9                   THE COURT:    Mr. Pearlman, anything?

10                  MR. PEARLMAN:     No, Your Honor.

11                  THE COURT:    All right.     You can go back to your seat.

12       Thank you.

13                  THE COURTROOM DEPUTY:       Juror 1601, please.

14                  THE COURT:    Thank you.

15                  We have juror 1601.      And you answered yes to three of

16       my questions.    And we -- let's start with question 46, which

17       was my catch-all.

18                  A JUROR:    Uh-huh.

19                  THE COURT:    Tell me about that.

20                  A JUROR:    Yeah.    So I am -- am I close enough?

21                  THE COURT:    Yes.    That is perfect.      Thank you.

22                  A JUROR:    Thank you.    So I have not like a full

23       understanding of cryptocurrency.        But what I do understand is

24       kind of conflicted in a way that I think kind of pans out to be

25       impartial.
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1                   THE COURT:     You know, why don't we pick up the phone

2        and talk on that.

3                   (Conference held at the bench.)

4                   THE COURT:     Push this button right here.

5                   Why don't you tell us about that?

6                   A JUROR:     So on the one hand, I understand, you know,

7        applications that can be, you know, really beneficial using

8        cryptocurrency like countries where there is a lot of like

9        governmental supervision and things like that that can be,

10       like, oppressive, that is to say.         And so, you know, I see like

11       positive applications in that direction.              But also I am vaguely

12       aware of various criminal activities that can be done on, like

13       you were mentioning, darknet and thinks like that.               I have

14       never like accessed that or anything.          But I am like vaguely

15       aware of that.       But I feel like these sentiments measure out to

16       something that is overall neutral, because I sort of understand

17       like positive and negative applications, so I don't have a view

18       of cryptocurrency on the whole.

19                  THE COURT:     That is very helpful.         So let me say,

20       this case is not about whether cryptocurrency is good or bad.

21                  A JUROR:     I'm sorry.

22                  THE COURT:     That is fine.      It is fair.      And it is not

23       about whether sometimes cryptocurrency can be used for bad

24       purposes and sometimes it can be used for good purposes.                It is

25       about whether the defendant in this case, very specifically,
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1        did something relating to cryptocurrency that the government

2        alleges was unlawful and that he denies doing.

3                    A JUROR:    Yeah.

4                    THE COURT:    So the question is even though you have

5        some sort of I think maybe high level or general feelings about

6        cryptocurrency, could you put those aside and decide this case

7        based just on the evidence?          And I will give you an example to

8        make my point.       If I asked you about guns, some people might

9        say, well, guns can be used for some good purposes, protecting

10       yourself, or, you know, if you are a hunter or a target shooter

11       or something like that, you might think that they are good

12       purposes.    And then you might think they can also be used for

13       bad purposes.    It wouldn't be a basis to say I couldn't fairly

14       decide in a gun case someone had unlawfully possessed a gun.

15       That is obviously far afield of this case.              I am just giving

16       you an example about what is in your head about whether you

17       could decide this case based on the evidence presented and not

18       any other feelings you might have.

19                   A JUROR:    Yes, definitely.

20                   THE COURT:    Okay.      Any follow up on this question

21       while we are on the phone?

22                   MR. EKELAND:     Yes, Your Honor.          Just your experience

23       with cryptocurrency is it from reading about it or is it from

24       using it?

25                   A JUROR:    No, not using it.       Reading about it, video
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1        essays, things of that nature.

2                    MR. EKELAND:    If you remember, do you remember what

3        did you read about it, like Wired or things like that?

4                    A JUROR:   Not magazines sorts of things, more, you

5        know, whatever sort of spontaneous discussions might come up in

6        college among my fellow students, thinks like that.             I am out

7        now, but that sort of thing.

8                    MR. EKELAND:    No further questions, Your Honor.

9                    THE COURT:   Anything else on this point before we go

10       back on the public record?

11                   MR. PEARLMAN:    No, Your Honor.

12                   (End of bench conference.)

13                   THE COURT:   You also answered yes to my question 39

14       about whether you would believe or disbelieve testimony from

15       law enforcement.     And I guess my question for you is whatever

16       feelings you have in general about law enforcement, could you

17       put that aside and judge the credibility of any witnesses in

18       this case just based on the evidence in the case?

19                   A JUROR:   Yes, particularly because of the nature of

20       the case.

21                   THE COURT:   And then you indicated that you, a family

22       member or close friend have been detained by the police,

23       arrested or charged?

24                   Did you get the wrong number there?          You wrote a

25       question mark next to it.
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1                    A JUROR:   That was if I had previously committed a

2        crime.

3                    THE COURT:   Oh.   Okay.

4                    A JUROR:   Yes.

5                    THE COURT:   Tell us about that.

6                    A JUROR:   So I put a question mark, because I wasn't

7        sure if this was within the realm of what you were asking, but

8        I hopped a turnstile and I, you know, paid my fine as I was

9        expected to and I regret that.

10                   THE COURT:   Would that have any bearing on this case?

11                   A JUROR:   No.

12                   THE COURT:   Thank you.     I apologize, I don't mean to

13       be embarrassing you.

14                   A JUROR:   No.    It is my first time here.

15                   THE COURT:   All right.     Any further follow-up

16       questions?

17                   MR. EKELAND:     No, Your Honor.

18                   MR. PEARLMAN:     No, Your Honor.

19                   THE COURT:   All right.     You can go back to your seat.

20       Thank you.

21                   THE COURTROOM DEPUTY:      Juror number 2160, please.

22                   THE COURT:   Thank you.     All right.     We have juror

23       2160.    And you answered yes to the question about extreme

24       hardship.

25                   A JUROR:   Yes.    I am a high school teacher.            And
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1        being away from my students for three weeks would be incredibly

2        hard for them.       We are already down.      I teach high school

3        science.   We are already down two science teachers, both for

4        family leave who are gone.        So I am currently taking one of

5        each of their classes as well, so I am taking probably about

6        twice as much of the load as I already have.

7                   THE COURT:     All right.      Counsel?

8                   MR. PEARLMAN:      No questions.

9                   THE COURT:     Get on the phone for a second, please.

10                  (Conference held at the bench.)

11                  THE COURT:     What I was asking is whether you all

12       agree to actually excuse her?         She is a high school teacher who

13       can't be away from her class for the length of the trial and

14       she is already covering for two other teachers.

15                  MR. PEARLMAN:      That is what I was trying to indicate,

16       we don't have an objection.

17                  MR. EKELAND:      No objection, Your Honor.

18                  THE COURT:     Okay.      Thanks.

19                  (End of bench conference.)

20                  THE COURT:     I am going to go ahead and excuse you in

21       light of that so.

22                  A JUROR:     Thank you very much.

23                  THE COURT:     Good luck with the students.

24                  Juror number 1075, please.

25                  All right.     And I have juror 1075.         And you also
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1        indicated yes to the hardship question.

2                   A JUROR:    I have three small children at home.            My

3        wife has some work travel planned.        I have no family in the

4        area.   It is for early March.      And also with daycare pick up,

5        which I have to get my kid by 5:00.          And if the trial goes

6        long in the day --

7                   THE COURT:    How far away are your kids?

8                   A JUROR:    Cleveland Park, so it is, you know, a 30

9        minute Metro ride from here.

10                  THE COURT:    Right.     Right.   Okay.    If we broke by

11       4:30 you could be there in time to pick up your child?                Close,

12       I understand.

13                  A JUROR:    It is the Metro so maybe, yes.

14                  Also with dropping off kids, being here that --

15                  THE COURT:    What time do you drop them off in the

16       morning?

17                  A JUROR:    8:30 start time for my son.         And my

18       daughters both get on the bus around 8:00.

19                  THE COURT:    And how old are your daughters?

20                  A JUROR:    Eight and 5.

21                  THE COURT:    And what time do they get home?

22                  A JUROR:    It depends on the day, sometimes 4:00,

23       sometimes 5:00.

24                  THE COURT:    Is there anyone who can be at the home

25       with them when they get home?
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1                   A JUROR:    My wife works from home, but she has work

2        travel planned.      And she also works full time, so I am a

3        co-caregiver.

4                   THE COURT:    When is your wife's travel planned?

5                   A JUROR:    She is going on March 10th, so it would be

6        during jury deliberations.       She also has another trip planned

7        earlier at the end of February with non-refundable tickets.

8                   THE COURT:    That is a personal trip?

9                   A JUROR:    That is a personal trip.

10                  THE COURT:    And then you answered yes to question 25

11       with a question mark.

12                  A JUROR:    I couldn't remember which question was

13       about the cryptocurrency.

14                  THE COURT:    Yeah.      Go ahead.

15                  A JUROR:    I never bought any.        I did do some pretty

16       extensive research and ended up setting up a wallet and then

17       not following through on buying anything.             And then I also have

18       a bunch of the GameStop stock and also follow Wall Street Bets

19       on Reddit, which I am sure is -- I have read stuff about

20       cryptocurrency there.

21                  THE COURT:    Would you be able to put aside whatever

22       you have learned about cryptocurrency and there will be plenty

23       of testimony in this case about cryptocurrency and decide the

24       case based just on the evidence you hear here?

25                  A JUROR:    Likely, yes.
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1                   THE COURT:     All right.     Mr. Ekeland, follow up?

2                   MR. EKELAND:      You said set up your own wallet.          Did

3        you do that from a website or did you --

4                   A JUROR:     I can't really remember.        I remember it

5        started asking me a lot of personal information and I kind of

6        gave up.

7                   MR. EKELAND:      Did you successfully set up a wallet or

8        you gave up before --

9                   A JUROR:     I gave up.

10                  MR. EKELAND:      Okay.   Thank you.       No further

11       questions, Your Honor.

12                  THE COURT:     Mr. Pearlman.

13                  MR. PEARLMAN:      Sir, I guess I would just follow up on

14       your hardship.       Ultimately if your wife was able to move the

15       late February trip, but still kept the March 10th trip, would

16       you be able to figure out childcare so that you could sit on

17       this jury?

18                  A JUROR:     I mean, yes.     It would likely cause a

19       financial burden to us.       We don't have any family in the area.

20       So anytime that my wife also has work, you know, we switch off

21       responsibilities.      And so hiring babysitters to cover when we

22       are not available to is what would end up having to happen.

23                  THE COURT:     All right.     Any further questions?

24                  All right.     You can go back to you seat.          Thank you.

25                  THE COURTROOM DEPUTY:        Juror number 2188, please.
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1        Thank you.

2                   THE COURT:    All right.      We have Juror 2188 and you

3        answered yes to three of my questions.           And let's start with

4        question 41 which is whether you or a close friend have worked

5        for a government entity involving financial regulation.

6                   A JUROR:    Yes, I did.

7                   THE COURT:    Where did you work.

8                   A JUROR:    Both in state -- city government and for

9        banking.

10                  THE COURT:    Okay.      Where did you work?

11                  A JUROR:    In Pennsylvania.

12                  THE COURT:    Was that in a state or local regulator

13       that you worked for?

14                  A JUROR:    No.

15                  THE COURT:    What did you do?

16                  A JUROR:    Director of Finance for a municipality.

17                  THE COURT:    You were the director of finance for a

18       municipality.    And in that role, were you involved in

19       enforcement actions?

20                  A JUROR:    Yes.

21                  THE COURT:    And tell us about the sort of nature of

22       those cases?

23                  A JUROR:    Well, I am not direct enforcement, but part

24       of whatever investigations would have been going on that

25       involve city funds.
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1                   THE COURT:    Any of that have anything -- just city

2        money?

3                   A JUROR:    City money.

4                   THE COURT:    Any of that have anything to do with

5        cryptocurrency?

6                   A JUROR:    No.

7                   THE COURT:    Would any of that have any bearing on

8        your ability to be fair and impartial?

9                   A JUROR:    No.

10                  THE COURT:    Okay.      Thank you.    And then you answered

11       yes to question 37 about whether you, a family member or close

12       friend have ever been detained by the police or charged?

13                  A JUROR:    Yes.

14                  THE COURT:    I am happy to pick up if you want to do

15       it or --

16                  A JUROR:    Pick up.

17                  (Conference held at the bench.)

18                  A JUROR:    Can you hear me?

19                  THE COURT:    Yeah.

20                  A JUROR:    Just normal commuting, getting stopped by

21       police officers.

22                  THE COURT:    You mean, like traffic ticket sort of

23       thing.

24                  A JUROR:    Traffic and just walking.

25                  THE COURT:    Walking, getting stopped or charged with
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1        a crime?

2                   A JUROR:    Just stopped.

3                   THE COURT:    I see.     So getting --

4                   A JUROR:    So the week before the person drove through

5        the entrance of the Capitol, I was stopped and detained for

6        about 20 minutes, because I was taking pictures.            I am a

7        photographer.

8                   THE COURT:    I see.     Has that experience left you with

9        feelings that would make it difficult for you to be fair and

10       impartial in the law enforcement testimony in this case, which

11       is, obviously, a very different nature to it?            But would you be

12       able to put aside those feelings and decide this case just

13       based on the evidence?

14                  A JUROR:    When you say put them aside, I will

15       remember it.    But I would do my best to try and be impartial.

16                  THE COURT:    All right.     Any follow up on this issue?

17                  MR. EKELAND:     No, Your Honor.

18                  THE COURT:    Mr. Pearlman?

19                  MR. PEARLMAN:      Just to follow up, when you say that

20       you would remember it, are you indicating that you would be

21       able to be impartial with respect to other law enforcement

22       testimony?

23                  A JUROR:    Yes.

24                  THE COURT:    All right.     Thank you.

25                  (End of bench conference.)
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1                   THE COURT:    All right.      You can go back to your seat.

2        Thank you.

3                   THE COURTROOM DEPUTY:        Juror number 2028, please.

4                   THE COURT:    Thank you.      All right.     We have juror

5        2028.   And it looks like you didn't have a yes answer to any of

6        my questions.

7                   A JUROR:    No, not really.       I am not exactly a federal

8        employee, but I am a contractor.

9                   THE COURT:    Well, tell us about that.

10                  A JUROR:    I work on networks, policy and procedure in

11       the finance side for the FBI headquarters.

12                  THE COURT:    I see.     Do you do computer network work

13       there, is that what you are saying?

14                  A JUROR:    Correct.

15                  THE COURT:    Do you do any investigative work or is it

16       just keeping the network up and running?

17                  A JUROR:    Policy, procedure and I have done operation

18       and maintenance for four years.

19                  THE COURT:    Would the fact that you work for the FBI

20       as a contractor make you more likely to favor one side or the

21       other side in this case?

22                  A JUROR:    No.

23                  THE COURT:    Okay.      All right.    And how long have you

24       been in DC?

25                  A JUROR:    I moved here in 2010.
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1                    THE COURT:   2010.      Mr. Ekeland, any follow-up

2        questions?

3                    MR. EKELAND:     No, Your Honor.

4                    THE COURT:   Mr. Pearlman.

5                    MR. PEARLMAN:    Sir, the way that you answered the

6        question was sort of a no.       Is that to say certainly not or is

7        there something --

8                    A JUROR:   No.   I am impartial and don't judge people

9        until you hear all of the facts.

10                   THE COURT:   That is a good way to do it.           Thank you.

11                   THE COURTROOM DEPUTY:       All right.     Juror number 1968,

12       please.

13                   THE COURT:   Thank you.

14                   We have juror 1968.      How are you today?

15                   A JUROR:   I am good.     How are you doing?

16                   THE COURT:   Fine.      Thank you.

17                   And you answered yes to one question is whether you,

18       a family member or close friend have law training or work in a

19       law office.

20                   A JUROR:   I work in a law firm that specializes in

21       representing veterans with their disability claims before the

22       Department of Veteran Affairs.        I don't have a law degree or

23       anything.

24                   THE COURT:   Okay.      What do you do there?

25                   A JUROR:   I just help represent the clients, speak to
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1        their issues, drafting the briefs we will submit, to any sort

2        of grunt work, research.

3                   THE COURT:    All right.      Mr. Pearlman, any follow up?

4                   MR. PEARLMAN:      No, Your Honor.

5                   THE COURT:    Mr. Ekeland?

6                   MR. EKELAND:      No, Your Honor.

7                   THE COURT:    All right.      You can go back to your seat.

8        Thank you.

9                   THE COURTROOM DEPUTY:        Juror number 0634, please.

10                  THE COURT:    Thank you.

11                  I have juror number 0634.         No yes answers; correct?

12                  A JUROR:    Correct.

13                  THE COURT:    Did you hear all of my questions?

14                  A JUROR:    Yes.

15                  THE COURT:    How long have you been in DC?

16                  A JUROR:    About two years.

17                  THE COURT:    What do you do?

18                  A JUROR:    I work for the Senate sergeant at arms.

19                  THE COURT:    Okay.      What do you do there?

20                  A JUROR:    I work the telephone exchange in the

21       Capitol.

22                  THE COURT:    And have you ever been a juror before?

23                  A JUROR:    No.

24                  THE COURT:    All right.      Mr. Pearlman, any follow up

25       questions?
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1                   MR. PEARLMAN:      So are you an operator for the

2        telephone exchange?

3                   A JUROR:    Yes.

4                   MR. PEARLMAN:      Thank you.

5                   THE COURT:    Mr. Ekeland?

6                   MR. EKELAND:     No questions, Your Honor.

7                   THE COURT:    All right.     You can go back to your seat.

8        Thank you.

9                   THE COURTROOM DEPUTY:       Juror number 1822, please.

10                  Thank you.    All right.     And I have got juror 1822.

11       And you had a yes to one question.         And I suspect it was the

12       catch-all question, because you wrote 47 but I think 46 was the

13       catch all.

14                  A JUROR:    I think so.     I apologize if I wrote the

15       numbers wrong.

16                  THE COURT:    No worries.     Tell us about that.

17                  A JUROR:    It is more of a possibly than a yes.             My

18       father is in the final stages of kidney failure.

19                  THE COURT:    I'm sorry to hear that.

20                  A JUROR:    Thank you.    Probably we are going to be

21       taking him home for hospice in two to three weeks.              It is

22       really difficult to say how long he has.             It could be two

23       weeks.   It could be three to four months.           So that is the only

24       thing that might preclude me from coming.

25                  THE COURT:    Is your father local?
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1                   A JUROR:    He is.

2                   THE COURT:    And are you involved in his care or is it

3        more that you want to be spending time with him?

4                   A JUROR:    I think it is both.

5                   THE COURT:    So are there others who would be involved

6        in his care?    When he is coming home from the hospital, who is

7        going to be doing that?

8                   A JUROR:    I am not his primary caretaker, but I do

9        visit three, four times a week.

10                  THE COURT:    I think I have to leave this to you,

11       frankly.   I am not going to deprive somebody of the opportunity

12       to spend time with a loved one who has limited time.             And you

13       have heard me already discuss somewhat what our schedule will

14       be here.   We are not going to sit every Friday.           We will sit

15       maybe part time on some Fridays.        We will start at 9:00 in the

16       morning, probably go to about 4:30, take a lunch break, a break

17       in the afternoon.     You will have your weekends, obviously, as

18       well, long weekends.     And I -- quite frankly, I am going to

19       leave this one up to you, because, as I said, I am not going to

20       deprive somebody -- if you feel as though you would be spending

21       more time with a loved one who has limited time, I am not going

22       to keep you from that.      On the other hand, if you are going to

23       be going to work otherwise, then I'd just as soon you be here.

24                  A JUROR:    I think the answer is probably, yes, in

25       that case, I would come.      Yeah.
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1                   THE COURT:    You can serve you think?

2                   A JUROR:    Yeah, I think so.

3                   THE COURT:    All right.     Okay.    Any follow up,

4        Mr. Ekeland?

5                   MR. EKELAND:     No, Your Honor.

6                   THE COURT:    Mr. Pearlman?

7                   MR. PEARLMAN:      No, Your Honor.

8                   THE COURT:    All right.     Thank you.     I appreciate

9        your --

10                  A JUROR:    Thank you.

11                  THE COURTROOM DEPUTY:       Juror number 1757, please.

12                  THE COURT:    Thank you.     I have juror 1757.

13                  And you answered yes to several of my questions.

14                  A JUROR:    Indeed.

15                  THE COURT:    And let me start with -- there is a whole

16       list of questions, 3 through 6, which just deal with

17       familiarity with cryptocurrency in various ways.

18                  A JUROR:    Yes.

19                  THE COURT:    And I think probably a bunch of your

20       other yes questions are similar.

21                  A JUROR:    Yes.

22                  THE COURT:    Tell us what do you do and how do you

23       know about cryptocurrency?

24                  A JUROR:    I am -- so I have a couple of jobs too.             I

25       work for a tech company who is a contractor of the government.
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1        And my second job, I work at a residential condominium.

2                   THE COURT:    I'm sorry.     You work where?

3                   A JUROR:    At a residential condominium.

4                   THE COURT:    Okay.

5                   A JUROR:    And I just do front desk work.

6                   THE COURT:    What do you -- I'm sorry.         The first job,

7        what do you do?

8                   A JUROR:    So I do back office work for a tech company

9        that contracts for the government.

10                  THE COURT:    What company is that?

11                  A JUROR:    N2IA Technologies.

12                  THE COURT:    What does that company do?

13                  A JUROR:    So kind of just build military systems for

14       like the Navy or any -- so they can like categorize their

15       inventory and stuff like that.

16                  THE COURT:    I take it from that then your knowledge

17       with respect to cryptocurrency comes maybe just from your

18       reading, is that it?

19                  A JUROR:    No.   So I actually -- I read.         I consume a

20       podcast.   I trade.    Basically I do all that stuff.

21                  THE COURT:    So you trade in cryptocurrency as well?

22                  A JUROR:    Indeed.

23                  THE COURT:    And would you be able to put aside what

24       you know about cryptocurrency and decide this case just based

25       on the facts presented in the courtroom?
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1                   A JUROR:    Yeah, I believe so.

2                   THE COURT:    Do you have strong feelings one way or

3        the other about different cryptocurrencies, marketplaces, the

4        use of cryptocurrency, blockchain tracing or anything like that

5        that would affect your ability to be fair and impartial here

6        and decide the case based on the evidence?

7                   A JUROR:    I think I could be fair.        I don't know

8        about impartial, given the knowledge, because I do have kind of

9        have beliefs on it.

10                  THE COURT:    Let me ask you to pick up the phone for a

11       second.

12                  A JUROR:    Yeah.   Sure.

13                  (Conference held at the bench.)

14                  THE COURT:    Why don't you tell us what your thoughts

15       are and your views.

16                  A JUROR:    So as far as like cryptocurrency goes, I

17       don't really have any like overarching thoughts that outside

18       people should be able to use it and it should be used for

19       commerce, whatever they decide to kind of buy and sell with

20       that.   So nothing like I guess outlandish like it should take

21       over like the national currency or something.

22                  THE COURT:    Do you also have views about whether it

23       is appropriate for the government to be regulating it in any

24       way?

25                  A JUROR:    Yeah, I think so.      I think it is just about
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1        how -- my views of based off about how they kind of come in

2        after the fact to kind of regulate things when some of these

3        people are trying to come to them for regulation ahead of time.

4        And it really kind of doesn't seem like they make a decision

5        until they ask for it.

6                   THE COURT:    And you I take it are aware of I think

7        some criminal cases that have been brought or enforcement

8        actions?

9                   A JUROR:    So the cases that you mentioned, yes.            And

10       via podcast, like you said, CoinDesk, I kind of listen to it

11       every day for like the past like year or two.             And CNBC as

12       well, so I am familiar with the entire case that you spoke

13       about.

14                  THE COURT:    Have you ever read or listened to a book

15       called "Tracers in the Dark"?

16                  A JUROR:    No.

17                  THE COURT:    Are you familiar with the company called

18       Chainalysis?

19                  A JUROR:    Yes.

20                  THE COURT:    Tell us what you know about Chainalysis.

21                  A JUROR:    Just as far as their involvement in the

22       crypto space, I couldn't tell you like the people who was head

23       of the company or anything like that.          But like I said, I

24       listen to CoinDesk podcast.         Actually Chainalysis is a sponsor

25       of the podcast so it is kind of like osmosis at this point.
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1                   THE COURT:    Do you know what Chainalysis does?

2                   A JUROR:    No.   I probably couldn't tell you, no.

3                   THE COURT:    And, you know, you obviously know more

4        than the average person about cryptocurrency and related

5        issues.   Would you be able to decide the case based on the

6        evidence presented in the courtroom?          There will be testimony

7        about cryptocurrency.      But do you think you could put aside

8        what you know and follow an instruction from me, for example,

9        to not talk to other jurors and say, oh, no, no, this is how it

10       works based on your only personal knowledge?

11                  A JUROR:    I could guarantee you that I wouldn't try

12       to influence anybody with my own personal knowledge.              But to be

13       quite honest, I think it is hard for me to forget kind of what

14       I know about cryptocurrency as far as be biased if there is

15       actual people involved.      Because I do have an understanding of

16       like what it is that this currency is being used for.

17                  THE COURT:    What is it being used for?

18                  A JUROR:    So, for instance, you asked if anybody has

19       bought non-fungible tokens.         I have consumed a lot of

20       non-fungible tokens.     I also know like the dark web side of it

21       where people are using it to buy and sell drugs and stuff like

22       that.   I haven't done that personally.          I am just aware of the

23       illicit use and beneficial use and how people use this to kind

24       of pump their own pockets and stuff too.

25                  THE COURT:    And, you know, as I said to one of the
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1        other prospective jurors earlier, the fact that you know

2        something is not dispositive.       So, you know, you may know that

3        guns are sometimes used to commit crimes and they are sometimes

4        used to protect people and sometimes they are used for hunting

5        and sometimes they are used for target practice.            That doesn't

6        mean that you necessarily come to a case with a bias.                 And so

7        the question is whether any of that is going to affect your

8        ability to listen to the evidence here and decide this case

9        just based on the evidence?

10                  A JUROR:    Like I said, it is not going to affect my

11       ability to be biased toward an individual.           But I think I would

12       end up, even if I am not trying to, apply my knowledge of

13       crypto over the past couple of years.

14                  THE COURT:    All right.     Let me ask if there is any

15       follow up.

16                  Mr. Ekeland, do you want to follow up?

17                  MR. EKELAND:     You mentioned that -- I guess I wasn't

18       clear on your views of government financial regulation of the

19       crypto space.    Could you just explain that a little bit more

20       what your feelings are?

21                  A JUROR:    What I was saying is not that I have a

22       problem with government regulating crypto, I think it is just

23       when they decide to do so.      It is just like the timing, like

24       say, you knew somebody had a problem, but you knew about it for

25       a while and then you don't act upon it until they do something
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1        like, kind of like dangerous with the problem.               And then you

2        come in, but they have been asking you for help.               Does that

3        make sense?

4                    MR. EKELAND:     Yeah, that answers my question.

5                    No further questions, Your Honor.

6                    THE COURT:    All right.       Mr. Pearlman.

7                    MR. PEARLMAN:      Sir, have you ever heard in the

8        podcast or outside of the podcast of Bitcoin Fog or the use of

9        mixers generally?

10                   A JUROR:    Yes.   I think it is a common practice when

11       people are trying to elude being traced with their

12       transactions.    You use a mixer to kind of like basically try to

13       go undetected.       But you can track mixers, so it is not really

14       as effective as people like to think, I would believe.

15                   MR. PEARLMAN:      So do you -- do you understand whether

16       mixers can be used for legitimate purposes?

17                   A JUROR:    To be honest with you, I only really hear

18       when people are trying to hide their transactions, so if they

19       are trying to move money around.           So I would say no to that

20       question.

21                   MR. PEARLMAN:      Okay.    Thank you.

22                   THE COURT:    Did you have more?

23                   MR. PEARLMAN:      I'm sorry.      I don't have anything

24       else.

25                   THE COURT:    Mr. Ekeland, did you have anything on
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1        that?

2                   MR. EKELAND:     No, Your Honor.

3                   THE COURT:    Let me follow up on this last point about

4        mixers.   Even though you may have only heard about uses of

5        mixers for.

6                   A JUROR:    Nefarious purposes.

7                   THE COURT:    Yeah.      Would you be able to sit as a

8        juror with an open mind as to whether they may or may not be

9        able to used in other contexts for non-nefarious purposes?

10                  A JUROR:    I feel if it was explained to me

11       adequately, yes.

12                  THE COURT:    And then is it fair to say that what we

13       have discussed here has been the answers to all of your

14       questions and we have covered everything?

15                  A JUROR:    Yeah.

16                  THE COURT:    I think you also mention that you have

17       strong feelings about laws relating to illegal drugs.

18                  A JUROR:    Primarily just psychedelics and marijuana.

19                  THE COURT:    Okay.

20                  A JUROR:    I believe they are plants, so to be

21       scheduled the way they are doesn't really make sense to me.

22                  THE COURT:    Would you be able to put aside all of

23       those feelings and decide this case in which there is an

24       allegation relating to use of cryptocurrency to purchase drugs?

25                  A JUROR:    Oh, yeah, sure.       I think that is what I
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1        mentioned and alluded to earlier, that is kind of what

2        cryptocurrency is used for, in some respects.

3                   THE COURT:    Any further questions?

4                   MR. EKELAND:     No, Your Honor.

5                   MR. PEARLMAN:      So, sir, I want to clarify, if the

6        evidence in the case is that there was a purchase of those

7        drugs with cryptocurrency, would you still be able to be fair

8        and assess all of the evidence in the case?

9                   A JUROR:    For sure.

10                  THE COURT:    All right.

11                  (End of bench conference.)

12                  THE COURT:    All right.        Thank you.

13                  Any further follow-up from counsel?

14                  All right.    You can go back to your seat.           Thank you.

15                  THE COURTROOM DEPUTY:        Juror number 0273, please.

16                  THE COURT:    Thank you.        And we have juror 0273.     And

17       you answered yes to question 33, which is whether you have ever

18       been a juror before.

19                  A JUROR:    Uh-huh.      Yes.

20                  THE COURT:    Tell us about that.

21                  A JUROR:    It was last year at the one down the

22       street.

23                  THE COURT:    The Superior Court?

24                  A JUROR:    Yes.

25                  THE COURT:    The DC Court?
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1                   A JUROR:    Yes.

2                   THE COURT:    What sort of case was it?

3                   A JUROR:    It was many cases.

4                   THE COURT:    Oh, you were a grand juror?

5                   A JUROR:    Yeah.

6                   THE COURT:    Because you have been a grand juror, do

7        you understand that an indictment is not a finding of guilt in

8        any way and just how a case is initiated?

9                   A JUROR:    Uh-huh.

10                  THE COURT:    Would you be able to decide this case

11       without putting any weight on the fact that there is an

12       indictment?

13                  A JUROR:    Right.    Yes.

14                  THE COURT:    And what do you do?

15                  A JUROR:    I am a happy retiree.

16                  THE COURT:    Oh, good.      That sounds good to me.

17                  All right.    Any follow-up questions, Mr. Ekeland?

18                  MR. EKELAND:     No, Your Honor.

19                  THE COURT:    Mr. Pearlman.

20                  MR. PEARLMAN:      Ma'am, what did you used to do?

21                  A JUROR:    I used to work at NIH, government

22       researchers, procurement.

23                  MR. PEARLMAN:      Thank you, Your Honor.

24                  THE COURT:    You can go back to your seat.          Thank you.

25                  THE COURTROOM DEPUTY:        Juror number 1656, please.
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1                   THE COURT:    Thank you.     All right.     We have got Juror

2        1656.    And you answered yes to the question about whether you

3        lived with or have frequent contact with somebody at risk of

4        severe COVID.

5                   A JUROR:    No.

6                   THE COURT:    Did you maybe mean a different question?

7                   A JUROR:    It was for English.

8                   THE COURT:    For English.      Do you have difficulty

9        understanding English?

10                  A JUROR:    I know English.      But in this case maybe for

11       terminology, financial, I don't know.

12                  THE COURT:    I see.     So you might know some of the

13       financial terms?

14                  A JUROR:    No.

15                  THE COURT:    How long have you spoken English?

16                  A JUROR:    I live in USA for 20 years.

17                  THE COURT:    If people speak quickly, would that be a

18       problem for you or is it more just the question of technical

19       terms?

20                  A JUROR:    Both.   I am difficulty follow the same time

21       to understand very well.       But after that, I think I am

22       understood better.

23                  THE COURT:    Did you understand all of the questions I

24       asked?

25                  A JUROR:    Honestly, no.
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1                    THE COURT:   Okay.      All right.    Any objection?

2                    MR. EKELAND:    No, Your Honor.

3                    MR. PEARLMAN:    No, Your Honor.

4                    THE COURT:   All right.      In light of that, thank you

5        for your service in coming.         I am going to excuse you.

6                    A JUROR:   Oh thank you.      I'm sorry.

7                    THE COURT:   No, I understand.        We want to make sure

8        that everyone can understand what goes on here.             So thank you.

9                    THE COURTROOM DEPUTY:       Juror number 1009, please.

10                   THE COURT:   Thank you.      All right.     And I have got

11       Juror 1009.    And you raised a question about the length of time

12       for the trial.

13                   A JUROR:   Yeah.   I didn't catch the number of the

14       question.    My apologies.     So it was the --

15                   THE COURT:   It was 45.      So tell us about your

16       response to that.

17                   A JUROR:   Yeah.   So I am an architect.         And I work in

18       aviation, so I travel often.        It can be adjusted, obviously.

19       And then, similar, my -- I live -- my mother lives in El

20       Salvador.    I was born and raised there.         So my mother is ill.

21       And this week, she fell and I almost had to go down there.              A

22       year ago she fell, she broke her hip.          So anyway that is a

23       concern.    But it is just by chance as well.

24                   THE COURT:   Yeah.      I understand that.      With respect

25       to your mother what I will say is that we are going to have
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1        alternate jurors and sometimes people -- the reason we have the

2        alternate jurors because sometimes people get sick and if

3        something completely unexpected happened and you had to rush

4        off to care for your mother, that is something that could be

5        addressed.    And with respect to the trial date, what I

6        indicated was -- is that we expected the presentation of the

7        evidence to be done by March 7th.        I don't control how long the

8        jury deliberates.

9                   A JUROR:    Okay.   So it is beyond March 7th?

10                  THE COURT:    I don't -- it is very hard for me at the

11       beginning of the case to predict how long it will last.               I am

12       going to do my very best to move the case along as quickly as

13       we can, consistent with everyone's interest and rights.               But I

14       can't predict precisely when it is going to end.            And I can't

15       predict at all how long the jury is going to take in its

16       deliberations, because that is up to the jury.

17                  A JUROR:    Okay.

18                  THE COURT:    And then you answered yes to question 25.

19                  A JUROR:    Yes.    I own Coinbase through brokers.         And

20       I don't know very much about it.        And I mean, the whole El

21       Salvador thing and cryptocurrency just was of interest and when

22       my broker suggested it, I agreed and bought.           So I hold it.

23                  THE COURT:    How long ago did you buy it?

24                  A JUROR:    How long ago?

25                  THE COURT:    You bought it.      You just use it as an
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1        investment?

2                    A JUROR:   Right before it went down.

3                    THE COURT:   And you said -- I am not sure I am

4        familiar.    You said the whole El Salvador thing and

5        cryptocurrency.

6                    A JUROR:   Because, you know, the president went into

7        this thing of cryptocurrency and Bitcoin and, you know, people

8        own the wallet and I don't --

9                    THE COURT:   Was the president of El Salvador

10       encouraging people to buy cryptocurrency?            Is that what you are

11       saying?

12                   A JUROR:   Yes.    He has got Bitcoin as a currency.

13                   THE COURT:   Would you be able to put aside any

14       feelings related to that?

15                   A JUROR:   Sure.

16                   THE COURT:   All right.     Mr. Pearlman, any follow up?

17                   MR. PEARLMAN:     No, Your Honor.

18                   THE COURT:   Mr. Ekeland?

19                   MR. EKELAND:    No, Your Honor.

20                   THE COURT:   You can go back to your seat.          Thank you.

21                   THE COURTROOM DEPUTY:      Juror number 0727.

22                   THE COURT:   Thank you.     All right.     We have got juror

23       0727.   And you answered yes to my question about extreme

24       hardship.

25                   A JUROR:   Yes.    So I just started a new full time
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1        role last week.

2                   THE COURT:    A new full time what?

3                   A JUROR:    Role.    So I am still kind of in the

4        beginning periods, so this is really poor timing --

5                   THE COURT:    All right.

6                   A JUROR:    -- in that sense.

7                   THE COURT:    What do you do?

8                   A JUROR:    I am the director of operations.

9                   THE COURT:    For?

10                  A JUROR:    It is City Swing.      It is a like golf

11       simulation site.

12                  THE COURT:    I see.     And I understand it may not be

13       ideal timing.    Are there others who could fill in if you did

14       serve as a juror?

15                  A JUROR:    So my role is actually like new.          It was

16       created as like a need for the company since it is new.

17                  THE COURT:    I see.

18                  A JUROR:    So there are people that can pitch in, but

19       it was kind of more of an urgent need because we are opening a

20       new site and they needed someone to come in.

21                  THE COURT:    Is it something where you could either in

22       the morning or in the evenings afterwards get done sort of the

23       essentials of what you need to do?

24                  A JUROR:    It is possible.      There are also some

25       important planning meetings that are in the middle of the day,
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1        so this might be -- those might be a little trickier.

2                   THE COURT:    And then you answered yes to question 40,

3        which is about whether you or a family member worked for law

4        enforcement or a defense side or a penal institution.

5                   A JUROR:    Yeah.   I had an uncle that worked in a

6        jail.

7                   THE COURT:    I see.

8                   A JUROR:    It is in Virginia not in DC, but --

9                   THE COURT:    Would that have any bearing at all on

10       your views in this case?

11                  A JUROR:    No.

12                  THE COURT:    And then you answered yes to question 33

13       about whether you have been a juror before.

14                  A JUROR:    Yes.    I served on a grand jury in 2021.

15                  THE COURT:    All right.     And do you understand that an

16       indictment is not evidence of wrongdoing and it is just the way

17       a case is initiated?

18                  A JUROR:    Yes.

19                  THE COURT:    All right.     Mr. Ekeland, any follow up?

20                  MR. EKELAND:      No, Your Honor.

21                  THE COURT:    Mr. Pearlman?

22                  MR. PEARLMAN:      Ma'am, was the grand jury that you sat

23       on, was it in this building or was it in another building?

24                  A JUROR:    It was in another building.

25                  MR. PEARLMAN:      Thank you.
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1                    THE COURT:   All right.     You can go back to your seat.

2        Thank you.

3                    THE COURTROOM DEPUTY:      Juror number 1141, please.

4                    THE COURT:   All right.     And I have juror 1141.        And

5        you answered yes to two questions.        One is whether you have

6        purchased or sold Bitcoin.

7                    A JUROR:   Yes.    Just a longterm investment of

8        Ethereum just through an exchange, so never set up a wallet.

9                    THE COURT:   All right.     And you also indicated that

10       you have strong feelings or opinions about use of

11       cryptocurrency or about the darknet or the deep web.

12                   A JUROR:   Yeah.   Maybe not strong opinions, just

13       there is more, you know, criminal activity through an

14       unregulated source as the dark web.         So I don't think it would

15       hinder my ability to pass judgment on the trial.

16                   THE COURT:   You could decide this case just based on

17       the evidence?

18                   A JUROR:   Yes, sir.

19                   THE COURT:   Mr. Ekeland, follow up.

20                   MR. EKELAND:    Just on your views of the dark web, do

21       you associate the dark web, everything on it, with criminal

22       activity?

23                   A JUROR:   Maybe not everything on it, I am not sure

24       of everything that is on it, but just more so a place where

25       criminal activity can happen.
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1                   MR. EKELAND:     Are you familiar with Bitcoin mixers at

2        all?

3                   A JUROR:    Mixers?

4                   MR. EKELAND:     Yeah.

5                   A JUROR:    No, sir, I am not.

6                   MR. EKELAND:     And then I think you said -- did you

7        say you set up your own wallet?

8                   A JUROR:    No, never have.

9                   MR. EKELAND:     So someone set it up for you or you

10       used an exchange?

11                  A JUROR:    No, I don't have a wallet.

12                  MR. EKELAND:     No further questions.

13                  THE COURT:    Mr. Pearlman.

14                  MR. PEARLMAN:     No, Your Honor.

15                  THE COURT:    All right.     You can go back to your seat.

16       Thank you.

17                  THE COURTROOM DEPUTY:       Juror number 0793, please.

18                  THE COURT:    Thank you.     All right.     We have juror

19       0793.   And you answered yes to the question about whether you

20       or someone who you have close contact with is at risk of severe

21       illness from COVID.

22                  A JUROR:    Yes, that is correct.

23                  THE COURT:    Tell us about that.

24                  A JUROR:    I live with my mother.        And she is

25       immunocompromised.     She has blood disorders and lymphoma, as
     Case 1:21-cr-00399-RDM    Document 276   Filed 03/16/24   Page 85 of 270
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1        well as she has sustained permanent lung damage from a previous

2        case of COVID.       So she is very vulnerable.

3                   THE COURT:     So I see that you are wearing a mask.

4        And I will say to you and any juror, anyone is always welcome

5        in my courtroom if they want to to wear a mask.             Sitting on my

6        jury, you are welcome to wear a mask.          That is completely fine.

7                   A JUROR:     It is not something that -- not something

8        that I do out of choice, but necessity unfortunately.

9                   THE COURT:     Right, but I completely understand.          And

10       the question I have for you is, assuming that you wear a mask,

11       would you be comfortable serving on a jury or are you so

12       concerned about your mother's health, for example, that you

13       don't typically go out and avoid people because you really want

14       to make sure you are avoiding all risk?

15                  A JUROR:     No.   As long as I can wear the mask, it is

16       fine.

17                  THE COURT:     All right.     And then you answered yes to

18       question 40, which is about whether you, a family member or

19       close friend have worked for the organizations I listed.

20                  A JUROR:     Is that the one that is about a government

21       agency, Department of Justice?

22                  THE COURT:     Yes.

23                  A JUROR:     My mother is retired.         But prior to that,

24       she worked as a paralegal for the environmental resources

25       section of the Department of Justice.          And my brother is
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1        currently working as a trial clerk for the United States Tax

2        Court.

3                   THE COURT:    Would any of that have any bearing on

4        your being fair and impartial here?

5                   A JUROR:    No.

6                   THE COURT:    And then you answered yes to 39, which is

7        whether you tend to believe or disbelieve testimony from law

8        enforcement more than any other witnesses?

9                   A JUROR:    I do.   I do trust the police.

10                  THE COURT:    But do you understand that when it comes

11       to a court of law that you have to evaluate the truthfulness or

12       lack of truthfulness of any witness along the same standard

13       just based on listening to the person's testimony, judging

14       their demeanor and looking at all of the other evidence in the

15       case and decide whether you think the person is being truthful

16       or not?

17                  A JUROR:    Yes, I do.

18                  THE COURT:    Do you think you could do that with

19       respect to law enforcement as well?

20                  A JUROR:    I believe so.

21                  THE COURT:    You answered yes to question 36 about

22       whether you, a close friend or family member have legal

23       training other than what you already have mentioned to us.

24                  A JUROR:    That would by my mother, the paralegal; and

25       brother, the trial clerk.
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1                   THE COURT:    Then you answered yes to question 35

2        about whether you, a family or close friend have been a victim

3        or witness to a crime?

4                   A JUROR:    Yes.   I was the victim of identity theft.

5        The person was working with the -- the person worked with the

6        bank teller as the accomplice.       The bank teller gave them the

7        names and personal information, account numbers of -- they were

8        part of ring, but I was one of the victims.           So using that

9        information, my social security number, et cetera, they got

10       checks -- they created -- you know, they got checks.             They

11       wrote bad checks in my name.        And they stole money out of --

12       they stole money out of my checking account, which is how I

13       found out I was a victim because all of a sudden my money was

14       gone.   So that is how I found out.       So that happened to me.

15                  THE COURT:    Would any of that have any bearing on

16       your ability to be fair and impartial in this case?

17                  A JUROR:    No.

18                  THE COURT:    You answered yes to whether you have been

19       a witness or a party in a case?

20                  A JUROR:    Yes.   I am a little bit unsure if this is

21       covered under that question, but I did -- my father when I

22       was -- when I was 14, my father died in a helicopter crash.

23       And my mother brought a suit against the helicopter company on

24       my and my brother's behalf.

25                  THE COURT:    Would that have any bearing in this case
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1        in any way?

2                   A JUROR:    No.

3                   THE COURT:    And then you answered yes to question

4        number 28, which is whether you have strong feelings or

5        opinions about laws governing illegal drugs.

6                   A JUROR:    Yeah.   I think that we need strong laws

7        governing illegal drug use.

8                   THE COURT:    Would that have any bearing on your

9        ability to be fair and impartial here?

10                  A JUROR:    I don't think so.

11                  THE COURT:    And then you answered yes to question 18,

12       which was that you may hear testimony from one or more

13       witnesses who have pled guilty to a criminal offense and who

14       entered into a cooperation plea agreement with the government.

15       Would the use of these cooperating witnesses prevent you from

16       rendering a fair and impartial verdict in this case?

17                  A JUROR:    I am not sure on that.

18                  THE COURT:    Tell us.

19                  A JUROR:    I wasn't sure what you meant.

20                  THE COURT:    Fair enough.      So what I mean by that is

21       that in some cases sometimes what will happen is the government

22       will enter -- will charge someone else with a crime.             They will

23       enter into a plea agreement with that person.            And part of the

24       plea agreement will say that as a condition of the guilty plea,

25       the person agrees to testify truthfully in another case.              And
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1        the question is whether you have such strong feelings about the

2        use of witnesses of that type that it would interfere with your

3        ability to be fair and impartial, just to judge that either --

4        to believe or disbelieve that witness' testimony based solely

5        on the evidence that you hear in the courtroom.

6                   A JUROR:    That wouldn't be a problem for me to judge

7        them as whatever -- as they come here.

8                   THE COURT:    Okay.      All right.    Mr. Ekeland, any

9        follow up?

10                  MR. EKELAND:     Yes.    You said -- I think you said you

11       trusted -- you tend to trust law enforcement.

12                  A JUROR:    Yes.

13                  MR. EKELAND:     Do you have any views as to whether law

14       enforcement is ever mistaken?

15                  A JUROR:    I believe that they can -- people can make

16       mistakes no matter what.

17                  MR. EKELAND:     So you are open to the possibility that

18       law enforcement could be mistaken about anything?

19                  A JUROR:    Yes.   I would have to hear what they had to

20       say first, but, yeah.

21                  MR. EKELAND:     Thank you.      No further questions.

22                  THE COURT:    All right.      Mr. Pearlman.

23                  MR. PEARLMAN:      No, Your Honor.         Thank you.

24                  THE COURT:    All right.      You can go back to your seat.

25       Thank you.
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1                   THE COURTROOM DEPUTY:       Juror number 0624, please.

2                   THE COURT:    Thank you.     All right.     I have Juror 0624

3        who answered yes to two questions including the extreme

4        hardship question.     So let's start there.

5                   A JUROR:    We have a financial hardship.

6        Unfortunately, I am federal contractor.          And they don't provide

7        coverage for jury duty salary.       So if it goes beyond three

8        days, I would have to go unsalaried and take a vacation or

9        unpaid leave.

10                  THE COURT:    What do you do?

11                  A JUROR:    I work as a federal contractor for the US

12       Agency for International Development.         I am a public health

13       specialist.

14                  THE COURT:    And then you answered yes to question 33

15       about whether you have been a juror before.

16                  A JUROR:    Yes.   I served in the District side.          They

17       settled, but it was an assault case.         I was picked and then let

18       go.

19                  THE COURT:    Would anything about that experience have

20       any bearing on your ability to be fair and impartial here?

21                  A JUROR:    No.

22                  THE COURT:    All right.     Mr. Pearlman, any follow up?

23                  MR. PEARLMAN:      No questions.

24                  THE COURT:    Mr. Ekeland?

25                  MR. EKELAND:      Did I understand you correctly that
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1        federal contractors don't get paid for being on federal juries?

2                   A JUROR:    I would only be supported for three days.

3        So if it is a short trial, yes; but a longer trial, no.

4                   MR. EKELAND:     Thank you.     No further questions, Your

5        Honor.

6                   THE COURT:    All right.     Thank you.     You may go back

7        to your seat.

8                   THE COURTROOM DEPUTY:       Juror number 1726, please.

9                   THE COURT:    Thank you.     All right.     And I have got

10       Juror 1726.    And you answered yes to four of my questions.

11       Let's start with the question 28, which is about whether you

12       have strong feelings or opinions about government laws relating

13       to illegal drugs.

14                  A JUROR:    Yeah.   I mean, I tend to think they are

15       unfair.

16                  THE COURT:    And are all of them unfair or some of

17       them unfair?

18                  A JUROR:    I would say some.      I don't know all, but

19       just the general construct, the framework.

20                  THE COURT:    Do you think that they are applied

21       unfairly or you just disagree with the law to start with?

22                  A JUROR:    They are applied unevenly.

23                  THE COURT:    And in other words, they are enforced

24       more against some people than other people?

25                  A JUROR:    Correct.     Yes.
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1                   THE COURT:    And in this case, the government's

2        allegation and charges deal with money laundering or conspiracy

3        to commit money laundering.         Some of those allegations allege

4        that money laundering was being done relating to unlawful drug

5        purchases.    Would you be able to put aside your feelings about

6        the fairness of the drug laws and decide the case just based on

7        the evidence presented in the courtroom?

8                   A JUROR:    I don't know.      I would be hard pressed.

9                   THE COURT:    All right.      Explain a little bit more.         I

10       mean, this is not a case in which anyone themselves is being

11       charged, for example, with illegally using drugs.              It is not a

12       case in which anyone is being charged with illegally selling

13       drug.   It is a case in which someone is charged with allegedly

14       illegally laundering funds that were then used for drug

15       transactions.    So in that context, do you think you could be

16       fair and impartial?

17                  A JUROR:    Can we pick up the phone?

18                  THE COURT:    Sure.

19                  (Conference held at the bench.)

20                  A JUROR:    Can you hear me now?

21                  THE COURT:    Yes, I can hear you.         Thanks.

22                  A JUROR:    I mean, I just feel like, I am not the best

23       juror for this particular situation.

24                  THE COURT:    Explain a little bit more.

25                  A JUROR:    I don't feel like I can convict a guy
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1        regardless of the circumstances of the case.           I don't think I

2        am the best juror to convict anybody.

3                   THE COURT:    Mr. Pearlman, any follow up?

4                   MR. PEARLMAN:      No, not based on that response, Your

5        Honor.

6                   THE COURT:    Mr. Ekeland.

7                   MR. EKELAND:     No, Your Honor.

8                   THE COURT:    All right.     Thanks.

9                   (End of bench conference.)

10                  THE COURT:    All right.     You can go back to your seat.

11                  Can I ask counsel to pick up?

12                  (Conference held at the bench.)

13                  MR. PEARLMAN:      Move to strike for cause, Your Honor.

14                  MR. EKELAND:     We object.

15                  THE COURT:    All right.     I am going to strike him for

16       cause.

17                  (End of bench conference.)

18                  THE COURT:    Okay.

19                  THE COURTROOM DEPUTY:       Juror number 0752, please.

20                  THE COURT:    Thank you.     We have juror 0752.           And you

21       answered yes to one question, which was 36, which is whether

22       you, a family member or close friend have legal training or

23       worked in a law office.

24                  A JUROR:    Yes.   My dad practices corporate law in

25       Atlanta.   And my boyfriend is a lawyer in the Marines.
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1                   THE COURT:    In the Marines?

2                   A JUROR:    Yes.

3                   THE COURT:    What sort of law does he do in the

4        Marines, if you know?

5                   A JUROR:    Well, technically he hasn't started yet.

6        He is finishing up base training in Quantico.             And then he will

7        be placed in April.

8                   THE COURT:    Would anything about either of those

9        relationships have any bearing on your ability to be fair and

10       impartial here?

11                  A JUROR:    No.

12                  THE COURT:    What do you do?

13                  A JUROR:    I work in an energy trade association.           I

14       work in communications.

15                  THE COURT:    Mr. Ekeland, any follow up?

16                  MR. EKELAND:      No.

17                  THE COURT:    Mr. Pearlman?

18                  MR. PEARLMAN:      No, Your Honor.

19                  THE COURT:    You can go back to your seat.           Thank you.

20                  THE COURTROOM DEPUTY:        Juror number 2065, please.

21                  THE COURT:    Thank you.

22                  All right.    I have got juror 2065.         And you answered

23       yes to five of my questions, including the catch-all and the

24       extreme hardship question.         So let's start there.

25                  A JUROR:    So I am starting a new managerial position.
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1        I am currently in the training for it.           And also two of my

2        trainers are leaving, which leaves me literally in charge of

3        the store that I work at.      So I have to, you know, make sure

4        everything is running and prove myself for the position.

5                   THE COURT:    What do you do?

6                   A JUROR:    I am an assistant manager right now at the

7        Spencer's Gifts.

8                   THE COURT:    At Spencer's.       Okay.

9                   All right.    And then you answered yes to the question

10       37, which was whether you, a family member or close friend had

11       been arrested or charged with a crime?

12                  A JUROR:    Yes.   Well, my father, a couple of my

13       cousins, some friends.

14                  THE COURT:    Let me ask you, anything about that that

15       would interfere with your ability to be fair and impartial

16       here?

17                  A JUROR:    No.

18                  THE COURT:    And then you answered yes to whether you,

19       a close friend or a family member have been the victim of or

20       witness to a crime.

21                  A JUROR:    Yes.   Well, I literally got held at

22       gunpoint like a month ago.       I have seen bodies.        There is a few

23       things.

24                  THE COURT:    Yeah.      All right.    And then you answered

25       yes to whether you or a family member or close friend have been
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1        audited by the IRS.

2                   A JUROR:     My father.

3                   THE COURT:     Anything about any of that would affect

4        your ability to be fair and impartial here?

5                   A JUROR:     No.

6                   THE COURT:     I just want to go back to the questions

7        about your starting this new position.

8                   A JUROR:     Uh-huh.

9                   THE COURT:     And I guess the question I want to ask is

10       it going to put you in some sort of professional jeopardy if

11       you have to serve as a juror here?         Or tell us a little bit

12       more about what the repercussions could be.

13                  A JUROR:     I feel like it would put my position in

14       jeopardy, because I am kind of there right now to prove myself

15       that, you know -- well, Fridays on top of that are like

16       important days at the store, because those are like the busiest

17       days of the week, got to make sure things are running the way

18       they are supposed to run.

19                  THE COURT:     What hours do you work?

20                  A JUROR:     So the store itself is usually open between

21       9:00 and 9:00.       But it is a -- in between there, I could be

22       between the morning or afternoon.

23                  THE COURT:     I guess the question is, if we are only

24       sitting occasionally on Fridays or part days on Fridays, you

25       can still be there on Fridays and, quite frankly, although you
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1        may not be thrilled by the prospect you could probably work in

2        the evenings after trial.      The question is whether that would

3        allow you to transition into a new role or whether you would

4        still have a problem?

5                   A JUROR:    I think that would be okay.

6                   THE COURT:    All right.      Mr. Pearlman, any follow up?

7                   MR. PEARLMAN:      No, Your Honor.

8                   THE COURT:    Mr. Ekeland.

9                   MR. EKELAND:     No, Your Honor.

10                  THE COURT:    Okay.      You can go back to your seat.

11       Thank you.

12                  THE COURTROOM DEPUTY:        Juror number 1431, please.

13                  THE COURT:    All right.      We have juror 1431.           You

14       answered yes to two of my questions.          You indicated that you

15       have been a juror before?

16                  A JUROR:    Yes.   Last June, Superior Court grand jury.

17                  THE COURT:    Grand jury.      Do you understand that an

18       indictment is not evidence of a crime it is just what initiates

19       a case?

20                  A JUROR:    Yes.

21                  THE COURT:    And you answered yes to whether you

22       purchased Bitcoin before or a cryptocurrency?

23                  A JUROR:    Yes.

24                  THE COURT:    Tell us about that.

25                  A JUROR:    I purchased a few cryptocurrencies on the
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1        Uphold app.

2                   THE COURT:    So just an investment or are you trading

3        in it or using it to purchase things?

4                   A JUROR:    Just investing and holding it.

5                   THE COURT:    Okay.      All right.    Would anything about

6        that have any bearing on your ability to be fair and impartial

7        here?

8                   A JUROR:    No.

9                   THE COURT:    All right.      Mr. Ekeland.

10                  MR. EKELAND:      I'm sorry.     I didn't hear.      Did you say

11       you purchased the crypto with an app?

12                  A JUROR:    Uphold.

13                  MR. EKELAND:      On your phone?

14                  A JUROR:    Yes.

15                  MR. EKELAND:      What was the app?

16                  A JUROR:    Uphold.

17                  MR. EKELAND:      Oh, Uphold.     I'm sorry.     I didn't hear

18       you.    So you haven't set up a wallet or anything like that?

19                  A JUROR:    I don't have a wallet.

20                  MR. EKELAND:      Okay.   You are just on --

21                  A JUROR:    Unless I -- still learning about it, but I

22       mean, unless it is part of the app, I don't have a wallet where

23       I transfer money in and out.

24                  MR. EKELAND:      And then are you still trading and

25       buying cryptocurrencies?
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1                   A JUROR:    Holding.

2                   MR. EKELAND:      Always?

3                   THE COURT:    Holding.

4                   MR. EKELAND:      Just holding.    You are holding.        Okay.

5        Thank you.    No further questions.

6                   THE COURT:    Mr. Pearlman.

7                   MR. PEARLMAN:      Ma'am, you are a teacher?

8                   A JUROR:    Yes.

9                   MR. PEARLMAN:      Anything about that would affect your

10       ability to serve here?

11                  A JUROR:    No.    I have aides in my class, so they

12       usually cover.

13                  THE COURT:    All right.     Well, thank you.       You can go

14       back to your seat.

15                  A JUROR:    Okay.   Thanks.

16                  THE COURTROOM DEPUTY:       Juror number 2200, please.

17                  THE COURT:    Thank you.

18                  All right.    Juror 2200 answered yes to one question,

19       which was question 36, which is whether you, a family member or

20       close friend have legal training or work in a law office.

21                  A JUROR:    My husband is a patent lawyer.

22                  THE COURT:    A patent lawyer.       Okay.    What do you do?

23                  A JUROR:    I am a realtor.

24                  THE COURT:    Would anything about that fact that your

25       husband practices law have any bearing at all in this case?
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1                    A JUROR:    No.

2                    THE COURT:    All right.    Mr. Ekeland, any follow-up

3        questions?

4                    MR. EKELAND:      No, Your Honor.

5                    THE COURT:    Mr. Pearlman.

6                    MR. PEARLMAN:      No, Your Honor.

7                    THE COURT:    All right.    You can go back to your seat.

8        Thank you.

9                    A JUROR:    Juror number 0625, please.

10                   THE COURT:    Thank you.

11                   All right.    I have Juror 625 and you answered yes to

12       my catch-all question.

13                   A JUROR:    Yes.   I think it is because I have a

14       doctor's appointment for surgical follow up on Wednesday

15       afternoon that I can't change.

16                   THE COURT:    I see.

17                   A JUROR:    And then I also have DC Court jury duty

18       starting on March 7th.

19                   THE COURT:    That we could probably deal with.

20                   A JUROR:    I figured that you could deal with.

21                   THE COURT:    But the surgical follow up you said is on

22       Wednesday?

23                   A JUROR:    Yes.

24                   THE COURT:    What time of day is it?

25                   A JUROR:    1:00 p.m.
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1                    THE COURT:    How far away is your doctor?

2                    A JUROR:    It is here in DC, like northwest.

3                    THE COURT:    If we were to take the lunch break that

4        day, maybe a little bit longer, 12:30 to 2:00, would that

5        address the problem?

6                    A JUROR:    Probably.

7                    THE COURT:    Would you remember to remind me if you

8        end up on the jury?

9                    A JUROR:    I can.

10                   THE COURT:    And then you answered yes to question 40,

11       which is whether you or a close friend work for one of those

12       organizations I listed.

13                   A JUROR:    That was the one for law enforcement;

14       correct?

15                   THE COURT:    Yes.

16                   A JUROR:    My uncle was a local city police officer.

17       And I have been taking training towards becoming a NASA Special

18       Agent.    It is not my primary duty, not my full-time job, but I

19       have taken those trainings.         And I have federal arrest

20       authority and the authority to carry a gun, but I am not a

21       credentialed agent just yet.

22                   THE COURT:    And what would your role be at NASA?

23       What would you do?

24                   A JUROR:    Mostly protective details and things like

25       that.
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1                    THE COURT:    What do you do at NASA now?

2                    A JUROR:    I am an emergency manager.

3                    THE COURT:    Would that have any bearing on your --

4                    A JUROR:    No.

5                    THE COURT:    Would it have any bearing on your ability

6        to fairly consider the testimony of law enforcement one way or

7        the other?

8                    A JUROR:    No.

9                    THE COURT:    Okay.     And then you indicated yes to

10       question 37 about whether you, a family member or friend had

11       been arrested or charged?

12                   A JUROR:    Before I was born, my father was arrested,

13       charged and convicted of killing somebody and served about 11,

14       12 years in prison.

15                   THE COURT:    Would that have any bearing on your

16       ability to be fair and impartial?

17                   A JUROR:    No.

18                   THE COURT:    You indicated that you, a family member

19       or close friend have been a victim or witness to a crime?

20                   A JUROR:    My dad was hit by a drunk driver back in

21       2007 and was in the hospital for quite a while.              And then also,

22       he did, you know, give victim statements as part of the trial.

23                   THE COURT:    Would that have any bearing on this case?

24                   A JUROR:    No.

25                   THE COURT:    And then you answered yes to question 31,
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1        which is whether you, a family member or friend have been

2        audited by the IRS.

3                    A JUROR:    I have been audited by the IRS.

4                    THE COURT:    Any bearing on this case?

5                    A JUROR:    No.

6                    THE COURT:    You answered yes to question 25, about

7        whether you have purchased or owned Bitcoin or any

8        cryptocurrency.

9                    A JUROR:    Yeah.   Several years ago during the

10       Dogecoin craze, I threw 50 bucks in Binance I think it was.

11       And it didn't really go anywhere and finally cashed it out

12       and -- at a loss, but it wasn't anything big.            I was just

13       trying it out.

14                   THE COURT:    I am going to preempt Mr. Ekeland.           Did

15       you ever have a wallet?

16                   A JUROR:    Not that I know of.

17                   THE COURT:    All right.    Mr. Ekeland, any follow up?

18                   MR. EKELAND:      No further questions, Your Honor.

19                   THE COURT:    Mr. Pearlman.

20                   MR. PEARLMAN:     The Court's indulgence.        No, Your

21       Honor.

22                   THE COURT:    All right.    You can go back to your seat.

23       Thank you.

24                   THE COURTROOM DEPUTY:      Juror number 1580, please.

25                   THE COURT:    Thank you.    I have got juror 1580.         How
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1        are you?

2                    And you answered yes to two of my questions.                You

3        answered to the question where I asked whether you, a family

4        member or friend have worked for one of those organizations.

5                    A JUROR:    Yeah, my father.       He was a police officer.

6                    THE COURT:    Where was he a police officer?

7                    A JUROR:    DC.

8                    THE COURT:    In DC.    And would the fact that your

9        father was a police officer have any bearing on the weight or

10       lack of weight you would give the testimony of law enforcement?

11                   A JUROR:    Huh-uh.

12                   THE COURT:    No?

13                   A JUROR:    No.

14                   THE COURT:    Okay.     And then you answered yes to

15       whether you, a close friend or family member have been arrested

16       or charged with a crime.

17                   A JUROR:    Yeah.

18                   THE COURT:    Tell us about that.

19                   A JUROR:    Not me but friends and family.

20                   THE COURT:    Just sort of nature of the crimes?             What

21       sort of crimes?

22                   A JUROR:    Low crimes here and there, selling drugs,

23       stuff like that.

24                   THE COURT:    Some drug-related crimes?

25                   A JUROR:    Uh-huh.
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1                    THE COURT:    Would anything about that have any

2        bearing on your ability to be fair and impartial here?

3                    A JUROR:    No.

4                    THE COURT:    Mr. Pearlman, any follow up?

5                    MR. PEARLMAN:      No, Your Honor.       Thank you.

6                    THE COURT:    Mr. Ekeland?

7                    MR. EKELAND:      No, Your Honor.

8                    THE COURT:    All right.    Thanks.

9                    THE COURTROOM DEPUTY:      Juror number 1236, please.

10                   THE COURT:    Thank you.    I have Juror 1236.         And you

11       answered yes to three of my questions, including the one that

12       we just discussed a minute ago about the long list of

13       organizations.

14                   A JUROR:    Yes.   That was about the law enforcement.

15                   THE COURT:    Yes.

16                   A JUROR:    My wife works at the US Marshals.

17                   THE COURT:    Where does she work, which Marshals

18       office?

19                   A JUROR:    The headquarters.

20                   THE COURT:    What does she do there?

21                   A JUROR:    She is a statistician.

22                   THE COURT:    Does she do any investigative work?

23                   A JUROR:    Yes.   She is involved in some of them, some

24       investigations.

25                   THE COURT:    Do you know if her investigations
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1        involved any financial crimes?

2                    A JUROR:    No.   No.   I mean, she is not like involved

3        in the investigation.      She is kind of is in charge of like

4        the -- or deals with the fund -- how they are funded, like

5        the -- like whether they are properly resourced.

6                    THE COURT:    Whether the Marshals Service is properly

7        resourced?

8                    A JUROR:    Yeah.

9                    THE COURT:    Would the fact your wife works for the

10       Marshals Service have any bearing on the weight or lack of

11       weight you would give to testimony?

12                   A JUROR:    No.

13                   THE COURT:    Would it make you want to favor one side

14       or the other in this case?

15                   A JUROR:    No.

16                   THE COURT:    And then you answered yes to question 36

17       about whether you, a family member or close friend have legal

18       training or have worked in a law office?

19                   A JUROR:    Yeah.   So my parents are both lawyers and

20       my wife attended law school.

21                   THE COURT:    What sort of law do your parents

22       practice?

23                   A JUROR:    My father does international law and my

24       mother doesn't practice anymore.

25                   THE COURT:    Okay.     Did you say you went to law
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1        school?

2                    A JUROR:    No, my wife did.

3                    THE COURT:    Your wife did.       All right.     And then you

4        answered yes to question 31, which was about whether you or a

5        family member have ever been audited by the IRS.

6                    A JUROR:    My father was audited years ago.

7                    THE COURT:    Any bearing in your mind on this case?

8                    A JUROR:    No.

9                    THE COURT:    Mr. Pearlman, any follow up?

10                   MR. PEARLMAN:     No, Your Honor.

11                   THE COURT:    Mr. Ekeland?

12                   MR. EKELAND:      No, Your Honor.

13                   THE COURT:    All right.     You can go back to your seat.

14                   THE COURTROOM DEPUTY:       Juror number 1964, please.

15                   MR. PEARLMAN:     Your Honor --

16                   THE COURT:    Yes.

17                   (Conference held at the bench.)

18                   MR. PEARLMAN:     Could we take a five-minute break,

19       Your Honor?

20                   THE COURT:    Yeah.     Can we do this one since she is

21       already on her way up and then take the break?

22                   MR. PEARLMAN:     Of course.

23                   THE COURT:    Let me ask you one question beforehand,

24       which is I have been sitting here stewing about Juror 727,

25       which is the woman who said she just started a new role and she
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1        is going through tough training.        And I have been pretty

2        conservative about letting people go, because of the work

3        related demands.      You can give it some thought, but I am

4        thinking about whether we should strike her for cause because

5        it did seem like it would be a real hardship for her.              But

6        think about that.      I wanted to do it before the lunch break if

7        we do it so she doesn't have to come back.

8                    (End of bench conference.)

9                    THE COURT:    All right.

10                   All right.    Thank you.    We have Juror 1964.        And you

11       answered yes to three of my questions.

12                   First of all, you answered yes to the question about

13       whether you, a family member or close friend have worked for a

14       government entity involving financial regulation.

15                   A JUROR:    I wasn't exactly sure if this applies.           But

16       I work for the National Science Foundation Office of Inspector

17       General.    And I have done audits in the past of grant

18       recipients and whether they were appropriately using their

19       grant funds.

20                   THE COURT:    Would that have any bearing on your views

21       of this case?

22                   A JUROR:    No.

23                   THE COURT:    You answered yes to question 37 about

24       whether you, a family member or friend had been charged with a

25       crime or arrested.
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1                    A JUROR:    I was charged with Metro fare evasion.

2                    THE COURT:    With car evasion?

3                    A JUROR:    Metro fare evasion.

4                    THE COURT:    Any bearing on this case?

5                    A JUROR:    No.

6                    THE COURT:    And then you said that you or a family

7        member have been the victim of a crime or witness to a crime.

8                    A JUROR:    So my information was, I guess, part of the

9        OPM hack, the federal employee information that was -- I guess

10       I assumed it was a crime, maybe it wasn't a crime.             But when

11       your personal information was --

12                   THE COURT:    I see.    I thought -- fair enough.

13                   Would that have any role in your views about this

14       case in any way?

15                   A JUROR:    No.

16                   THE COURT:    All right.    Any follow-up questions?

17                   MR. EKELAND:      No, Your Honor.

18                   THE COURT:    Mr. Pearlman.

19                   MR. PEARLMAN:     No, Your Honor.

20                   THE COURT:    All right.    It seems the Metro Police are

21       enforcing those rules, so all beware.          Thank you.

22                   All right.    So we are going to take a short just

23       restroom break right now and about then, let me see.              I want to

24       see where we are here.        So we are going to take a lunch break

25       in any event at 12:30.        So I think that it is probably safer --
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1        we are going to take a 5 minute.          I think everyone on this side

2        from the aisle over here can go to lunch now, if you want to.

3        And I will ask that you all be back by 1:30.              And don't discuss

4        the case.    And if you see anyone associated with the case,

5        don't talk to them at all.          And if they steer away from you,

6        they are not being rude, they are just following the same

7        instruction that I have given you.           So I will see this half of

8        the room after the lunch break.          The last few folks in the back

9        there, I will see you back after a 5-minute restroom break.

10                   (Jury out at 12:11 p.m.)

11                   (Jury in at 12:18 p.m.)

12                   THE COURTROOM DEPUTY:        Juror number 1029, please.

13                   THE COURT:    Thank you.      All right.      We have juror

14       1029.    And you answered yes to three questions including the

15       extreme hardship question.

16                   A JUROR:    Yes.

17                   THE COURT:    Tell us about that.

18                   A JUROR:    Now that I have listened to everyone, I

19       don't know that it is an extreme hardship.              I am in the senior

20       executive service candidate development program.               And I have

21       mandatory training at the end of the month.              I imagine with a

22       note from the court, I can reschedule.

23                   THE COURT:    I can accommodate you.

24                   A JUROR:    I fully accept that.

25                   THE COURT:    I think when you hear --
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1                    A JUROR:    Yeah.   I --

2                    THE COURT:    I understand that a lot of this imposes

3        on people, but when you have a trial of this length, it just

4        happens.

5                    A JUROR:    Constitutional duty.

6                    THE COURT:    Exactly.     And then you answered yes to

7        question 33 about whether you have been a juror before.

8                    A JUROR:    Yes.    I served on a DC petit jury on a case

9        involving -- I forgot what the charge was.             But it was a

10       violent crime situation, several years ago.

11                   THE COURT:    Okay.     Anything about that case have any

12       bearing here?

13                   A JUROR:    No.

14                   THE COURT:    You answered yes to question 6, which is

15       whether you are familiar with one of the organizations,

16       Chainalysis, CipherTrace, Excygent, Elliptic.

17                   A JUROR:    Yes.    My former boss was very active in

18       cybersecurity to include crypto and did some work with

19       Chainalysis.

20                   THE COURT:    I see.    Where were you working?         You said

21       your former boss.

22                   A JUROR:    I was still there at Department of Homeland

23       Security.

24                   THE COURT:    Did you work at all with any of those

25       organizations?
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1                    A JUROR:    No.

2                    THE COURT:    Do you know anything about your boss'

3        work with them other than that he did it?

4                    A JUROR:    No.

5                    THE COURT:    What did you do for that boss?

6                    A JUROR:    I was his chief of staff.

7                    THE COURT:    Would you come to this case with any

8        prior conceived notions or views with respect to any of those

9        organizations?

10                   A JUROR:    No.

11                   THE COURT:    Have you personally been involved in

12       cybersecurity or anything like that?

13                   A JUROR:    No.   Just in the scheduling of his work in

14       that field.

15                   THE COURT:    I see.    All right.

16                   Mr. Ekeland, any follow up?

17                   MR. EKELAND:      Who was your former boss?

18                   A JUROR:    He is the Undersecretary for Policy at

19       Homeland Security, Robert Silvers.

20                   MR. EKELAND:      Thank you.   No further questions.

21                   THE COURT:    Mr. Pearlman, anything else?

22                   MR. PEARLMAN:     No, thank you.

23                   THE COURT:    You can go back to your seat.          Thank you.

24                   THE COURTROOM DEPUTY:      Juror number 0359, please.

25                   THE COURT:    You know, I realized -- well, could I ask
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1        the folks to pick up the phones for a second here?

2                    (Conference held at the bench.)

3                    THE COURT:    I probably need to send everyone else to

4        lunch now too that I have already spoken to so they can get

5        started on their lunch.        That just leaves the question of the

6        one juror where I was feeling as though we are doing okay in

7        picking jurors.      And she did express what I thought was a

8        fairly legitimate hardship relating to the fact she just

9        started a new role.

10                   MR. EKELAND:    No objection, Your Honor.

11                   THE COURT:    Mr. Pearlman.

12                   MR. PEARLMAN:      No objection, Your Honor.       There may

13       be one or two others that we want to discuss, but we can

14       discuss them after lunch.

15                   THE COURT:    That is fine.     So I am going to go ahead

16       and strike juror 727.      Okay.    Thank you.

17                   (End of bench conference.)

18                   THE COURT:    Thank you.    All right.      We have juror

19       359.   And you answered yes to three of my questions starting

20       with the extreme hardship question.

21                   A JUROR:    Yes.   So I am the special assistant to the

22       deputy administrator at US AID and the COO, which is a role

23       sort of like a chief of staff where I am in many meetings per

24       day and kind of manage her day-to-day engagements.             So it would

25       be quite challenging to miss a large stretch of time in that
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1        role.

2                    THE COURT:    And remind me again, what is the role,

3        the title?

4                    A JUROR:    I am the special assistant to the Deputy

5        administrator of US AID.

6                    THE COURT:    I see.    And does the deputy administrator

7        have other assistants?

8                    A JUROR:    So there is an executive assistant and then

9        the are advisers.      But my role is kind of a catch-all in terms

10       of all of her day-to-day work, so there is no one that could

11       exactly fill what I do.

12                   THE COURT:    I see.    And then you answered yes to

13       question 40.     And I think you are a former consultant to the

14       FBI.

15                   A JUROR:    So I did not work for the FBI, I worked for

16       Deloitte.    But I spent one year at the J. Edgar Hoover building

17       embedded within an FBI office.

18                   THE COURT:    What did you do there?

19                   A JUROR:    I consulted on private sector engagement

20       for the Bureau, so it was business strategy-type work.

21                   THE COURT:    Would anything on that have any bearing

22       on this case in your mind?

23                   A JUROR:    No.

24                   THE COURT:    Would it make you more likely to favor

25       one side or the other in the case?
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1                    A JUROR:    No.

2                    THE COURT:    You answered yes to question 25, which is

3        whether you purchased cryptocurrency.

4                    A JUROR:    Yes.    I made some purchases of Ethereum

5        quite a few years ago.        I sold them quite a few years ago, so

6        nothing recent.

7                    THE COURT:    Would that have any bearing on this case

8        in your mind?

9                    A JUROR:    No.

10                   THE COURT:    I just want to get back to the hardship

11       question for a minute.        Let me ask you to maybe tell us a

12       little bit more about in sort of your day to day activity.               I

13       want to get a sense of how serious --

14                   A JUROR:    Sure.   I'd equate my role to something like

15       a chief-of-staff role.        I attend usually around 10 meetings per

16       day.   My boss is the chief operating officer of the agency.

17       She is a very senior member of the leadership of the agency.

18       So my role involves kind of ideally being in all of the

19       meetings, being on all of the emails.          We just returned from a

20       week-long trip abroad actually several days ago and are going

21       back abroad in mid March.       So it is quite an intense role.          And

22       each day I am not in the office, it is difficult in terms of

23       management of kind of my principle's work universe.

24                   THE COURT:    So when you are sitting in these

25       meetings, are you there to be a sounding board; are you there
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1        to keep track of what we used to call at the Justice

2        Department, the get-back list, the tasks that come out of the

3        meeting to make sure it gets done?

4                    A JUROR:    Yes.   So tracking do outs and follow is

5        part of my role.      There is also an advisory nature to my role

6        where I am involved with the substance and I provide feedback,

7        participate in meetings, so it is sometimes an active role.

8                    THE COURT:    Okay.     Any follow up, Mr. Ekeland?

9                    MR. EKELAND:    No, Your Honor.

10                   THE COURT:    Mr. Pearlman?

11                   MR. PEARLMAN:      No, Your Honor.

12                   THE COURT:    All right.     You can go back to your seat.

13                   THE COURTROOM DEPUTY:       Juror number 0663, please.

14                   THE COURT:    Thank you.     We have Juror 663.        And you

15       answered yes to two questions.         Let's start with question 42,

16       which is whether you have a health problem that would make it

17       difficult for you to serve as a juror.

18                   A JUROR:    The only health problem I have is my

19       glasses, the prescription is a couple years old.              I can't

20       really see that well.

21                   THE COURT:    So could you see and read exhibits if

22       they were in front of you?

23                   A JUROR:    Yes.

24                   THE COURT:    And could you like see me, see my facial

25       expressions and all of that?
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1                    A JUROR:    Yes.   From this distance.

2                    THE COURT:    I'm sorry?

3                    A JUROR:    From this distance.

4                    THE COURT:    Okay.     All right.        If you had difficulty

5        seeing something as a juror, would you have any problem raising

6        your hand and letting us know and we could make sure it was

7        presented closer to you?

8                    A JUROR:    Yes.

9                    THE COURT:    And then you answered yes to question 39,

10       about whether you would view testimony from law enforcement one

11       way or the other, simply because it is from law enforcement.

12                   A JUROR:    I might be a little biased from where I

13       grew up, because, you know, but I feel like I can.                My

14       interactions haven't been too terrible with the police.                   But I

15       just have seen a lot of not credible things.

16                   THE COURT:    And do you understand that this isn't a

17       case in which there are going to be, you know, on-the-beat

18       police officers?      That is not the type of law enforcement that

19       is going to be in this case.

20                   A JUROR:    Yes.

21                   THE COURT:    Do you think that you could give that --

22       the testimony of those witnesses whatever weight you think it

23       deserves or doesn't deserve and you could evaluate it just

24       based on the evidence in the case?

25                   A JUROR:    Yes.
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1                    THE COURT:    All right.

2                    A JUROR:    I don't think it would affect it.

3                    THE COURT:    All right.    I appreciate that.

4                    Mr. Pearlman, any follow up?

5                    MR. PEARLMAN:      Sir, in this case you might as a juror

6        have screens to look at of like Excel spreadsheets.              Would

7        you -- if you are only a foot or two away from the screen,

8        would you be able to see that?

9                    A JUROR:    Oh, yes, I would be able to see that.

10                   MR. PEARLMAN:      Thank you.

11                   THE COURT:    Mr. Ekeland, any follow up?

12                   MR. EKELAND:    No further questions.

13                   THE COURT:    All right.    You can go back to your seat.

14       Thank you.

15                   THE COURTROOM DEPUTY:      Juror number 1956.

16                   THE COURT:    All right.    One more and I will send you

17       to lunch.

18                   Thank you.

19                   We have juror 1956.      And you answered yes to three of

20       my questions, including the catch all, so let's start there.

21                   A JUROR:    Yes.   Good morning, Your Honor.

22                   THE COURT:    Good morning.

23                   A JUROR:    I assist my elderly parents who live out of

24       the area as needed.      And unfortunately this didn't come up

25       within the deferment window, it came up outside of that.               But
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1        they have -- they both now have medical appointments.                So I

2        drove home last week and went with my 85-year-old dad to his

3        doctor's appointment.        He has AFib and a couple of stints and

4        heart issues.        I did that on Friday.      And my 90-year-old

5        mother's appointment is tomorrow.           So when I called Thursday

6        evening, I was relieved that I didn't have to report here on

7        Friday.    And then I called Saturday morning and found out I had

8        to report.    So I flew back here last night and hopefully will

9        catch my afternoon flight back to them in Alabama.

10                   THE COURT:      So you have got to be back with them

11       tomorrow?

12                   A JUROR:      Mother's appointment is tomorrow and then

13       dad has another follow up either later this week or the

14       following week.

15                   THE COURT:      Any objection?

16                   MR. PEARLMAN:      No objection.

17                   MR. EKELAND:      No objection.

18                   THE COURT:      All right.    I am going to let you go.

19       Thank you.

20                   A JUROR:      Thank you very much, sir.

21                   THE COURT:      All right.    And juror 727.       Is she there?

22                   Do we have Juror 727?

23                   THE COURTROOM DEPUTY:        Juror 0727?

24                   THE COURT:      All right.    We'll figure that out.         But

25       you all are welcome to go to lunch.           Please be back by 1:30.
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1        Don't discuss the case with anybody.            And make sure you don't

2        overhear any conversations in the hall, just steer clear of

3        anyone associated with the case.

4                    Yes, ma'am.

5                    A JUROR:    We come straight to you?

6                    THE COURT:    Yes.      Straight back here at 1:30, yes.

7                    (Jury out at 12:30 p.m.)

8                    MR. PEARLMAN:    Your Honor, can we use the phones?

9                    THE COURT:    Yes.

10                   (Conference held at the bench.)

11                   MR. PEARLMAN:    Your Honor, there are two other

12       jurors, 0624.

13                   THE COURT:    And the line number?

14                   MR. PEARLMAN:    Line number 22.

15                   (End of bench conference.)

16                   THE COURT:    That is you?       I am going to let you go in

17       light of your work obligations.

18                   (Conference held at the bench.)

19                   MR. PEARLMAN:    0624 and then 2065, who is number 25.

20                   THE COURT:    So 25, and then who was the first one?

21       What line?

22                   MR. PEARLMAN:    Number 22, 0624.

23                   THE COURT:    Okay.     Remind me of their circumstances.

24                   MR. PEARLMAN:    2065 works at Spencer's.           He did

25       ultimately say that he could serve.
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1                    THE COURT:    That is line 28; right?

2                    MR. PEARLMAN:    No -- so 2065 is line 25.

3                    THE COURT:    Yes.      I got that one, yes.

4                    MR. PEARLMAN:    So he said that he could serve

5        ultimately with evening hours.          I guess everything up to then,

6        seemed to indicate that he couldn't and that he would be in the

7        same situation, so maybe just something to think about.

8                    THE COURT:    I was having the same thoughts about him

9        and was discussing it with my clerk as well.              I think it is a

10       close question as well.      I mean, he ultimately -- had he not

11       said that evening hours worked, I would have struck him.                 And

12       so I am happy to continue to think about that.

13                   Mr. Ekeland, do you have a view?

14                   MR. EKELAND:    We object to striking 2065 for cause as

15       well as 0624.

16                   THE COURT:    Okay.     Tell me -- remind me about 0624.

17                   MR. PEARLMAN:    So my notes were that she had some

18       significant work issues, but I don't have anything else here.

19                   THE COURT:    Just a second.

20                   MR. PEARLMAN:    Oh, right, I remember.

21                   THE COURT:    She is not going to get paid.

22                   MR. PEARLMAN:    I think she can do a three-day trial,

23       which I'd love to participate in, but that is not this trial.

24                   THE COURT:    Well, you know, what I am happy to do

25       with her and maybe I should have done this in the first place
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1        with her is bring her back.         Because I didn't really dive into

2        what her financial circumstances are.           And if she has a spouse

3        who earns a reasonable income or I will say actually in her

4        case I was moved somewhat by the fact that her position sounded

5        like a fairly senior position where she was probably not having

6        trouble paying rent.      But I am happy to kind of bring her back

7        and ask more about her financial means if people think I

8        should.

9                    MR. PEARLMAN:    That is fine, Your Honor.          I am okay

10       with that.

11                   THE COURT:    0624 that is.

12                   Mr. Ekeland?

13                   MR. EKELAND:    Your Honor, I think we would be okay

14       with 624 if you wanted to strike for cause.             But we maintain

15       our position on the other number, which I am blanking on right

16       now.

17                   THE COURT:    On 2065, he did say that he could serve,

18       so I am not going to strike him for cause.

19                   MR. PEARLMAN:    Very well, Your Honor.

20                   THE COURT:    But 0624 I think I should bring her back

21       up and see what she says about her financial circumstances.

22       All right.

23                   Just while we are on the phone is the government had

24       filed a motion asking for me to inquire with respect to whether

25       there was a conflict and perhaps to appoint conflict-free
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1        counsel.    In light of the response that you got from

2        Mr. Ekeland, I guess the question is whether that is something

3        you still want to pursue and whether I need to do that before

4        trial and whether I should inquire about that now.             Because if

5        I need to get someone to confer with Mr. Sterlingov before

6        trial, I need to do that now.        I thought that the defense

7        response was a reasonable one, at least reasonable enough.

8        Perhaps a colloquy with Mr. Sterlingov would be sufficient.

9                    MR. BROWN:    Your Honor, the government has no

10       objection if we just handle this with a conflict inquiry

11       hearing and forego the appointment of conflict-free counsel.

12       We wanted to draw the Court's attention to this.             The

13       appointment of counsel is the gold standard, but I think a

14       conflict inquiry would address our concerns.

15                   THE COURT:    So, Mr. Sterlingov, are you aware of the

16       issue that we are talking about?

17                   THE COURTROOM DEPUTY:      His doesn't allow him to talk.

18                   THE DEFENDANT:    I believe so, Your Honor.          Can you

19       hear me?

20                   (End of bench conference.)

21                   THE COURT:    Who is in the back of the courtroom?           Do

22       you know who -- do you know who is in the back in the courtroom

23       back there?    Who are you?

24                   UNIDENTIFIED SPEAKER:      From DOJ.

25                   THE COURT:    If you are not associated with the case,
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1        can I ask you to step out, so I can have a private conversation

2        with the parties?

3                    UNIDENTIFIED SPEAKER:      I am happy to leave.        I don't

4        know this gentleman.

5                    (People step out of the courtroom)

6                    THE COURT:    Who is the final gentleman there?

7                    MR. EKELAND:    That is Dr. Cabanas, one of our

8        experts.

9                    THE COURT:    Any objection to him staying in the room

10       for this?

11                   MS. PELKER:    No, Your Honor.

12                   THE COURT:    So I am going to seal the proceeding at

13       this point.    And we can have an easier conversation.

14                   (Proceedings were sealed by order of Judge Moss.)

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1                    (End of sealed proceedings.)

2                    (Recess taken at 12:45 p.m.)

3                    THE COURTROOM DEPUTY:      Juror number 1819, please.

4                    THE COURT:    Thank you.

5                    All right.    We have Juror 1819.        And you have

6        answered yes to four of my questions.          And let's start with the

7        extreme hardship question.

8                    A JUROR:    Yeah.    For my job, I don't think I would be

9        able to be away from like outside of like normal business

10       hours.

11                   THE COURT:    What do you do?

12                   A JUROR:    Sales.

13                   THE COURT:    What type of sales?

14                   A JUROR:    Software sales.

15                   THE COURT:    Describe a little.         Are you doing it in

16       your office, from the road, from your home.             How does that

17       work?

18                   A JUROR:    Everything is remote right now, but still

19       having to meet with people based off of their timeline, not

20       really mine.

21                   THE COURT:    Right.

22                   A JUROR:    So having these hours wouldn't really work

23       that well.

24                   THE COURT:    What sort of software do you sell?

25                   A JUROR:    Analytics type software.
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1                    THE COURT:    I see.    And are you salaried or are you

2        doing it on a commission basis?

3                    A JUROR:    Both.

4                    THE COURT:    All right.    And then you answered yes to

5        question 25, which is whether you have purchased

6        cryptocurrency?

7                    A JUROR:    Yeah.   I have a few different ones.

8                    THE COURT:    Which ones?

9                    A JUROR:    Generic ones like Bitcoin, Ethereum, I did

10       do some like Dogecoin as well and then Cardano.

11                   THE COURT:    You have held those for investment or

12       have you used those for transactions?

13                   A JUROR:    More for investment now, yeah.

14                   THE COURT:    You say now, previously --

15                   A JUROR:    I tried out like back in the beginning like

16       buying stuff with Bitcoin, but not anymore.

17                   THE COURT:    I see.    And then you answered yes to

18       question 23 about whether you ever accessed the darknet or deep

19       web.

20                   A JUROR:    Yeah, through Tor.      I am just curious.

21                   THE COURT:    And I will come back to that in a second.

22       And I think you mentioned just that you have used the Tor

23       browser.    Let me ask you to pick up the phone for a second.

24                   (Conference held at the bench.)

25                   THE COURT:    You can push that to speak.         Can you --
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1                    A JUROR:    It is working now?

2                    THE COURT:    Yeah.     Perfect.    So tell me when you used

3        Tor, what type of sites did you go to?           What did you see?

4                    A JUROR:    I just really downloaded it.          I didn't

5        really go into anything.      I think my intent was to look at Silk

6        Road, because that was what was like big at the time, but, you

7        know, never did anything actually on it.

8                    THE COURT:    Okay.     I see.   Would that have any affect

9        on your ability to judge this case based on the evidence in

10       this courtroom, assuming there is evidence about the darknet

11       and things like that?

12                   A JUROR:    No, not at all.

13                   THE COURT:    How much time did you spend using Tor and

14       poking around?

15                   A JUROR:    Like minuscule amounts of time.

16                   THE COURT:    Thank you.

17                   Any follow up while we are on the line?

18                   (End of bench conference.)

19                   THE COURT:    So I just wanted to go back to this

20       question about your work.      And I understand it is an

21       imposition.    I have got to get a sense of how significant an

22       imposition it would be on you to serve on the jury.

23                   A JUROR:    I know you asked the other potential jury

24       people if someone else could fill in for them with sales.                No

25       one is going to sell for you.
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1                    THE COURT:    Right.    What happens if you are not there

2        to sell?    Do they go to other companies or your clients get

3        upset or what happens?

4                    A JUROR:    Yeah.   They probably don't buy and then

5        people aren't happy.

6                    THE COURT:    All right.    Any follow-up questions?

7                    MR. PEARLMAN:    No, Your Honor.

8                    MR. EKELAND:    Just one.     Do you know how to code?

9        Like write software code?

10                   A JUROR:    Not really.

11                   MR. EKELAND:    No further questions.

12                   THE COURT:    You can go back to your seat.          Thanks.

13                   (Conference held at the bench.)

14                   THE COURT:    Can we pick up the --

15                   I don't know what you all think about -- it seems

16       like he had a more substantial excuse than others.             What are

17       your thoughts?

18                   MR. PEARLMAN:    I don't object to pushing him towards

19       the back and qualifying additional people in his place.

20                   THE COURT:    Mr. Ekeland, what do you think about

21       that?

22                   MR. EKELAND:    We would still like to keep him in

23       consideration at the moment.

24                   THE COURT:    We can put him on hold.        I am inclined to

25       think that he should be excused.        It sounds like it would be
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1        more a hardship for him than others.           I am happy to push him

2        and we can consider him later along with the others.                 Thank

3        you.

4                    (End of bench conference.)

5                    THE COURTROOM DEPUTY:       Juror number 1223, please.

6                    THE COURT:    All right.     We have juror 1223.          How are

7        you today?

8                    A JUROR:    I am good.     How are you?

9                    THE COURT:    I am fine.     Thank you.

10                   And you answered yes to one of my questions, which

11       was whether you have been a juror before.

12                   A JUROR:    Yes.    Twice with the Superior DC Court and

13       once in Montgomery county.

14                   THE COURT:    Okay.     And do you live in DC now?

15                   A JUROR:    I do.

16                   THE COURT:    What sort of cases?          Were they criminal,

17       civil cases, both?

18                   A JUROR:    Both.

19                   THE COURT:    Did the jury reach a verdict in those

20       cases, do you remember?

21                   A JUROR:    I don't remember.

22                   THE COURT:    Okay.

23                   A JUROR:    It has been a long time.

24                   THE COURT:    Okay.     All right.        And what do you do?

25                   A JUROR:    I am retired.
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1                    THE COURT:    What did you do before you retired?

2                    A JUROR:    TSA.

3                    THE COURT:    What did you do with TSA?

4                    A JUROR:    Security screening.

5                    THE COURT:    At the airport?

6                    A JUROR:    National, yes.

7                    THE COURT:    All right.    Great.       Thank you.

8                    Mr. Ekeland.

9                    MR. EKELAND:    No questions, Your Honor.

10                   THE COURT:    Mr. Pearlman?

11                   MR. PEARLMAN:      No questions, Your Honor.

12                   THE COURT:    All right.    Thank you.

13                   A JUROR:    You're welcome.

14                   THE COURTROOM DEPUTY:      Juror number 0357, please.

15                   THE COURT:    Thank you.    All right.       How are you

16       today?

17                   A JUROR:    Good.    How are you?

18                   THE COURT:    We have got Juror 357 and you have no yes

19       answers.

20                   A JUROR:    Nope.

21                   THE COURT:    Did you hear all of my question all

22       right?

23                   A JUROR:    I did.

24                   THE COURT:    You live in DC?

25                   A JUROR:    I do.
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1                    THE COURT:    Have you ever been a juror before?

2                    A JUROR:    No.

3                    THE COURT:    What do you do?

4                    A JUROR:    I am a market researcher, so I do

5        qualitative and quantitative research.

6                    THE COURT:    Mr. Ekeland, any questions?

7                    MR. EKELAND:      No, Your Honor.

8                    THE COURT:    Mr. Pearlman?

9                    MR. PEARLMAN:     No, Your Honor.

10                   THE COURT:    All right.      You can go back to your seat.

11       Thank you.

12                   THE COURTROOM DEPUTY:        Juror number 1568, please.

13                   THE COURT:    Thank you.      All right.      So Juror 1568

14       answered yes to question number 3 -- I mean, number 12.                  I'm

15       sorry.    Number 12.    And I can tell you why he answered yes to

16       number 12, which asks whether he knows me or any member of my

17       staff.    And that is because I know Juror 1568.            We were

18       partners at the same law firm for many years.              I don't think

19       that is, per se, an issue.          But let me ask him about some of

20       the other issues that he flags here.            And he indicated that he

21       has worked for a government entity engaged in financial

22       regulation.    And why don't you tell us about that?

23                   A JUROR:    I worked at the Securities and Exchange

24       Commission.

25                   THE COURT:    Can you tell us what you did there?
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1                    A JUROR:    I was the chief counsel of the enforcement

2        division at the SEC.

3                    THE COURT:    Okay.     Mr. Pearlman?

4                    MR. PEARLMAN:      No questions, Your Honor.

5                    THE COURT:    Mr. Ekeland?

6                    MR. EKELAND:    Are you still practicing law.

7                    A JUROR:    Yes, I am.

8                    MR. EKELAND:    What is your law practice?

9                    A JUROR:    I am back at the same law firm I was at

10       before I went to the SEC.

11                   MR. EKELAND:    What do you have -- what area of law do

12       you practice in?

13                   A JUROR:    Securities law.

14                   THE COURT:    Let me ask you, in your work at the SEC,

15       were you involved at all in the regulation of cryptocurrency?

16                   A JUROR:    Yes.

17                   THE COURT:    And can you tell us about that?

18                   A JUROR:    Sure.   I was involved in a number of

19       enforcement actions that the SEC brought alleging that people

20       who were using cryptocurrency in various ways had violated the

21       securities laws.

22                   THE COURT:    Go ahead.

23                   MR. EKELAND:    And how -- when Judge Moss was a

24       partner at your firm, how often did you interact with Judge

25       Moss?
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1                    A JUROR:    Not professionally a lot, just socially at

2        the law firm, seeing him in the offices.

3                    THE COURT:    To my recollection, I don't recall if we

4        ever worked a matter together.         It is possible we did, but I

5        don't recall having done so.

6                    All right.    And then you answered yes as well to

7        question 40, which is similar to 41 about whether you or close

8        friends or members of your family have worked for the long list

9        of organizations.      Other than your work at the SEC, is there

10       anything we should know about it?

11                   A JUROR:    That is it.

12                   THE COURT:    All right.     And then you answered yes to

13       question 36 about whether a family member or close friend have

14       legal training, which I think perhaps we have covered.

15                   A JUROR:    I do, yes.

16                   THE COURT:    And then you answered yes to 34 about

17       whether you have been a witness in a civil or criminal case or

18       party in a court case.

19                   A JUROR:    Yes.   I have been a witness in a federal

20       criminal case.

21                   THE COURT:    Tell us a little bit about that.

22                   A JUROR:    It was a securities fraud prosecution in

23       the United States District Court for the District of Colorado.

24       And I was called as a witness.

25                   THE COURT:    Would the fact that you have served as an
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1        enforcement official on behalf of the government or a witness

2        on behalf of the government in criminal proceedings make you

3        inclined to favor one side or another in this case?

4                    A JUROR:    No.

5                    MR. PEARLMAN:      Your Honor, may I clarify?

6                    THE COURT:    Yes.

7                    MR. PEARLMAN:      Were you a witness on behalf of the

8        government?

9                    A JUROR:    I was called by the government as a fact

10       witness.

11                   MR. PEARLMAN:      As a fact witness, not as an expert?

12                   A JUROR:    Correct.

13                   THE COURT:    And then you indicated that you have been

14       a juror before.

15                   A JUROR:    Yes.

16                   THE COURT:    Tell us about that.

17                   A JUROR:    I have been a juror in both civil and

18       criminal cases in this court and in DC Superior Court.

19                   THE COURT:    And then finally you indicated that you

20       have read or subscribed to podcasts or follow social media on

21       topics relating to cryptocurrency.

22                   A JUROR:    Yes.   As part of my work both at the SEC

23       and in private practice, I read articles from CoinDesk and

24       other legal publications about cryptocurrency and usually its

25       relationship to the government.
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1                    THE COURT:    And would you be able to put aside

2        whatever you have learned about cryptocurrency from your role

3        as a practicing lawyer or in the government and decide this

4        case based just on the evidence you hear in court?

5                    A JUROR:    Yes.

6                    THE COURT:    All right.     Is there anything else we

7        should know about your role or your activity at the Securities

8        Exchange Commission have a bearing on your ability to be a fair

9        and impartial juror in the case?

10                   A JUROR:    I don't think other than what we have

11       discussed, no.

12                   THE COURT:    Mr. Ekeland, any follow up?

13                   MR. EKELAND:    No.

14                   THE COURT:    Okay.     Mr. Pearlman, any follow up?

15                   MR. PEARLMAN:      No, Your Honor.

16                   THE COURT:    All right.     You can go back to your seat.

17       Thank you.

18                   THE COURTROOM DEPUTY:       Juror number 0728, please.

19                   THE COURT:    Just before we --

20                   Can the attorneys please pick up the --

21                   (Conference held at the bench.)

22                   THE COURT:    I just want to be clear on the record

23       that I will not be offended in any way if anyone did want to

24       move to strike the last juror.         He is not a close friend of

25       mine, but he is somebody I have known for many years and
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1        practiced law with.      I just wanted to be clear that you

2        shouldn't be afraid of offending me because I would not be

3        offended by whatever motions you may or may not make.

4                    MR. EKELAND:    Then the defense is going to move to

5        strike him for cause, Your Honor.

6                    MR. PEARLMAN:    I don't there think is a basis to

7        strike him for cause, Your Honor.          I think he is able to be

8        fair.    And there is nothing he said that would indicate an

9        inability to be fair.

10                   THE COURT:    Mr. Ekeland.

11                   MR. EKELAND:    He is both a friend of the Court and he

12       is a -- works with the SEC.         He regulates cryptocurrency.         And

13       I just don't want -- the defense just doesn't think that he

14       could be impartial given his work with the SEC and his views on

15       cryptocurrency.

16                   THE COURT:    All right.     Well, if you would like, what

17       I am happy to do is to bracket him.          And if you want to call

18       him back -- I don't think you really explored those issues with

19       him.    You are welcome to do so.       I can call him back up at some

20       point if you would like to do that.          I agree with Mr. Pearlman

21       based on what is on the record thus far, I don't think there is

22       enough there to strike him for cause.           It may be that you

23       wanted to dig deeper and develop things further, you are

24       welcome to do that.

25                   With respect to his being a friend of mine, I mean, I
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1        don't think I have actually seen him other than perhaps like

2        waiting on the street passing him in many years now.               And I

3        don't think he has ever been to my house for dinner.               I have

4        never been to his house for dinner and he has never been to my

5        house for dinner.      We have never gone out.         It is just -- with

6        us or a small group -- my relationship with him is solely as,

7        you know, a former law partner where there were firm events in

8        the office where I would see him and we had a friendly

9        relationship in that way.      So I don't think that is a basis to

10       strike him.    And certainly having a relationship with the Court

11       doesn't favor one side or the other in the case.

12                   So but if I do think that his work at the SEC is a

13       legitimate issue.      I just don't think there is -- all we know

14       at this point is he did do some cryptocurrency regulation, but

15       we haven't explored whether that would have any impact on his

16       ability to be fair and impartial.

17                   MR. EKELAND:    We agree with the Court, we bracket him

18       and see if we need to get back to it.

19                   THE COURT:    Okay.     That is fine.

20                   (End of bench conference.)

21                   THE COURT:    All right.     We have Juror 728.        And you

22       answered yes to four of my questions, including question 41,

23       which asks whether you, a close friend or family member have

24       ever worked for a government entity engaged in financial

25       regulation.
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1                    A JUROR:    Yes.   I have a friend -- a close friend who

2        works for the FDIC.

3                    THE COURT:    Would anything about that relationship

4        have any bearing in this case?

5                    A JUROR:    Not to my knowledge.

6                    THE COURT:    Do you know if your friend has anything

7        to do with allegations of money laundering or cryptocurrency?

8                    A JUROR:    Not to my knowledge.          She only just started

9        there.

10                   THE COURT:    Okay.     And then you answered yes to

11       question 40, which is the list of organizations, law

12       enforcement and defense organizations.           Can you tell us about

13       why you answered yes to that question?

14                   A JUROR:    Yes.   My brother works for the US Marshals.

15                   THE COURT:    Where is he based?

16                   A JUROR:    Atlanta, Georgia.

17                   THE COURT:    Do you know what he does there for the

18       Marshals?

19                   A JUROR:    Broadly, yes.      I know he works in like

20       arrests and drug related -- like guarding criminals and things

21       like that and was working in sex crimes at one point.

22                   THE COURT:    Would the fact that your brother works

23       for the Marshals Service make you inclined to favor one side or

24       the other in this case?

25                   A JUROR:    No, not to my knowledge.
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1                    THE COURT:    Would it make you more inclined to favor

2        or disfavor testimony from law enforcement?

3                    A JUROR:    No.

4                    THE COURT:    And then you answered yes to question 36

5        about whether you or a family member or friend have legal

6        training?

7                    A JUROR:    Yes.   My boyfriend went to law school and

8        currently works for the government, but not related to crimes

9        of -- to this area of law to my knowledge.

10                   THE COURT:    What does he do?

11                   A JUROR:    Works for the EPA.

12                   THE COURT:    Do you know what he does at the EPA?

13                   A JUROR:    Grants management, I think.

14                   THE COURT:    And then you indicated that -- yes to

15       question 5, which asks whether you have heard, seen or read

16       anything about Larry Harmon, Helix or Bitcoin mixing and

17       tumbling.

18                   A JUROR:    I meant to answer the question about

19       podcasts and publications on cryptocurrency.

20                   THE COURT:    Tell us about that.

21                   A JUROR:    I just follow some podcasts and

22       publications about cryptocurrency, but nothing very in-depth.

23                   THE COURT:    All right.

24                   A JUROR:    I did also answer yes to 45.           It is up --

25                   THE COURT:    I see that there.          I'm sorry.    I missed
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1        that because it was in a different portion.               Why don't you tell

2        us about that.

3                    A JUROR:    I am in the same boat as the person

4        earlier.    I work as a federal contractor.            My company provides

5        salary for up to 16 hours of jury service.

6                    THE COURT:    All right.     And so you wouldn't be paid

7        for a portion of your service?

8                    A JUROR:    That is right.      After two days, I would not

9        be paid.

10                   THE COURT:    Let me ask you how much of a financial

11       hardship would that be on you?         In some cases, missing pay for

12       a few weeks is -- people can't pay their rent and they are

13       really in trouble.      In other cases, they have other means and

14       it is less of an imposition.        So in your case, how much of an

15       imposition would that be?

16                   A JUROR:    I guess I would rather not cut into savings

17       for four weeks to pay my mortgage and things like that.                   So,

18       yeah, it would be a burden in that sense.

19                   THE COURT:    Okay.     All right.        Any follow up,

20       Mr. Ekeland?

21                   MR. EKELAND:    No, Your Honor.

22                   THE COURT:    Mr. Pearlman?

23                   MR. PEARLMAN:    Ma'am, can I ask you which specific

24       podcasts on cryptocurrency you listen to?

25                   A JUROR:    Yeah.   It is "The New York Times" podcast
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1        called Hard Fork.        It is not specifically about cryptocurrency.

2        It is more related to tech.           It is more related to news in

3        tech.

4                    MR. EKELAND:        Thank you.

5                    THE COURT:      Could I ask you to pick up the phone for

6        a second here.

7                    (Conference held at the bench.)

8                    THE COURT:      I didn't want to get into your finances

9        in detail on the public record here.              But can you give us a

10       better sense?        As I said before, you know, for some people it

11       is really a real hardship and I completely get that.                  Other

12       people, you know, it is a burden and it is part of your civic

13       duties.    It is one of the things where you wouldn't have to

14       want to dip into your savings account, but where it is not

15       going to have a material affect on your life.                And I guess that

16       is my question for you is -- if you can give us -- I am not

17       going to ask you how much money you have in your savings

18       account.    But sort of give us a gauging of is this, you know, a

19       substantial burden on you.            Is it the sort of thing where you

20       would rather not spend the money, but it is not going to affect

21       your life in any way?

22                   Push the button on here.

23                   A JUROR:      Oh.   Thanks.     I -- I mean, to take four

24       weeks of unpaid leave from my work, that would be losing a

25       month's salary.       I wouldn't have to default on my mortgage or,
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1        you know, turn to friends and family.           I do have savings.       But

2        it would be a financial hit.        So I guess if there is someone

3        like who is in a more precarious financial position, I would

4        want them to -- you know, want them to be taken care of first.

5        But it would be four weeks of unpaid leave.

6                    THE COURT:    Okay.     Any follow up from counsel on this

7        one?

8                    MR. PEARLMAN:    No, Your Honor.

9                    MR. EKELAND:    No, Your Honor.

10                   THE COURT:    All right.     Can I have you put the phone

11       down for a second.

12                   So with the consent of counsel, my inclination is to

13       push her to the bottom of the list.          I will do that only if you

14       agree.

15                   MR. PEARLMAN:    I agree, Your Honor.

16                   MR. EKELAND:    No objection from the defense, Your

17       Honor.

18                   THE COURT:    I am going to push her down the list and

19       we'll see.    Thank you.

20                   (End of bench conference.)

21                   THE COURT:    You can go back to your seat.

22                   THE COURTROOM DEPUTY:       Juror number 1635, please.

23                   THE COURT:    Thank you.     All right.      We have Juror

24       1635.    How are you?

25                   A JUROR:    Good.   How are you?
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1                    THE COURT:    Good.     And you also indicated that

2        serving on the jury could be an extreme hardship for you.

3                    A JUROR:    Yes.   I am actually having a surgical

4        procedure on February 29th.

5                    THE COURT:    I see.    What day of the week is that, do

6        you know?

7                    A JUROR:    It is a Thursday.

8                    THE COURT:    Okay.     It will require that you be out

9        for a while or is that just a one-day thing?

10                   A JUROR:    Well, the recovery would probably be like 3

11       to 5 days.

12                   THE COURT:    Okay.     Any objection?

13                   MR. PEARLMAN:      No objection.

14                   MR. EKELAND:    No objection.

15                   THE COURT:    All right.     I am going to let you go.

16       Thank you.

17                   THE COURTROOM DEPUTY:       Juror 0101, please.

18                   THE COURT:    Thank you.     All right.      We have Juror

19       101.   And you answered yes to four of my questions.              You

20       indicated that you, a family member or close friend work for a

21       government entity that is involved in financial regulation.

22                   A JUROR:    I did in the past.       I used to work for the

23       House of Representatives, two member of congress who were on

24       House Financial Services Committee.

25                   THE COURT:    What did you do for them?
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1                    A JUROR:    A mix of policy and communications work.

2                    THE COURT:    Did you do anything related to the

3        regulation of cryptocurrency?

4                    A JUROR:    Not directly, no.

5                    THE COURT:    And then you answered yes to 36 about

6        whether you, a family member or close friend have legal

7        training or have worked in a law office.

8                    A JUROR:    Quite a few friends, one who does big law

9        related to antitrust, one who does housing discrimination work

10       in Massachusetts and another does policy work.

11                   THE COURT:    Any of that have any bearing in this case

12       in your mind?

13                   A JUROR:    No, sir.

14                   THE COURT:    You answered yes to 29, which is whether

15       you have strong feelings or opinions about laws relating to

16       financial regulation or consumer protection.

17                   A JUROR:    I am currently employed in the financial

18       services industry.

19                   THE COURT:    What do you do?

20                   A JUROR:    I do communications for a large credit

21       bureau.

22                   THE COURT:    And would you be able to put aside

23       whatever feelings you have about the regulation of consumer

24       credit?

25                   A JUROR:    Yes.
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1                    THE COURT:    And you answered yes to question 27 about

2        whether you have strong feelings about whether the government

3        should regulate cryptocurrency?

4                    A JUROR:    Similarly, guardrails are good.          Rather

5        than that, nothing else.

6                    THE COURT:    Could you put that all aside and decide

7        this case based on the evidence?

8                    A JUROR:    I could.

9                    THE COURT:    Mr. Ekeland.

10                   MR. EKELAND:    Do you think the government should

11       regulate cryptocurrency?

12                   A JUROR:    Yes.

13                   THE COURT:    Mr. Pearlman.

14                   MR. PEARLMAN:      No, Your Honor.

15                   THE COURT:    All right.    You can go back to your seat.

16       Thanks.

17                   THE COURTROOM DEPUTY:      Juror number 2166, please.

18                   THE COURT:    Thank you.

19                   All right.    We have juror 2166.        And you answered yes

20       to one question, which is whether you, a family member or close

21       friend have legal training or have worked in a law office.

22                   A JUROR:    Yes, Your Honor.      I am an attorney in

23       private practice here in DC.        My wife is an attorney at the

24       Legal Aid Society.      And my father is a trial judge in Indiana.

25                   THE COURT:    What sort of law do you practice?
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1                    A JUROR:    Patent litigation, primarily in the life

2        sciences area.

3                    THE COURT:    And I think you said that your wife

4        works -- did you say for legal services?

5                    A JUROR:    Yes.   At Legal Aid.

6                    THE COURT:    What does she do?

7                    A JUROR:    She is a supervising attorney in the

8        housing unit, so landlord-tenant law.

9                    THE COURT:    All right.    Would anything about any of

10       that have any bearing on your mind as a juror in this case?

11                   A JUROR:    No, Your Honor.

12                   THE COURT:    Would you be able to put aside your own

13       legal training and follow the law as I instruct you on it?

14                   A JUROR:    Yes, Your Honor.

15                   THE COURT:    Any follow up, Mr. Pearlman?

16                   MR. PEARLMAN:      No, Your Honor.

17                   THE COURT:    Mr. Ekeland?

18                   MR. EKELAND:    No, Your Honor.

19                   THE COURT:    All right.    You can go back to your seat.

20       Thank you.

21                   THE COURTROOM DEPUTY:      Juror number 0435, please.

22                   THE COURT:    Thank you.    All right.      We have Juror

23       0435.    How are you today?

24                   A JUROR:    I am doing great.

25                   How are you, Your Honor?
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1                    THE COURT:    Thank you.    I am doing well.

2                    And you had no yes answers; right?

3                    A JUROR:    Yes.

4                    THE COURT:    Did you hear all of my questions okay?

5                    A JUROR:    Yes.

6                    THE COURT:    How long have you lived in DC?

7                    A JUROR:    Since 1974.

8                    THE COURT:    And have you ever been a juror?

9                    A JUROR:    Once.   The defendant had been --

10                   THE COURT:    In the Superior Court, was it --

11                   A JUROR:    Huh?

12                   THE COURT:    In the Superior Court?

13                   A JUROR:    Yes.

14                   THE COURT:    What sort of case was that.

15                   A JUROR:    The case was about robbing and stealing.

16       You know, but later we started -- they gave me an excuse but

17       then I got to go home, so I wasn't there when the case was

18       handled.

19                   THE COURT:    So you didn't serve on the jury in the

20       end?

21                   A JUROR:    No.

22                   THE COURT:    So you were there for jury selection like

23       this?

24                   A JUROR:    No.

25                   THE COURT:    Were you on the jury?
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1                    A JUROR:    Yeah.

2                    THE COURT:    But you did say you had to go home?

3                    A JUROR:    Yeah, by then, you know --

4                    THE COURT:    Can you explain?      I am not sure.         I am

5        not following.

6                    A JUROR:    What I am saying is that, they select me,

7        but by then I have an emergency to go home.

8                    THE COURT:    An emergency, I see.

9                    A JUROR:    Then I went home.      So this time when they

10       call me, I decided to come see how things going on.              Although

11       right now, actually I have a problem.

12                   THE COURT:    What is that?

13                   A JUROR:    They call me to schedule me since last year

14       to fix my teeth.      Every two weeks, I have to go.         I already pay

15       like $3,000.     In fact, I have the receipt here.          This coming

16       Thursday, I have to go to March.

17                   THE COURT:    Where do you go?

18                   A JUROR:    Georgia Avenue.     It is called Mary's

19       Center.    They are doing implant and partial.          So every

20       Thursday -- this coming Thursday the 15th I have to go.                Then,

21       two weeks, I have to go again until the end of March.

22                   THE COURT:    And do you know what time you have to go?

23       What time of day?

24                   A JUROR:    Thursday is 12:00.

25                   THE COURT:    Could you change your appointments to
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1        Fridays instead of Thursdays?

2                    A JUROR:     No.   Because of the doctor there deal with,

3        you know, my teeth.       I think she only working on Thursday.            And

4        if I miss this coming -- the 15th, it has to be in another two

5        weeks.    I go back until March.        I have to visit I think six

6        times if I am not mistaken.

7                    THE COURT:     Okay.     All right.

8                    Mr. Pearlman, any follow up on this?

9                    MR. PEARLMAN:      No, Your Honor.

10                   THE COURT:     Mr. Ekeland.

11                   MR. EKELAND:       No, Your Honor.

12                   THE COURT:     All right.     Let me ask you to pick up the

13       phone.

14                   (Conference held at the bench.)

15                   THE COURT:     Is there any request that I strike him?

16                   MR. PEARLMAN:      It sounds like he has medical

17       appointments, as I understand it, that is not going to make him

18       available to sit as a juror.

19                   THE COURT:     Mr. Ekeland.

20                   MR. EKELAND:       We don't object to that.

21                   THE COURT:     All right.     I am going to let him go

22       then.    Thank you.

23                   (End of bench conference.)

24                   THE COURT:     I am going to let you go then, because I

25       don't want you to miss your appointments to get your teeth
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1        fixed.

2                    A JUROR:    Okay.   So I am excused for --

3                    THE COURT:    You are excused for today.         You still

4        need to call in for tonight, but you are excused for today.

5        You still need to dial the number.

6                    A JUROR:    I need to call tonight?

7                    THE COURT:    There is a number they gave you --

8                    A JUROR:    Yes.

9                    THE COURT:    You need to dial that tonight.

10                   A JUROR:    How about Thursday, the appointment?

11                   THE COURT:    I think you will be okay with that.

12                   A JUROR:    Because the lady downstairs on fourth

13       floor, she told me to let you guys know she already get a call

14       before this coming Thursday.

15                   THE COURT:    Why don't you do this.        Why don't you go

16       to the jury office now.        And you can explain to them that I let

17       you go because of your teeth and your appointments.              And then

18       you can ask them whether you can be excused on Thursday as well

19       or whether you need to call in for that.

20                   A JUROR:    Okay.

21                   THE COURT:    I think you probably have to dial the

22       number.    You can tell them I excused you.          Okay?

23                   A JUROR:    Okay.   Your Honor, thank you.

24                   THE COURT:    Thank you.

25                   THE COURTROOM DEPUTY:      Juror number 0761, please.
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1                    THE COURT:      So I have got Juror 761.         And you

2        answered yes to the catch all.

3                    A JUROR:      Yeah.   Less of a hardship for me, more for

4        my wife.    We are without childcare for the next two weeks.                We

5        have a two-month old.        My wife is at home on maternity leave.

6        I also have a toddler, so sort of pulling double duty for the

7        next 2 weeks.        This being a long trial, I wanted to flag that.

8                    THE COURT:      I appreciate that.         Does she have any

9        assistance or care or can you get any additional assistance or

10       care?

11                   A JUROR:      No family nearby.      Our backup nanny is the

12       mother of our nanny and they have both gone away for a death in

13       the family.

14                   THE COURT:      All right.    And you answered yes to

15       question 37, about whether you or a family member or friend

16       have been arrested or charged with a crime.

17                   A JUROR:      I had a DUI when I was in college.

18                   THE COURT:      And then you answered yes to whether you

19       have strong feelings about cryptocurrency and whether the

20       government should regulate it.

21                   A JUROR:      Yeah.   I would say I am negatively

22       predisposed to cryptocurrency, just as a personal view.

23                   THE COURT:      Would that have any affect on your

24       ability -- obviously one can have views about whether congress

25       should pass laws in the future or not.            Would you feel as
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1        though you could apply the law as congress has passed it and

2        the law as I instruct you on it to the facts of this case,

3        whatever they are?

4                    A JUROR:    Sure.

5                    THE COURT:    And you said you also have strong

6        feelings about the use of cryptocurrency or the darknet.               Is

7        that the same answer?

8                    A JUROR:    Same answer, yeah.

9                    THE COURT:    And do you think that those views would

10       have any affect on your ability to be fair and impartial in

11       reviewing the evidence in this case?

12                   A JUROR:    I think I could be fair and impartial.           I

13       wanted to flag it as something that I have debated friends

14       with, talked about a lot, you know, I have looked into and kind

15       of view it in a certain negative way.

16                   THE COURT:    We want you to all be candid, so I

17       appreciate that.      That is all we are asking for.

18                   Mr. Pearlman, any follow-up questions?

19                   MR. PEARLMAN:    No follow up, Your Honor.

20                   THE COURT:    Mr. Ekeland.

21                   MR. EKELAND:    I think -- correct me if I am wrong.

22       You said you were negatively disposed to cryptocurrency for

23       personal reasons.      Can you elaborate on that?

24                   A JUROR:    Not personal as though I have had any

25       interaction with it.      I pay relatively close attention to the
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1        public policy through my work.         And I have just formed an

2        opinion having followed its development and growth.

3                    MR. EKELAND:      What is your opinion?

4                    A JUROR:    That it serves very little practical

5        purpose and is most likely used for -- or the reason it makes

6        the most sense to me is for criminal activity.

7                    MR. EKELAND:      So you associate cryptocurrency with

8        criminal activity?

9                    A JUROR:    Not entirely, but I don't see what value it

10       serves other than that.

11                   THE COURT:    Anything further, Mr. Ekeland?

12                   MR. EKELAND:      No.

13                   THE COURT:    All right.     So let me just follow up a

14       little bit more about this.         You talked about the value of it.

15       That, obviously, is a judgment that is different from anything

16       that is at issue in this case.         No one is going to be asked in

17       this to decide whether it is a good thing or a bad thing.

18                   A JUROR:    That is why I said I understand what the

19       role is here.

20                   THE COURT:    But would you assume that simply because

21       somebody was in cryptocurrency that it was likely they were

22       involved in criminal conduct?

23                   A JUROR:    No.   To be clear, no offense to anybody who

24       has invested -- I am not saying it is a scam for everybody.                   I

25       just don't really see the point of it.
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1                    THE COURT:      So is that a policy-level judgment rather

2        than sort of data driven -- not data driven -- an analytic

3        judgment about --

4                    A JUROR:      It is an analytic intellectual view of what

5        it is and what purpose it is supposed to serve.                 In addition to

6        that I think it needs to have guardrails and laws governing it

7        for a lot of reasons why I don't think it is a good thing.

8                    THE COURT:      Let me -- related to that.           When you talk

9        about the purposes that it serves, do you distinguish that in

10       your mind from how it is actually used?                In other words, have

11       you gone out -- and you are welcome to go out on the phone to

12       answer this privately.          But have you ever gone out and done any

13       study and said that X percent of the time is for legitimate

14       purpose and Y percent not?

15                   A JUROR:      No.   I think a lot of the stated purposes

16       for why it is supposed to exist are unnecessary.                 There are

17       already ways to do that.         And some of the decentralization

18       reasons that people argue as a benefit I actually see as

19       problematic for the criminal reasons I have mentioned.

20                   THE COURT:      I want to come back to the core question

21       here, which is, you know what is in your own head in a way that

22       I never will.        Are you confident that if you were chosen as a

23       juror, you could fairly and impartially decide this case based

24       on just the evidence presented and the law as I instruct you on

25       it without your personal views with respect to the purposes or
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1        value of cryptocurrency affecting it in any way?

2                    A JUROR:    I believe so.

3                    THE COURT:    All right.        Mr. Ekeland, anything

4        further?

5                    MR. EKELAND:    No, Your Honor.

6                    THE COURT:    Mr. Pearlman, anything further?

7                    MR. PEARLMAN:      No, Your Honor.

8                    THE COURT:    All right.        You can go back to your seat.

9        Thank you.

10                   THE COURTROOM DEPUTY:        Juror number 0926, please.

11                   THE COURT:    Thank you.        Hello.     How are you.

12                   A JUROR:    Hello.      Fine.

13                   THE COURT:    I have got Juror 926.           And you answered

14       yes to several of my questions, including both the catchall and

15       the extreme hardship question.

16                   A JUROR:    Yes.   The hardship I just -- the judicial

17       system stresses me out, so I feel like I have to take several

18       extra days for mental health.

19                   THE COURT:    Just being here today stresses you out?

20                   A JUROR:    Yes, it does.

21                   THE COURT:    Would serving as a juror stress you out?

22                   A JUROR:    Yes.   Full of anxiety.

23                   THE COURT:    So, it is obviously a heavy

24       responsibility being a juror.          But is it anything beyond that,

25       beyond the heavy responsibility that anyone or all of us would
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1        feel in being a juror?

2                    A JUROR:    I am not sure.      I have -- since childhood

3        it has been causing anxiety for me.

4                    THE COURT:    You are better able to judge this than we

5        can.   Do you feel as though you would be able to serve and

6        function as a juror or do you feel the anxiety would be too

7        much for you?

8                    A JUROR:    I feel like the anxiety would be too much

9        for me.

10                   MR. EKELAND:      No objection.

11                   MR. PEARLMAN:     No objection.

12                   THE COURT:    All right.     I am going to go ahead and

13       let you go.

14                   A JUROR:    Thank you.

15                   THE COURTROOM DEPUTY:       Juror number 0595, please.

16                   THE COURT:    Thank you.     We have Juror 595.        And you

17       also answered yes to several of my questions including the

18       hardship and catchall, so tell us about that.

19                   A JUROR:    I am going to be out of the country

20       March 6th and 17th.

21                   THE COURT:    And on pleasure, business?

22                   A JUROR:    For fun.

23                   THE COURT:    For fun.     And is there any flexibility at

24       all with respect to that trip?

25                   A JUROR:    No.
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1                    THE COURT:    Are tickets purchased?

2                    A JUROR:    Yeah, non-refundable.

3                    THE COURT:    Non-refundable.      Okay.

4                    All right.    And then you indicated that you live with

5        or have frequent contact with or are somebody who is at risk of

6        severe illness from COVID.

7                    A JUROR:    Myself.

8                    THE COURT:    I am happy to talk about it on the phone

9        if it is a medical issue or you are welcome to talk about it

10       publically.    It is up to you.

11                   A JUROR:    That is fine.

12                   THE COURT:    What is the basis for the severe illness?

13                   A JUROR:    Asthma, so I am immunocompromised.

14                   THE COURT:    I see.    Would serving on a jury concern

15       you in that regard?      So do you go out and about or are you

16       around people; do you try and stay away from people?

17                   A JUROR:    I always wear a mask.

18                   THE COURT:    If I said you are more than welcome to

19       wear a mask as a juror, would that address your concern?

20                   A JUROR:    No.   Because no one else would.

21                   THE COURT:    Do you go to restaurants for example

22       and --

23                   A JUROR:    Not in a long time.

24                   THE COURT:    Huh?

25                   A JUROR:    Not for a long time without a mask.
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1                    THE COURT:    I'm sorry.     Not for a long time --

2                    A JUROR:    With a mask.

3                    THE COURT:    With that mask.

4                    A JUROR:    Or outside.

5                    THE COURT:    What I am asking about is when you are

6        around other people who don't have masks in other settings?

7                    A JUROR:    Most of my friends are asked to wear masks

8        before they see me.

9                    THE COURT:    Parties.

10                   MR. PEARLMAN:      No objection.

11                   MR. EKELAND:    No objection, Your Honor.

12                   THE COURT:    I am going to let you go as well.

13                   A JUROR:    Okay.   Thank you.

14                   THE COURTROOM DEPUTY:       Juror number 0907, please.

15                   THE COURT:    All right.     907 and you answered yes to

16       six of my questions.      And you indicated that you might be more

17       or less likely to believe testimony from law enforcement

18       witnesses simply because they are from law enforcement.

19                   A JUROR:    Yes.

20                   THE COURT:    Tell us about that.

21                   A JUROR:    I would be less likely.

22                   THE COURT:    Less likely.      And would you evaluate --

23       would you if I instructed you to listen to the testimony of

24       every witness and decide whether you believe them or not and

25       base that decision solely on all of the evidence in the case
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1        and your perception of their credibility as they are

2        testifying?    Would you be able to follow that instruction?

3                    A JUROR:    I don't really know how to separate my

4        opinion of law enforcement from what they say in a courtroom.

5                    THE COURT:    Let me ask you to pick up the phone for a

6        second.

7                    (Conference held at the bench.)

8                    THE COURT:    So tell us about your opinion about law

9        enforcement.

10                   A JUROR:    I'm sorry.     Can you hear me?

11                   THE COURT:    Now I can hear you.

12                   A JUROR:    I guess I don't trust law enforcement to

13       tell the truth.      I think people are pretty selfish and corrupt.

14       And I think that comes out more than usual in the law

15       enforcement professions.

16                   THE COURT:    And do you -- is that your view with

17       respect to anyone who is involved in any type of law

18       enforcement of any type, so it is true of the cop on the beat?

19       It is true of the FBI analyst.         It is true of the person who

20       works at the Department of Homeland Security on cybercrime.                   It

21       doesn't matter where they are, all law enforcement?

22                   A JUROR:    I think some more than others.          But I think

23       the system is corrupt and so I can't really separate one from

24       the other.

25                   THE COURT:    What do you mean by the system being
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1        corrupt?

2                    A JUROR:    Hold on a second.      I think when you are

3        taught to see crime everywhere, then you see crime everywhere.

4        And I think when your whole job relies on using force to get

5        people to do what you want to do or not do what you want them

6        to do that changes the way that you look at everything.                And so

7        I don't think that lends itself towards finding truth or

8        justice.

9                    THE COURT:    All right.    So you know what is in your

10       head better than I do.        The question is, do you think in good

11       conscience you could sit as a juror in this case in which there

12       will be testimony from law enforcement?

13                   A JUROR:    No.

14                   THE COURT:    All right.    Mr. Ekeland, any follow up?

15                   MR. EKELAND:      No, Your Honor.

16                   THE COURT:    Mr. Pearlman.

17                   MR. PEARLMAN:     No objection.

18                   MR. EKELAND:      No follow up, Your Honor.

19                   THE COURT:    All right.    Thank you.

20                   (End of bench conference.)

21                   THE COURT:    I am going to go ahead and excuse you.

22                   THE COURTROOM DEPUTY:      Juror number 0312, please.

23                   THE COURT:    Thank you.    All right.      Juror 0312.     And

24       you answered yes to three of my questions.            You answered yes to

25       the question about whether you, a family member or close friend
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1        have worked for a government entity engaged in financial

2        regulation.

3                    A JUROR:    Yeah.    One of my good friends many years

4        ago used to work for CFPB.          She no longer does though.

5                    THE COURT:    Would that have any bearing on this case?

6                    A JUROR:    No.

7                    THE COURT:    You answered yes to question 35, about

8        whether you, family member or close friend have been the victim

9        of or witness to a crime.

10                   A JUROR:    I was.      I had -- it was very small.          I had

11       my phone stolen from me while waiting for the Metro.

12                   THE COURT:    I take it no role in this case?

13                   A JUROR:    No.

14                   THE COURT:    And then you answered yes to question --

15       let's see -- 36 about whether you, a family member or close

16       friend had legal training.

17                   A JUROR:    Yes.    Several friends are lawyers.             The one

18       that worked for CFBP.      And then another friend is no longer --

19       she is now working as a social worker.

20                   THE COURT:    What sort of law did she do?

21                   A JUROR:    Oh, gosh.      I don't know.

22                   THE COURT:    Anything about that have any bearing on

23       this case?

24                   A JUROR:    No.

25                   THE COURT:    Mr. Pearlman?
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1                    MR. PEARLMAN:    No questions, Your Honor.

2                    THE COURT:    Mr. Ekeland?

3                    MR. EKELAND:    No questions, Your Honor.

4                    THE COURT:    All right.     You can go back to your seat.

5        Thank you.

6                    THE COURTROOM DEPUTY:       Juror number 0131, please.

7                    THE COURT:    All right.     How are you?

8                    A JUROR:    Good.   How are you?

9                    THE COURT:    Good.     We have Juror 0131.       And you

10       answered yes to question 46.        And I think probably 45 as well

11       and indicated an extreme hardship.

12                   A JUROR:    Yeah.   I am also a contractor for the DOJ.

13       And I am the team lead of a group of librarians.              So I am kind

14       of responsible for administrative things like approving time

15       sheets.    I am not being paid for today or any kind of

16       subsequent jury service.        So I am worried about my own pay.

17       And also I review work for my team.          So there is no one to

18       really kind of do that role if I am out.

19                   THE COURT:    Remind me.     You work with the library

20       services?

21                   A JUROR:    I do, uh-huh.

22                   THE COURT:    What do you do?

23                   A JUROR:    So I do mostly expert witness work for

24       various USAO offices.      I have worked for DC before.           I think I

25       am working for Nevada right now.         But I do work for mostly for
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1        USAO, also legal research.

2                    THE COURT:    So doing legal research for the

3        Department of Justice?

4                    A JUROR:    Correct.

5                    THE COURT:    Have you ever done anything relating in

6        any way to cryptocurrency?

7                    A JUROR:    I have.

8                    THE COURT:    And you said you were a contractor; is

9        that right?

10                   A JUROR:    I am, uh-huh.

11                   THE COURT:    Have you ever worked at all with any of

12       the lawyers involved in this case?

13                   A JUROR:    Not here, but I have worked for other DC

14       USAOs.

15                   THE COURT:    Do you think that the fact that you have

16       worked with the Department of Justice or you currently work

17       with the Department of Justice would have any bearing on your

18       ability to treat both sides fairly?

19                   A JUROR:    I think I would be more inclined to lean

20       with whatever the government's case is.              Just because of other

21       kind of criminal proceedings I have seen in the crypto space.

22       Yeah.

23                   THE COURT:    All right.    Let me ask -- you don't need

24       to pick up yet.      Let me just ask counsel to pick up.

25                   (Conference held at the bench.)
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1                    MR. EKELAND:    I think defense's position is obvious.

2        We think she should be struck for cause because she just stated

3        that she can't impartially be a juror on this case because of

4        her relationship with the Department of Justice.

5                    THE COURT:    So I don't disagree.           My only comment is

6        my antennae have gotten pretty good after doing this.                 And I

7        suspect that she is trying to get out of jury duty and she

8        knows that is what you say to get out.             So my inclination is

9        absent objection from the parties is to strike her for cause,

10       but to send her back to her seat and not tell her right now

11       that I am striking her for cause.

12                   MR. EKELAND:    We don't object to that, Your Honor.

13                   THE COURT:    Mr. Pearlman.

14                   MR. PEARLMAN:      I guess, I would inquire of her

15       whether she knows certain individuals associated with the DOJ

16       library department before you do that.

17                   THE COURT:    That is fine.        We can -- I can ask her to

18       pick up.    You can do that if you like.

19                   MR. PEARLMAN:      Okay.

20                   THE COURT:    Can you pick up the phone?

21                   So you push this button and hold down to speak.

22                   Go ahead.

23                   MR. PEARLMAN:      Ma'am, do you work in the same DOJ

24       library group as Katie Zeigler?

25                   A JUROR:    Yes.
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1                    MR. PEARLMAN:      So you know Katie Zeigler?

2                    A JUROR:    I do.

3                    MR. PEARLMAN:      Do you review as a part of your work

4        as a librarian for DOJ, do you review expert witness reports?

5                    A JUROR:    Yes.

6                    MR. PEARLMAN:      For the criminal division?

7                    A JUROR:    My team of librarians will sometimes work

8        for crim.    I have worked for crim.          Yes.      It is all expert

9        witness work for different divisions.

10                   MR. PEARLMAN:      Okay.     I don't have any other

11       questions, Your Honor.

12                   THE COURT:    You can put it down.

13                   It sounds like this may be a more legitimate strike

14       than I thought it was.

15                   MR. PEARLMAN:      Your Honor, it is my understanding

16       that Katie Zeigler has worked on this case, which is why we

17       asked the question.

18                   THE COURT:    I am going to strike her for cause.               I

19       think I will go ahead and let her go now too as well.                  Thank

20       you.

21                   (End of bench conference.)

22                   THE COURT:    I am going to go ahead and excuse you.

23                   A JUROR:    All right.       Thank you.

24                   THE COURTROOM DEPUTY:         Juror number 0557, please.

25                   THE COURT:    All right.       I have got Juror 557.           How
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1        are you?

2                    A JUROR:     How are you doing?

3                    THE COURT:     Good.     Thanks.    And you answered yes to

4        one of my questions, which was question 35 about whether you, a

5        family member or friend had been the victim of or a witness to

6        a crime?

7                    A JUROR:     Witness to, victim, either one.

8                    THE COURT:     Tell us about that.

9                    A JUROR:     So I work at T-Mobile.         And unfortunately

10       we got robbed.       And came into the store at gunpoint.           I was the

11       person in the store and he directed me to the back.                So I had

12       to give them what they asked for and that is practically it.

13                   THE COURT:     I'm sorry you went through that.              Would

14       that have any bearing on this case in your mind?

15                   A JUROR:     No.

16                   THE COURT:     And I don't think you had a yes answer to

17       any of my other questions; right?

18                   A JUROR:     No.

19                   THE COURT:     Anything else that we ought to know about

20       you, whether you can be fair and impartial here?

21                   A JUROR:     No.

22                   THE COURT:     All right.     Mr. Ekeland, any follow up

23       questions?

24                   MR. EKELAND:       No questions, Your Honor.

25                   THE COURT:     Mr. Pearlman?
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1                    MR. PEARLMAN:      I want to be clear, ma'am, you can be

2        fair and impartial.

3                    A JUROR:    Yes.   I thought he said something else.

4        I'm sorry.    I can.

5                    THE COURT:    I understood you.          All right.    You can go

6        back to your seat.

7                    THE COURTROOM DEPUTY:      Juror number 0855, please.

8                    THE COURT:    Thank you.

9                    All right.    We have Juror 855.         And you answered yes

10       to the question about my catchall question.

11                   A JUROR:    Yes, Your Honor.      Apologies.       I missed

12       which number it was for the being out of town.              My wife had

13       just scheduled a trip to Arizona.         I think I can cancel it,

14       because I think it was booked on points.             But I just wanted to

15       make that --

16                   THE COURT:    That is generous of you.          I appreciate

17       it.   I am glad you told us about it.         And it is generous of you

18       to offer to cancel it, so thank you.

19                   And then you answered yes to question 36 about

20       whether you, a family member or close friend have legal

21       training or have worked in a law office.

22                   A JUROR:    Yes.   My wife works in a legal office in

23       town.    She is not actually a lawyer.        She works in the event

24       planning space, but we run with a lot of -- a circle of friends

25       that are lawyers.
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1                    THE COURT:    And is it one of the large firms in town

2        here?

3                    A JUROR:    Yes, Your Honor.

4                    THE COURT:    Do you know what types of practices that

5        firm has?

6                    A JUROR:    It is a lot of corporate litigation,

7        corporate defense.      It is -- it has kind of tendrils in

8        everything.

9                    THE COURT:    Would anything about her work or the

10       people you have gotten to know through her work have any

11       bearing in this case?

12                   A JUROR:    No, Your Honor.

13                   THE COURT:    You answered yes to question 21, which is

14       whether you are a computer professional by education, training

15       or experience.

16                   A JUROR:    I work at a software company.         I am

17       technically on the sales team, but my division works very, very

18       closely with engineering.      And so I offer tech support,

19       essentially, for a lot of our clients.

20                   THE COURT:    Do you write any computer code?

21                   A JUROR:    Not directly.     Sometimes I will

22       troubleshoot and review code.        Like if you asked me if I could

23       build software from scratch, probably not.

24                   THE COURT:    And if there is testimony in this case

25       about computer software, computer programs would you be able to
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1        base your decision just based on testimony you hear in the

2        courtroom and not on your independent knowledge of software?

3                    A JUROR:    Yes, Your Honor.

4                    THE COURT:    All right.     Mr. Pearlman?

5                    MR. PEARLMAN:      No questions.

6                    THE COURT:    Mr. Ekeland?

7                    MR. EKELAND:    No questions, Your Honor.

8                    THE COURT:    All right.     You can go back to your seat.

9        Thank you.

10                   THE COURTROOM DEPUTY:       Juror number 0748, please.

11                   THE COURT:    Thank you.

12                   All right.    I have got juror 748.         How are you?

13                   A JUROR:    I am good.

14                   THE COURT:    You answered yes to my catch-all.

15                   A JUROR:    Yes.

16                   THE COURT:    Tell us.

17                   A JUROR:    So it is a catchall question.          And I just

18       want to express my strong desire to not be part of this in any

19       capacity.

20                   THE COURT:    All right.     Let me ask you to pick up the

21       phone.

22                   (Conference held at the bench.)

23                   THE COURT:    You can explain to us.

24                   A JUROR:    Press the button.       Can you hear me now?

25                   THE COURT:    Yes, I can.
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1                    A JUROR:    So I think I am kind of close to this.            So

2        about a month ago, I resigned as an appointed party of Mayor

3        Bowser's administration.      And it was a copious amount of time

4        in public service.      And I specifically have an affinity towards

5        MPD, law enforcement, DISB, anything associated with that.

6                    Additionally, I currently serve in the philanthropic

7        space specifically with Jeff Bezos and Lauren Sanchez and I

8        have a copious amount of travel coming up with work.

9                    THE COURT:    Okay.     What did you do for the Mayor?

10                   A JUROR:    I was her digital director.

11                   THE COURT:    Digital director, so you worked with

12       computer-related issues?

13                   A JUROR:    Computer-related issues, but more

14       specifically her communications in the digital space.

15                   THE COURT:    I see.    So like her media presence

16       herself or digital presence herself?

17                   A JUROR:    Correct.

18                   THE COURT:    What do you do now?

19                   A JUROR:    I currently serve at the Bezos Earth Fund.

20       So it is a philanthropic organization, just philanthropic

21       organization and I do global digital strategy for him.

22                   THE COURT:    All right.     So similar sort of work for

23       Mr. Bezos?

24                   A JUROR:    Correct.

25                   THE COURT:    Is that -- the fund, is that administered
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1        through some other organization or is it just directly through

2        a Bezos foundation?

3                    A JUROR:    It is his personal money, so through the

4        Bezos foundation.

5                    THE COURT:    And you indicated that you feel as though

6        you have an affinity towards law enforcement; is that fair?

7                    A JUROR:    Correct.

8                    THE COURT:    What is that based on?

9                    A JUROR:    My experience with them.        So working under

10       the Mayor, I worked very closely with them, with DISB.

11                   THE COURT:    What is DISB?

12                   A JUROR:    It is our security and exchange commission.

13       It is an acronym.      So DC's Department of Insurance, Securities

14       Business.

15                   THE COURT:    What did you do with them?

16                   A JUROR:    So pretty much I helped them with their

17       digital strategy as well.      So all of the 80 mayoral agencies, I

18       was essentially the point of contact for how they disseminate

19       information digitally and essentially do like any of the

20       digital communications and marketing.

21                   THE COURT:    I see.    And were you involved in any way

22       with the regulatory work that it performed?

23                   A JUROR:    No, not in any capacity.

24                   THE COURT:    And here, I don't think there is going to

25       be any DC law enforcement; correct?
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1                    MR. PEARLMAN:      That is correct.

2                    THE COURT:    So this is all -- any law enforcement who

3        will be testifying in the case will be federal law enforcement.

4        Do you feel as though you could follow my instruction to judge

5        the credibility or lack of credibility of that testimony based

6        only on what you hear in the courtroom?

7                    A JUROR:    Yes.

8                    THE COURT:    And you said you have travel coming up,

9        so tell us about that.

10                   A JUROR:    Yeah.   So essentially the Earth Fund, it is

11       a climate change organization, but has a footprint globally.                 I

12       wouldn't say like my schedule varies.          It is not that it is

13       super sporadic and crazy.       I know I have a trip to Vancouver at

14       the end of February.      I know I have a trip to South Africa in

15       March.    And honestly, if Jeff or Lauren need us for something,

16       you kind of have to just hop on a plane.

17                   THE COURT:    When is the trip to South Africa?

18                   A JUROR:    It is not that I don't know.         I want to say

19       it starts the end of March.

20                   THE COURT:    All right.    All right.      Mr. Ekeland, any

21       follow up?

22                   MR. EKELAND:    Would it be fair to say that you are

23       pro law enforcement?

24                   A JUROR:    Yes.

25                   MR. EKELAND:    Would you trust a law enforcement
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1        officer more than a criminal defendant?

2                    A JUROR:    I don't know if I will say per se.             I think

3        that is contingent on the nuances of the situation.

4                    MR. EKELAND:    But you might?

5                    A JUROR:    No, I wouldn't say I might.         I would say it

6        is contingent on the nuances of the situation.

7                    MR. EKELAND:    So you could sit in this trial and

8        listen to the testimony impartially and not make a judgment

9        based on whether or not someone is a law enforcement officer?

10                   A JUROR:    Correct.    So a badge does not indicate that

11       you are telling the truth.

12                   MR. EKELAND:    So you would be willing to apply your

13       critical faculties to anything that a law enforcement officer

14       testifies to in this trial?

15                   A JUROR:    I am not understanding that question.

16                   MR. EKELAND:    Fair enough.      You wouldn't just trust a

17       law enforcement officer because they are a law enforcement

18       officer; correct?

19                   A JUROR:    Correct.

20                   MR. EKELAND:    I don't have any further questions,

21       Your Honor.

22                   THE COURT:    Mr. Pearlman.

23                   MR. PEARLMAN:    I don't have any further questions,

24       Your Honor.    Can we stay on the line for one moment?

25                   THE COURT:    Yeah.
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1                    MR. PEARLMAN:      Just so Your Honor is aware, I think

2        you already know this, but there is a certificate from DISB

3        that we are going to seek to admit indicating the defendant was

4        not registered with that agency.

5                    THE COURT:    Yeah.     That doesn't strike me -- I

6        appreciate your bringing that to my -- that doesn't strike me

7        as an issue here.      So I think we are okay.         All right.       Thank

8        you.

9                    (End of bench conference.)

10                   THE COURTROOM DEPUTY:       Juror number 2075, please.

11                   THE COURT:    Thank you.     All right.      We have juror

12       075.   And you indicated that serving as a juror in this case

13       could be an extreme hardship.

14                   A JUROR:    Yes.

15                   THE COURT:    Tell us about that.

16                   A JUROR:    So I work in news as a radio producer.             And

17       there are a few special events coming up in the next month that

18       I am typically required to travel for Super Tuesday, State of

19       the Union, primary elections.

20                   THE COURT:    So when is Super Tuesday?          It is the

21       first Tuesday in March?

22                   A JUROR:    March 5th, I think, yeah.

23                   THE COURT:    You would ordinarily be covering Super

24       Tuesday?

25                   A JUROR:    Yeah.
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1                    THE COURT:    That is one of the core responsibilities

2        in your job?

3                    A JUROR:    Yeah.

4                    THE COURT:    All right.    Mr. Pearlman?

5                    MR. PEARLMAN:     No objection.

6                    MR. EKELAND:      No objection.

7                    THE COURT:    All right.    I am going to let you go.

8        Thank you.

9                    THE COURTROOM DEPUTY:      Juror number 0654.

10                   THE COURT:    Thank you.    All right.      I have Juror

11       0654.    And you answered yes to question 40 about those various

12       law enforcement organizations.        And you wrote IMF, so tell us

13       about that.

14                   A JUROR:    I have cousin that worked for IMF.             I don't

15       know if that counts and a cousin that previously worked for DC

16       police.

17                   THE COURT:    Would any of that have any bearing in

18       your mind on --

19                   A JUROR:    No.

20                   THE COURT:    Thank you.    And then you answer yes to

21       question 37 about you, family member or friend had been

22       arrested or detained?

23                   A JUROR:    Yeah.   My sibling.

24                   THE COURT:    How long ago was that?

25                   A JUROR:    A few years ago.
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1                    THE COURT:      Would it have any bearing on this case in

2        any way?

3                    A JUROR:      No.

4                    THE COURT:      And then you answered yes to 35 about

5        whether you have been a victim or a witness to a crime.

6                    A JUROR:      Yeah.   I am from DC, so --

7                    THE COURT:      Tell us.     Anything recent?

8                    A JUROR:      No.

9                    THE COURT:      Are you talking mostly about street

10       crime?

11                   A JUROR:      Yeah.   Like witness a friend getting

12       stabbed, somebody getting shot, that is kind of normal for DC

13       residents unfortunately.

14                   THE COURT:      That is very unfortunate.          I'm very sorry

15       to hear that.        Would that have any bearing in your mind on this

16       case?

17                   A JUROR:      No.

18                   THE COURT:      You answered yes to question 34 about

19       whether you had been a witness in a court case or a party to a

20       court case.

21                   A JUROR:      Yeah.   When I was teenager.

22                   THE COURT:      Any bearing on this case at all?

23                   A JUROR:      No.

24                   THE COURT:      Mr. Pearlman, any follow up?

25                   MR. PEARLMAN:       What kind of work do you do, ma'am?
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1                    A JUROR:    I work with autistic children.

2                    MR. PEARLMAN:    Anything about your work with them and

3        scheduling that would interfere with your ability to be here?

4                    A JUROR:    Somewhat.     Because I work around 5:00 and

5        sometimes we get off at 5:00.

6                    THE COURT:    Yeah.     4:30 or 5:00.      So you would need

7        to be somewhere -- like you work with kids after school, is

8        that what it is?

9                    A JUROR:    It is individual.       It depends.     Like it is

10       therapy in the home.      And they are in Maryland and I am in DC.

11                   THE COURT:    Some of the appointments are at

12       5:00 p.m.?

13                   A JUROR:    Yeah.

14                   THE COURT:    How far away is that?

15                   A JUROR:    Silver Spring, Maryland.

16                   THE COURT:    Is there any flexibility that you could

17       arrange it so you did it a little bit later?

18                   A JUROR:    Yeah.   Yeah.

19                   THE COURT:    All right.     Any further questions,

20       Mr. Pearlman?

21                   MR. PEARLMAN:    No, Your Honor.

22                   THE COURT:    Mr. Ekeland?

23                   MR. EKELAND:    No, Your Honor.

24                   THE COURT:    All right.     You can go back to your seat.

25       Thanks.
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1                    THE COURTROOM DEPUTY:       Juror number 0311, please.

2                    THE COURT:    Thank you.

3                    I have Juror 3011.      And you answered yes to two

4        questions including question 45, which was about the extreme

5        hardship question.

6                    A JUROR:    Yes.   I have underage children.          So school,

7        lets out at 3:30.      So with the time frame that you all have, I

8        wouldn't be there in time to pick up my little ones.

9                    THE COURT:    How old are they?

10                   A JUROR:    Ten, 4 and 5.

11                   THE COURT:    Oh, wow.     Okay.    Is there anyone else who

12       could help with that?

13                   A JUROR:    No.    My grown children, their work

14       schedules is schools because they teach in the schools.                 And

15       then the other one is in the fire department so his schedule is

16       all of that.

17                   THE COURT:    You don't have any other care or help?

18                   A JUROR:    No.    It is just me.

19                   THE COURT:    Mr. Ekeland?

20                   MR. EKELAND:      No objection.

21                   THE COURT:    Mr. Pearlman?

22                   MR. PEARLMAN:      No objection.

23                   THE COURT:    I am going to let you go.          Thank you.

24                   A JUROR:    Thank you.

25                   THE COURTROOM DEPUTY:       Juror number 0444, please.
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1                    THE COURT:    Thank you.     We have juror 444.        How are

2        you today?

3                    A JUROR:    Hi.    How are you?

4                    THE COURT:    I am well.     Thanks.

5                    A JUROR:    Good.

6                    THE COURT:    And no yes answers?

7                    A JUROR:    No yesses.

8                    THE COURT:    Did you hear all of my questions?

9                    A JUROR:    Yes, I did.

10                   THE COURT:    How long have you lived in DC?

11                   A JUROR:    Since the year after I was born '65, '64.

12                   THE COURT:    And what do you do?

13                   A JUROR:    I work for Verizon Communications.

14                   THE COURT:    Okay.     And ever been a juror before?

15                   A JUROR:    No.

16                   THE COURT:    Ever been called for jury duty?

17                   A JUROR:    Yes.

18                   THE COURT:    All right.     Mr. Ekeland, any follow up?

19                   MR. EKELAND:      No questions, Your Honor.

20                   THE COURT:    Mr. Pearlman?

21                   MR. PEARLMAN:      No questions, Your Honor.

22                   THE COURT:    All right.     Thank you.

23                   THE COURTROOM DEPUTY:       Juror number 1292, please.

24                   1292?

25                   (Conference held at the bench.)
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1                    THE COURT:    Can I ask you to pick up the phone?

2                    A JUROR:    Okay.    Hello.

3                    THE COURT:    Yes.      We have Juror 1292.         And she

4        indicated that she wanted to talk on the phone.                 And she

5        indicated in response to question 16 and she wrote this out.

6        "I would have a problem making anyone guilty because I don't

7        believe in the justice system.          My son is in prison for 75

8        years.    I would not be a fair juror."

9                    A JUROR:    Yeah.

10                   THE COURT:    And then she also said that she doesn't

11       believe in police officers and lawyers.

12                   A JUROR:    Yeah.    Because -- I don't, because he was

13       falsely accused and he is still in jail.

14                   THE COURT:    He was treated unfairly?

15                   A JUROR:    Yes.

16                   THE COURT:    Was it in DC that he was prosecuted?

17                   A JUROR:    It was in Maryland, but he lived in DC.

18                   THE COURT:    And you are the person who only knows how

19       you feel.    And both the government and the defense are entitled

20       to an entirely fair and impartial jury.                Do you think that you

21       could put aside your feelings and be fair and impartial in this

22       case?

23                   A JUROR:    No.

24                   THE COURT:    All right.      Anything further from the

25       parties?
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1                    MR. EKELAND:    No, Your Honor.

2                    MR. PEARLMAN:    No, Your Honor.

3                    THE COURT:    All right.     Thank you.

4                    All right.    I am going to go ahead and dismiss you.

5        Thank you.

6                    A JUROR:    Thank you.

7                    THE COURTROOM DEPUTY:       Juror 0564, please.

8                    THE COURT:    Thank you.     How are you today?

9                    A JUROR:    Wonderful.     How are you?

10                   THE COURT:    Fine.     Thanks.    I have Juror 564.        And

11       you answered yes to four of my questions.             Let's start with the

12       catch-all.

13                   A JUROR:    Okay.   Next week, I will be responsible for

14       taking my granddaughter to school.          My daughter, who is

15       working, travels next week.         And depending on what time I am

16       due here, I may have a conflict.         She is due to school at 7:45.

17                   THE COURT:    What part of the city is she in?

18                   A JUROR:    She is in Georgetown.

19                   THE COURT:    I don't think we will probably start

20       before 9:00 in the morning, so you should be okay.

21                   A JUROR:    Then I should be able to make it.

22                   THE COURT:    I appreciate your letting us know about

23       that.    That is, I'm sure, going to be a pleasant experience for

24       you.

25                   And then you answered yes to question 37, about
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1        whether you or a family member have been arrested or charged

2        with a crime or just detained.

3                    A JUROR:    Relatives.

4                    THE COURT:    Anything that has any relation to this

5        case?

6                    A JUROR:    No.

7                    THE COURT:    And then you answered yes to question 36

8        about whether you or a family member have legal training.

9                    A JUROR:    My sister is a lawyer in Oakland,

10       California drug court.

11                   THE COURT:    In drug court.       Is she a defense lawyer

12       or prosecutor?

13                   A JUROR:    No.

14                   THE COURT:    What does she do?

15                   A JUROR:    Well, she is working probably more like in

16       policy.    She is not a practicing attorney.

17                   THE COURT:    Is she trying to help people deal with

18       their drug problems?

19                   A JUROR:    Yes.

20                   THE COURT:    I see.    Okay.    And you indicated that you

21       have been a juror before?

22                   A JUROR:    On a grand jury in the District.

23                   THE COURT:    And you understand that an indictment is

24       not evidence of any wrongdoing, it is just how a case gets

25       started?
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1                    A JUROR:    I understand.

2                    THE COURT:    Anything else we ought to know about you?

3                    A JUROR:    No.

4                    THE COURT:    Mr. Ekeland, any follow up?

5                    MR. EKELAND:      No, Your Honor.

6                    THE COURT:    Mr. Pearlman?

7                    MR. PEARLMAN:     No, Your Honor.

8                    THE COURT:    All right.    Thank you.

9                    Can I ask counsel to pick up for a moment.

10                   (Conference held at the bench.)

11                   THE COURT:    So I think if -- you can correct my math.

12       I think we have to qualify 36 prospective jurors, 12 regular

13       jurors, 4 alternates, 10 regular strikes for the government --

14       I mean, for the defense, 6 regular strikes for the government

15       and then 4 strikes for alternates, which I think adds up to 36.

16       And check my math.      I usually like to qualify a couple more,

17       just in case somebody wanders off.         But maybe the goal should

18       be to try and qualify 38.       And I am told by my clerk that even

19       if we don't include the people where I have question marks that

20       we are -- we have enough at this point.

21                   But I am happy -- so let me tell you where my

22       question marks are:      Juror 624 and Juror 2065 both expressed

23       hardships, Juror 0359 who works for AID expressed a hardship,

24       Juror 1819 in computer sales and expressed concern.              And then

25       Juror 0728.    And then I also indicated that I would bring back
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1        Juror 1568 for Mr. Ekeland to ask further questions with

2        respect to whether his work at the SEC poses any risk of bias.

3                    Does everyone agree with all of that?

4                    MR. PEARLMAN:      Your Honor, I would qualify a couple

5        more jurors, because I think if you get rid of all of the

6        people that you just indicated, you are at 36.              And then you

7        are potentially at 35 defending on what the Wilmer Hale lawyer

8        says.

9                    THE COURT:     I am happy to do that.         That is different

10       from our math on it.       But we will have to compare notes when we

11       are done here.       So I am happy to do a few more.          Okay.      So

12       we'll keep going.

13                   (End of bench conference.)

14                   THE COURTROOM DEPUTY:        Juror 1186, please.

15                   THE COURT:     Thank you.     All right.      I have juror

16       1186.    How are you today?

17                   A JUROR:     I am okay.

18                   THE COURT:     And you answered yes to two of my

19       questions.    37, which was whether you, a family member or close

20       friend have been detained by the police or arrested?

21                   A JUROR:     Yeah.   I have been arrested before.

22                   THE COURT:     Anything that has anything to do with the

23       allegation -- types of allegations at issue in this case?

24                   A JUROR:     No.   But I think it would kind of relate to

25       being as though, you know, I have fought for my freedom
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1        numerous times.      So I feel anxiety just coming here today.            My

2        mother had to pray me to come here so I am --

3                    THE COURT:    Were you convicted of a crime or not

4        convicted?

5                    A JUROR:    No, I wasn't convicted.         But I pretty much

6        had to sit and wait in jail until my court date.              So that was

7        something to kind of like play a big part in my mental health.

8        It kind of deteriorated so --

9                    THE COURT:    All right.     And then you answered yes to

10       34 as about whether you have been a witness or party in a case.

11                   A JUROR:    I meant, to put just 37.         That is --

12                   THE COURT:    Okay.     I want to ask you a couple of

13       follow-up questions.      If you could pick up the phone.

14                   (Conference held at the bench.)

15                   THE COURT:    Yeah.     So what sort of case was it?

16                   A JUROR:    Just criminal, drugs.

17                   THE COURT:    You were charge with a drug crime?

18                   A JUROR:    Yes.

19                   THE COURT:    What were you charged with?

20                   A JUROR:    Possession, distribution.

21                   THE COURT:    It was in this court or Superior Court?

22                   A JUROR:    It has been numerous courts.

23                   THE COURT:    Tell us about that.         You were charged at

24       the same time in numerous courts or this happened numerous

25       times?
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1                    A JUROR:    Numerous times, different counties.

2                    THE COURT:    Have you ever been convicted of a crime?

3                    A JUROR:    No.   I have pled guilty to just possession.

4                    THE COURT:    And do you know if you pled guilty to a

5        misdemeanor or a felony?

6                    A JUROR:    It was a misdemeanor.

7                    THE COURT:    Okay.     So am I correct that you don't

8        have either by pleading guilty or by a jury ever any conviction

9        for any felony?

10                   A JUROR:    No.

11                   THE COURT:    You don't?

12                   A JUROR:    No.

13                   THE COURT:    All right.     And so tell us a little bit

14       more about your feeling and your anxiety and having fought for

15       your own freedom.

16                   A JUROR:    Well, just recently I was an outpatient for

17       the DC Department of Mental Health and Behavior.              And, you

18       know, they helped me get a residence and everything.               So like I

19       say, I was nervous just coming here.           Just because, like I say,

20       I had to go to numerous court dates.           So just the coming to

21       someone else court dates, and we holding court and I am hearing

22       other people testimony that don't got nothing to do with me, it

23       is -- you know, like I am sitting on the witness stand.                 You

24       know, this is kind of a lot for me.

25                   THE COURT:    How long were you held pretrial in any of
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1        your cases?

2                    A JUROR:    Sometimes it has just been like three, four

3        months, but it was just like the whole point of me being locked

4        up just waiting for a court date and I am being released

5        because I was not found guilty or anything, so I just pretty

6        much had to wait to go to court.

7                    THE COURT:    Do you think the anxiety would interfere

8        with your ability to be a fair and impartial juror?

9                    A JUROR:    To be honest, yeah.          Because I would most

10       likely sympathize with the defense.

11                   THE COURT:    Would you sympathize with them if you

12       thought the evidence proved beyond a reasonable doubt that he

13       was guilty of what he was charged with?

14                   A JUROR:    I mean, kind of.      Because like I said, I

15       have been charged with, you know, like marijuana charges.                 And

16       it is pretty much now marijuana is kind of legal, because it is

17       being -- what would you say, regulated by the government, which

18       they kind of -- I guess you could say with crypto, they trying

19       to regulate it.      I feel like this is a government thing.             I

20       don't want to necessarily have any part of being a judge of

21       somebody else character.

22                   THE COURT:    All right.    Mr. Pearlman, any follow up?

23                   MR. PEARLMAN:    Not based on this record, Your Honor.

24                   THE COURT:    Mr. Ekeland.

25                   MR. EKELAND:    No, Your Honor.
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1                    THE COURT:      Okay.     Thank you.

2                    MR. PEARLMAN:       Move to strike, Your Honor.

3                    THE COURT:      Mr. Ekeland.

4                    MR. EKELAND:        We object.

5                    THE COURT:      All right.     I am going to strike him for

6        cause.

7                    Mr. Pearlman, I am going to let him go back to his

8        seat, because I don't want to make too much out of this.                  I am

9        going to let him go back, but I am going to strike him for

10       cause

11                   (End of bench conference.)

12                   THE COURTROOM DEPUTY:         Juror number 1973, please.

13                   THE COURT:      Thank you.     All right.      You can go back

14       to your seat.        Thank you.

15                   I have juror 1793.        And you answered yes as well to

16       the extreme hardship question.           So tell us about that.

17                   A JUROR:      Yeah.   I work a fair amount of jobs

18       throughout DC.       And all of them are part time, so I wouldn't

19       get any paid time off or anything else for being here.

20                   THE COURT:      What do you do?

21                   A JUROR:      I work at an after-school program for

22       Capitol Language Services and then I also work at theaters.

23                   THE COURT:      What time of day is that?          I mean is that

24       something you can do in the evening or is it during the day?

25                   A JUROR:      No.   It is after school, so it happens from
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1        about 3:00 in the afternoon until about 6:00.

2                    THE COURT:     I see.    And how much of a financial

3        hardship would that be to you?

4                    A JUROR:     I did the math earlier.         I would lose about

5        $1,000 this month.

6                    THE COURT:     I guess, how would that affect your

7        ability to live and your financial circumstances?               For some

8        people, that is a huge amount of money and for other people it

9        is not.    So in some sense --

10                   A JUROR:     I am someone who is building a life in

11       theater.    None of us have a savings account.

12                   THE COURT:     Fair enough.      I think you have answered

13       that question.       All right.

14                   MR. PEARLMAN:     No objection.

15                   MR. EKELAND:     No objection.

16                   THE COURT:     I am going to go ahead and let you go.

17                   A JUROR:     Thank you.

18                   THE COURTROOM DEPUTY:        Juror number 1707, please.

19                   THE COURT:     Thank you.     All right.      I got juror 1707.

20       And you answered yes to the catch-all.

21                   A JUROR:     Yeah.    For my work, I have a project

22       deadline that is due at the end of this month.              And my team has

23       been dwindling slowly.       I am kind of the last man standing to

24       get it across the finish line.          So I could work the evenings,

25       if necessary, but it would be easier to do it during the
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1        working hours.

2                    THE COURT:    Don't I know it?       Believe me, I have got

3        a stack of work myself.

4                    What do you do?

5                    A JUROR:    I am a software engineer.

6                    THE COURT:    And although it may be somewhat of a

7        strain on you, assuming we don't sit all day, every day on

8        Friday and -- at least all days on Fridays and, you know, you

9        will have the weekends and evening, do you think you could

10       manage?

11                   A JUROR:    Yes, most likely.       I have a two-year-old at

12       home as well, so that is usually when we spend time with her,

13       so it is going to be -- and my wife is also pregnant, so it

14       will be time constricting, but doable I think.

15                   THE COURT:    I appreciate that.          And I realize for

16       everyone this is asking a lot.

17                   A JUROR:    Yeah.

18                   THE COURT:    And then you indicated that you or a

19       family member or friend worked for one of those organizations

20       that I mentioned?

21                   A JUROR:    I have a friend that works for the FBI.

22                   THE COURT:    Okay.     And do you know what your friend

23       does there?

24                   A JUROR:    He is in a like rotational program.              It is

25       not -- I think he has been in different parts of the
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1        organization for certain amounts of time, not nothing -- I

2        don't know details about it though.

3                    THE COURT:    Do you know whether he has anything to do

4        with cryptocurrency?

5                    A JUROR:    I don't think so.      I don't know.

6                    THE COURT:    Would the fact you have a friend who

7        works for the FBI make you favor one side or the other in this

8        case?

9                    A JUROR:    No.

10                   THE COURT:    All right.    And then you answered yes to

11       question 36 about whether you or a family member or a close

12       friend is a law attorney?

13                   A JUROR:    My wife is a lawyer.

14                   THE COURT:    What does she do?

15                   A JUROR:    She doesn't currently practice, but she

16       used to work for a firm working on patent law.

17                   THE COURT:    And then you answered yes to question 26,

18       which is whether you have ever participated in an initial coin

19       offering, purchased a non-fungible token or purchased some

20       other form of digital asset.

21                   A JUROR:    Yeah.   I purchased -- there is NFTs for the

22       NBA that are called Top Shots.        It is an NFT, so, yeah.

23                   THE COURT:    So you answered yes to whether you ever

24       purchased or owned any cryptocurrency.

25                   A JUROR:    I do own Bitcoin and Ethereum.
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1                    THE COURT:    Do you use them in transactions or do you

2        just really hold them as an investment?

3                    A JUROR:    Just holding as investments.

4                    THE COURT:    Do you have a wallet?

5                    A JUROR:    I do have a wallet.

6                    THE COURT:    Okay.     And then you answered yes to

7        question 21 about whether you are a computer professional by

8        education, training or experience?

9                    A JUROR:    Software developer.           My current job is

10       software development.

11                   THE COURT:    And what type of software do you work

12       with?

13                   A JUROR:    Specifically Sales Force.           It is a customer

14       relationship management tool that I implement for customers.

15                   THE COURT:    If there were testimony in this case

16       regarding software and how it worked, would you be able to rely

17       solely on the testimony in the case and not based on your own

18       knowledge?

19                   A JUROR:    Yes.

20                   THE COURT:    Mr. Ekeland, any follow up?

21                   MR. EKELAND:    Have you ever heard of Satoshi

22       Nakamoto?

23                   A JUROR:    Yes.

24                   MR. EKELAND:    No other questions.

25                   THE COURT:    Mr. Pearlman, any follow up?
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1                    MR. PEARLMAN:      No, Your Honor.

2                    THE COURT:    All right.    You can go back to your seat.

3        Thank you.

4                    THE COURTROOM DEPUTY:      Juror number 2095, please.

5                    (Pause.)

6                    THE COURT:    All right.    I have juror number 2059.

7        And you answered yes to several of my questions.             And why don't

8        I start with questions -- with question 24 where you indicated

9        you have strong feelings and/or opinions about the use of

10       cryptocurrency and the dark web.

11                   A JUROR:    Yes.    I feel similarly to the juror who

12       spoke earlier about the negative impact of crypto.             I also have

13       some strong feelings about the environmental impact of crypto.

14                   THE COURT:    And then you also -- this is probably the

15       same answer.     You have strong feeling about cryptocurrency and

16       whether it should be regulated.

17                   A JUROR:    Yes, I believe it should be regulated.

18                   THE COURT:    And then you answered yes to the question

19       about whether you have strong feelings of the laws governing

20       illegal drugs?

21                   A JUROR:    Yeah.   I think that most drugs should be

22       decriminalized.

23                   THE COURT:    Would that have any bearing on your

24       ability to sit as a fair and impartial juror?

25                   A JUROR:    I don't think so.
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1                    THE COURT:    Would your feelings about cryptocurrency

2        and the dark web have any impact on your evaluation of the

3        evidence in this case?

4                    A JUROR:    I don't think so.

5                    THE COURT:    Would it affect your ability to be fair

6        and impartial?

7                    A JUROR:    No.

8                    THE COURT:    And you answered yes to question 35 about

9        whether you have ever been a witness in a case or a party?

10                   A JUROR:    If I did then I did that mistakenly.

11                   THE COURT:    That was also about whether you have --

12       this is near the question about whether you have been a juror

13       before or whether you, a close friend has been a victim of a

14       crime?

15                   A JUROR:    Oh, I mean, I was the victim of a crime.

16       That might have been the question.

17                   THE COURT:    Tell us about that.

18                   A JUROR:    I was just assaulted in Dupont once.

19                   THE COURT:    Would that have any bearing, in your

20       mind?

21                   A JUROR:    No.

22                   THE COURT:    You indicated you or a family member or

23       friend have law training?

24                   A JUROR:    Yes.   I have several family members and

25       friends that are attorneys.
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1                    THE COURT:    What types of attorneys?

2                    A JUROR:    My mother is an employment lawyer.                I have

3        a friend who works in bankruptcy law with the federal

4        government, but I don't know more specifics than that.

5                    THE COURT:    And then you answered yes to whether you

6        have family member or friends, whether you worked for one of

7        those agencies that I mentioned.

8                    A JUROR:    Yes.    My uncle is in law enforcement.

9                    THE COURT:    Where is he?

10                   A JUROR:    Massachusetts.

11                   THE COURT:    And do you know what sort of law

12       enforcement he does?

13                   A JUROR:    I think he is a parole officer.

14                   THE COURT:    Does that have any bearing in your mind

15       in this case?

16                   A JUROR:    No.

17                   THE COURT:    Then you indicated that you, family

18       member or friend have worked for a government entity that

19       regulates financial transactions?

20                   A JUROR:    Yeah.   I think that is my attorney friend

21       who works in bankruptcy law with the federal government.

22                   THE COURT:    Okay.     All right.        Mr. Ekeland, any

23       follow up?

24                   MR. EKELAND:      No, Your Honor.

25                   THE COURT:    All right.     Mr. Pearlman?
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1                    MR. PEARLMAN:      No, Your Honor.

2                    THE COURT:    All right.     You can go back to your seat.

3        Thank you.

4                    (Pause.)

5                    THE COURTROOM DEPUTY:       Juror number 1912, please.

6                    THE COURT:    Thank you.     Hello.       We have juror 1912.

7        How are you today?

8                    A JUROR:    Doing well.     How are you?

9                    THE COURT:    Fine.     Thank you.        And you answered yes

10       to one question, which was 36 about whether you have been the

11       victim of a crime.

12                   A JUROR:    Yes.

13                   THE COURT:    Tell us about that.

14                   A JUROR:    So I thought that I sent in my car

15       insurance payment.      But apparently someone else decided that

16       they wanted it and they doctored it and they deposited it to

17       themselves.

18                   THE COURT:    So they took the check out of the mail or

19       something, is that what happened?

20                   A JUROR:    Yeah.

21                   THE COURT:    They took the check, so then your

22       insurance wasn't paid and they took the money?

23                   A JUROR:    Oh, yeah.

24                   THE COURT:    Would anything about that have any

25       influence one way or the other on this case in your mind?
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1                    A JUROR:    No, I don't think so.

2                    THE COURT:    How long have you lived in DC?

3                    A JUROR:    Thirty-seven years.

4                    THE COURT:    Have you ever been a juror before?

5                    A JUROR:    No.

6                    THE COURT:    Have you ever been called back for jury

7        duty?

8                    A JUROR:    Since I was 12, that is when I got my first

9        notice.

10                   THE COURT:    When you were 12?

11                   A JUROR:    Oh, yeah.

12                   THE COURT:    So I got called down for jury duty in

13       this court maybe about a year or so ago I think it was.                And I

14       was the only judge that had a trial then.

15                   Any follow-up questions, Mr. Ekeland?

16                   MR. EKELAND:      No, Your Honor.

17                   THE COURT:    All right.    Mr. Pearlman?

18                   MR. PEARLMAN:     No, Your Honor.

19                   THE COURT:    All right.    You can go back to your seat.

20       Thank you.

21                   THE COURTROOM DEPUTY:      Juror number 1792, please.

22                   THE COURT:    All right.    I have juror 1792.        And you

23       answered yes to the catch-all question.

24                   A JUROR:    I have travel, non-refundable.

25                   THE COURT:    When is that?
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1                    A JUROR:    For pleasure.

2                    THE COURT:    No, when is that?

3                    A JUROR:    It is February 28th through March 2nd, so

4        Wednesday through Sunday.

5                    THE COURT:    I see.    It is a non-refundable ticket?

6                    A JUROR:    Correct.

7                    THE COURT:    All right.     Any objection?

8                    MR. EKELAND:    No objection.

9                    MR. PEARLMAN:      No objection, Your Honor.

10                   THE COURT:    You are excused.       Thank you.

11                   A JUROR:    Thank you.

12                   THE COURTROOM DEPUTY:       Juror number 0446, please.

13                   THE COURT:    Thank you.     Juror 446, how are you today?

14                   A JUROR:    Very well.     Thank you.

15                   THE COURT:    You answered yes both to the catch-all as

16       well as the extreme hardship question.

17                   A JUROR:    Yes.   But I think that is because I forgot

18       which was which.      I don't think I have an extreme hardship, but

19       catch-all.

20                   THE COURT:    Okay.

21                   A JUROR:    It would be -- there are several

22       work-related dates, some of which it sounds like you don't meet

23       on Fridays, would not be a problem.          And I am sure we could go

24       over those if you need me to.         But the one thing that might be

25       more of an issue.      My mother's 80th birthday would be right
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1        when deliberations would begin per the calendar you laid out.

2        We are traveling to spend her birthday with her.                And I am not

3        going to tell my mom, I am not going to see her on her 80th

4        birthday.

5                    THE COURT:      Where is she?

6                    A JUROR:      In Miami, Florida.

7                    THE COURT:      When would you leave to go down?

8                    A JUROR:      We would leave on the 9th of March, which

9        is a weekend.        Her birthday is the 12th and we are flying back

10       the 13th.    So that is Monday, Tuesday, Wednesday.

11                   THE COURT:      I, obviously, have no idea whether the

12       jury will be deliberating then or not.

13                   A JUROR:      Of course, naturally.

14                   MR. EKELAND:        No objection.

15                   MR. PEARLMAN:       No objection.

16                   THE COURT:      Okay.     I am going to go ahead and let you

17       go then.    Thank you.

18                   A JUROR:      Okay.   Thank you.

19                   THE COURTROOM DEPUTY:         Juror number 1341, please.

20                   THE COURT:      Thank you.     All right.      Juror 1341, how

21       are you today?

22                   A JUROR:      Hi.   I am good.     How are you?

23                   THE COURT:      Fine, thanks.

24                   You answered yes to one of my questions, which was

25       whether you, a family member or close friend had been the
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1        victim of or witness to a crime.

2                    A JUROR:    Yes.   I witnessed a crime, a stabbing

3        incident that occurred in 2016.

4                    THE COURT:    Would that have any bearing on this case,

5        in your mind?

6                    A JUROR:    No.

7                    THE COURT:    Any questions, Mr. Ekeland?

8                    MR. EKELAND:      No, Your Honor.

9                    THE COURT:    Mr. Pearlman?

10                   MR. PEARLMAN:      No, Your Honor.

11                   THE COURT:    All right.    You can go back to your seat.

12                   Can I ask counsel to pick up?

13                   (Conference held at the bench.)

14                   THE COURT:    So do we have enough yet?         I would have

15       thought we did it.

16                   MR. PEARLMAN:      It seems like we have a slight cushion

17       now, Your Honor.

18                   MR. EKELAND:      The defense agrees, Your Honor.

19                   THE COURT:    Let me ask you this now.        Let me go back

20       over the list here.      So Juror 1822, who was -- the gentleman

21       whose father is dying.        He thought further and let the deputy

22       clerk know he would like to spend time with his father before

23       he dies, so I am inclined to grant the motion to strike Juror

24       1822.    Any objection?

25                   MR. EKELAND:      No objection.
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1                    MR. PEARLMAN:    No, Your Honor.          Which -- can you just

2        read out the number to the right as well?

3                    THE COURT:    Fourteen.

4                    MR. PEARLMAN:    Thank you.

5                    THE COURT:    All right.     And then I have the two that

6        we had on hold on this page, which are at lines 22 and 25,

7        which are Jurors 0624 and 2065.         And then on the next page, I

8        sort of had a question mark next to Juror 0359 who was the guy

9        who works, in essence, as the chief of staff to the deputy

10       administrator of AID.      We agreed to push Juror 1819 to the end

11       of the list.     He was the computer salesperson who would lose

12       his income during the trial and it would be difficult for his

13       business.    I have Juror 1568 who I think Mr. Ekeland wanted to

14       ask some further questions of.         And I think we had agreed to

15       move Juror 0728 to the bottom of the list.

16                   So I guess my first question is whether there are any

17       of those folks where there is agreement that we should strike

18       them?    So why don't I run through them one by one, 0624?

19                   MR. EKELAND:    Your Honor, can you give me the line

20       number on that?

21                   THE COURT:    Twenty-two.

22                   MR. EKELAND:    No objection.

23                   MR. PEARLMAN:    No objection, Your Honor.

24                   THE COURT:    Okay.     I am going to strike 0624.

25                   And then there was the gentleman who works at the
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1        gift store, Spencer Gifts, 2065.        And I am happy to bring him

2        back up.    He did ultimately say he could do it, but I do think

3        there was some question about whether it would be a

4        professional burden for him.        And that he said he was up for a

5        promotion and that his trainers were there.            And they weren't

6        going to be around.      So if there is not agreement to strike

7        2065, then I want to bring him back up and ask him some more

8        questions.

9                    MR. PEARLMAN:    I do not object to striking him, Your

10       Honor, from the government.

11                   THE COURT:    Mr. Ekeland.

12                   MR. EKELAND:    One moment, Your Honor.         I want to talk

13       to the rest of the team for a second.

14                   THE COURT:    That is fine.

15                   MR. EKELAND:    We object to striking him, Your Honor.

16                   THE COURT:    So I am going to bring him back up again

17       then.    So continue to the next page.

18                   What about 0359, which is the guy who staffs the

19       deputy administrator of AID who has indicated it would be very

20       difficult to fill his shoes when he does his jury service

21       because he does everything for the deputy administrator.

22                   MR. PEARLMAN:    No objection to striking 0359.

23                   THE COURT:    Mr. Ekeland?

24                   MR. EKELAND:    No objection.

25                   THE COURT:    All right.    I will strike him.
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1                    And then, there was the computer salesperson, 1819,

2        who we agreed to push to the bottom of the list.               If we push

3        him to the bottom of the list it is probably the equivalent of

4        striking him because we are probably not going to get to the

5        bottom of the list.

6                    MR. PEARLMAN:    I don't oppose -- the government does

7        not oppose moving him or striking him.

8                    THE COURT:    Mr. Ekeland?

9                    MR. EKELAND:    What was his number again?

10                   THE COURT:    It is line 36, 1819.          This is the guy who

11       is in computer sales.      He said he is not going to -- his

12       clients are at work during the day and he is going to miss all

13       of his sales if he is here because he has no one to back him

14       up.

15                   MR. EKELAND:    We object to striking him.

16                   THE COURT:    So I will bring him back up and ask him

17       some more questions too.      And then there is                      , who I

18       take it, Mr. Ekeland, you would like to ask some more questions

19       of him.    That is 1568.

20                   MR. EKELAND:    Yes.     That is the Wilmer Hale lawyer?

21                   THE COURT:    Yes.      I will bring him back up.

22                   And then finally the only one that I have with a

23       question mark is the next on the list at 40, which is

24       at 0728.    We had agreed I think to move to the bottom of list.

25       The question was whether I should go ahead and strike her.
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1                    MR. EKELAND:    What line number is that, Your Honor?

2                    THE COURT:    40.

3                    MR. PEARLMAN:    We do not object to striking 0728 from

4        the government.

5                    MR. EKELAND:    0728?

6                    THE COURT:    Correct.

7                    MR. EKELAND:    No objection.

8                    THE COURT:    So I am going to strike 0728.            So then

9        what I am going to do is I will bring them back up in order

10       starting with,              , 2065.     Okay.    Is that fine?

11                   MR. EKELAND:    Yes, Your Honor.

12                   MR. PEARLMAN:    Yes.

13                   (End of bench conference.)

14                   THE COURT:    Can I ask that 2065 come back up.              You

15       with the red hat there, I think that is you.              2065.    Back up

16       here.    Thanks.

17                   I just wanted to ask you a little bit more about the

18       hardship for you of serving on the jury.              And I think you had

19       talked to us before about how you were starting a --

20       potentially starting a more management position.               And there was

21       an opportunity for your training.          And then I ultimately asked

22       you whether you could work in the evening.              And you said, yes.

23       But what I really want to understand is I don't want to do

24       anything that is going to keep you from advancing at work.

25       But, on the other hand, if you think you can manage things and
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1        with the trial and it is not going to keep you from advancing

2        at work, that is fine.      And we can keep you on the list.             But

3        we just need you to tell us, you know, are you concerned that

4        this really -- if you were a juror, it would affect your

5        ability to become -- take on a management role or delay when

6        you could take on a management role?

7                    A JUROR:    I am.   Because my hours usually start from

8        9:00 to 6:00.

9                    THE COURT:    Yeah.

10                   A JUROR:    Or from 12:00 to 8:00.          So in between those

11       times, I have to be there.          So, like, I don't know what I would

12       be able to do if, you know, I couldn't be there, because, you

13       know, those are like the hard sale times of the week.

14                   THE COURT:    Any follow-up questions from counsel?

15                   MR. EKELAND:    Do you work primarily during the week

16       or --

17                   A JUROR:    Yes.

18                   MR. EKELAND:    So do you work over the weekend too?

19                   A JUROR:    Well, Friday and Saturday are the most

20       important days of, like, the sales week, because that is, you

21       know, the heaviest like traffic so.

22                   MR. EKELAND:    No further questions.

23                   THE COURT:    Mr. Pearlman, anything else?

24                   MR. PEARLMAN:      No, Your Honor.

25                   THE COURT:    All right.      I am going to go ahead and
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1        dismiss you.     I don't want to interfere with your ability to

2        advance at work.

3                    A JUROR:    Thank you.

4                    THE COURT:    All right.     And then if I could ask Juror

5        1819 to come back.

6                    And I also want to get a better sense for you on the

7        hardship and if you could describe a little bit more detail for

8        us, you know -- it is a burden for everybody to be on a jury of

9        this length.     But I just need to try and distinguish between

10       cases in which it is really going to set somebody back in a

11       significant way versus it is going to be somewhat of burden,

12       but one you can deal with.

13                   A JUROR:    Yeah.   With sales you are at like the --

14       whenever the customer wants to meet or prospect, that is when

15       you meet.    So having the business hour from 9:00 to 4:30

16       blocked off is pretty hard to work around.             And then you carry

17       a quota with sales.      And being gone for a month is what it sort

18       of sounds like will happen, really puts you behind the 8 ball

19       in hitting that quota.      And then like continuing to work that

20       job.

21                   THE COURT:    So what is your best assessment of how

22       serious a problem this would be for you?

23                   A JUROR:    I think it would be a major issue, having

24       to explain that to, like, my bosses and stuff would be -- I

25       know like you can't get like penalized for it.             It would be not
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1        great.

2                    THE COURT:    And is there any way that you could do

3        what you need to do in the evenings or weekends to make up for

4        it?

5                    A JUROR:    Most of my job is meeting with customers.

6        So they don't really want to meet on the weekends.              They don't

7        want to meet after -- during dinner or anything like that.

8        They want to meet during their business hours.

9                    THE COURT:    Any follow up from you, Mr. Pearlman?

10                   MR. PEARLMAN:    No, Your Honor.

11                   THE COURT:    From you, Mr. Ekeland?

12                   MR. EKELAND:    No, Your Honor.

13                   THE COURT:    I am going to go ahead and let you go as

14       well.

15                   A JUROR:    All right.     Thank you.

16                   THE COURT:    All right.     And Juror 1568, can I ask you

17       to come back up?

18                   So I wanted to ask you a little bit more about your

19       work at the SEC and at your law firm relating to

20       cryptocurrency.      When you were at the SEC, were you ever

21       involved in any investigations relating to money laundering

22       relating to cryptocurrency?

23                   A JUROR:    No, not directly because the SEC doesn't

24       investigate or charge money laundering.

25                   THE COURT:    When you say not directly, were you
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1        working in teams with other agencies perhaps in some cases

2        where those issues were raised?

3                    A JUROR:    There may have been some cases where the

4        SEC was investigating securities law, part of something related

5        to cryptocurrency where the Department of Justice may have been

6        investigating in a parallel case, other potential violations

7        including money laundering, but I wouldn't have been working on

8        that.

9                    THE COURT:    Did you ever have any experience or were

10       you ever involved in blockchain tracing involving

11       cryptocurrency?

12                   A JUROR:    Not personally.

13                   THE COURT:    Did you ever oversee people who were

14       involved in that where you played any role in reviewing their

15       work?

16                   A JUROR:    Not in a supervisory way.         I was just aware

17       it was going on, but it wasn't part of my job.

18                   THE COURT:    Were you involved in the adoption or

19       consideration of any regulations or rules at the SEC relating

20       to registering cryptocurrency exchanges, registering

21       cryptocurrency securities, anything of that nature?

22                   A JUROR:    No, just on the enforcement side.

23                   THE COURT:    Okay.     And what about the same series of

24       questions with respect to your work in private practice.                Have

25       you been involved at all in any cryptocurrency money laundering
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1        cases?

2                    A JUROR:      No.   Just the flip side of the kinds of

3        cryptocurrency cases I was involved in while I was at the SEC,

4        the security laws aspects of those, representing clients who

5        were being investigated by the SEC or the Department of Justice

6        for securities-related things.

7                    THE COURT:      What role would the SEC have with respect

8        to cryptocurrency?

9                    A JUROR:      Well, the SEC has brought -- that is a very

10       philosophical question for some people.                In the enforcement

11       side, the SEC has broad enforcement actions basically in two

12       ways.    One is our cases alleging that people involved in

13       cryptocurrency in some way should have been registered, but

14       weren't or that the securities transactions should have been

15       registered, but weren't.        And the other side of those cases is

16       that the SEC investigates and brings cases involving

17       cryptocurrency fraud.

18                   THE COURT:      With respect to the registration, is it

19       registering the cryptocurrency itself as a security?                  And that

20       may be the philosophical question I was approaching.

21                   A JUROR:      There is two different kinds of

22       registration.        One is registration of the transaction of a

23       cryptocurrency, whether it is being sold like an initial coin

24       offering or sold on an exchange.          And the other part of it is

25       some people engaged in the business are alleged to have been
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1        required to be registered as brokers or dealers, but were not.

2                    THE COURT:      I see.    And have you had any involvement

3        in the question of whether someone dealing in cryptocurrency is

4        required to register as a money exchange business?

5                    A JUROR:      No.

6                    THE COURT:      Okay.     Any follow up to this,

7        Mr. Ekeland?

8                    MR. EKELAND:        Yes, I do.    So I just want to make sure

9        I understand.        You worked in the enforcement division of the

10       SEC?

11                   A JUROR:      Yes.

12                   MR. EKELAND:        And you primarily brought civil -- you

13       were primarily involved in civil investigations and civil

14       actions?

15                   A JUROR:      Yes.   The SEC can only bring civil actions.

16                   MR. EKELAND:        Were these like 10b-5 primarily?

17                   A JUROR:      If they are fraud cases, 10b-5 primarily.

18       If they are registration cases, other statutes.

19                   MR. EKELAND:        And then the civil cases you were

20       involved, were there also parallel criminal DOJ cases?

21                   A JUROR:      In some of them.

22                   MR. EKELAND:        More than 50 percent or --

23                   A JUROR:      I couldn't estimate.

24                   MR. EKELAND:        Did you interact and work with DOJ in

25       your involvement with those parallel cases?
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1                    A JUROR:    I think it may be one or two, but not a

2        large number of them.

3                    MR. EKELAND:    And do you agree with the SEC's

4        position that cryptocurrency is a security?

5                    A JUROR:    I don't know that is the SEC's position.             I

6        think it is rather more nuanced than that.

7                    MR. EKELAND:    Do you think cryptocurrency is a

8        security?

9                    A JUROR:    I think in some situations cryptocurrency

10       transactions can be securities transactions.

11                   MR. EKELAND:    Okay.    Thank you.      I don't have any

12       further questions.

13                   THE COURT:    All right.    Mr. Pearlman, any follow up?

14                   MR. PEARLMAN:      Do you do any defense work at your

15       firm regarding alleged irregularities concerning

16       cryptocurrency?

17                   A JUROR:    Yes.

18                   THE COURT:    All right.    Anything further,

19       Mr. Ekeland?

20                   MR. EKELAND:    I don't have any further questions.

21                   THE COURT:    All right.    You can go back to your seat.

22       Thank you.

23                   I am going to ask counsel to pick up.

24                   (Conference held at the bench.)

25                   THE COURT:    So I think we have qualified enough
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1        jurors out now.      We are ready to move into the strikes section

2        of the proceeding.      And what I will tell you is, I want to

3        remind you that we agreed that the alternates would be in seats

4        3, 6, 11, and 14.      When you exercise your first round strikes,

5        you may not strike anyone who is in those seats.             We will give

6        you -- we are not going to move everyone into the box, but we

7        will give you a list telling you what everyone's juror number

8        is at this point once we rearrange the list based on the

9        strikes.    So you cannot strike anyone during the first round

10       strikes -- during the non-alternate strikes.            And you just have

11       to leave the folks there.

12                   The Government gets 6 strikes and defense gets 10

13       strikes for the regular round.        I have done the math on this

14       and it works if the government first with 1, then the defense

15       with 2; government with 1, defense with 2, and back and forth.

16       And the government gets the last of the first round of strikes.

17                   Once we are done with that, we'll then move to the

18       alternate rounds of strikes, in which you can only strike

19       somebody who is in seat 6, 11, 3 and 14.

20                   You can strike into the pool at any time you want if

21       you are thinking strategically about who may move up into the

22       person who would then take one of those seats should the

23       alternate be stricken in the process.          And each side gets 2

24       strikes because we have 4 alternates.          And so I will allow the

25       defense to go first for alternates, just to switch that up.
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1        And the government will go second.         And then back and forth

2        like that.

3                    We will give you a sheet.       You will see there aren't

4        quite enough lines, so you will have to put some stuff on the

5        bottom of the sheet, because it is not made for 16 jurors, I

6        think.    You know what?    Our deputy clerk is on the ball.           We

7        have adjusted the sheet.      So that is perfect.        You need to

8        indicate, to the best of your ability, the race and gender of

9        the person you are striking, purely for Batson purposes.               And I

10       can make sure we don't have a Batson problem here as we

11       proceed.    And the other thing that I ask that you do is that

12       you think ahead.      And while we are doing the work here of

13       getting the sheet ready for you to tell you who is on the list,

14       start thinking about who you are going to strike.             Because it

15       drives the prospective jurors nuts, quite frankly, when it is

16       as though the wheel is being invented every time, and the sheet

17       gets passed over to you and you are sitting there and you are

18       huddling and talking and back and forth and it takes 10

19       minutes.

20                   So think ahead with who you want to strike, so the

21       sheet can pass back and forth with some expedition, because you

22       don't want to be driving people nuts by taking too much time

23       with this.

24                   Any questions before we proceed to the strike stage?

25                   MR. EKELAND:    Can we just take a 5-minute break just
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1        for a bathroom break?

2                    THE COURT:    That is fine.     We can do that.       And we'll

3        also be getting the sheet ready in the meantime, but also be

4        giving thought to who you want to strike, so that we are not

5        taking too much time on this.

6                    One other thing is I did arrange for the deputy

7        public defender Shelli Peterson to come meet with

8        Mr. Sterlingov tomorrow morning at 9:00 a.m.            So she will be

9        available to advise him with respect to any conflict.              All

10       right.    Thank you.

11                   (End of bench conference.)

12                   THE COURT:    All right.    We are making good progress

13       here.    I am going -- we are going to take a 5-minute restroom

14       break.    I ask you all not to go far and make sure you are back

15       here in five minutes, because we are going to proceed with the

16       next stage of the jury selection process.            And we want to make

17       sure everyone is here for that.        So take a quick bathroom break

18       and we'll see you back shortly.        And come back to your same

19       seats.

20                   (Recess taken at 3:29 p.m.)

21                   THE COURT:    All right.    So, folks, the deputy clerk

22       is going to call out your jury number.          If your jury number is

23       called, please come up and take the seat that she tells you to

24       take.

25                   THE COURTROOM DEPUTY:      Juror number 1728, please.
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1                    Juror number 0012.

2                    THE COURT:    Over this way here.

3                    THE COURTROOM DEPUTY:      I'm sorry.        Juror number 0312,

4        please.

5                    Juror number 2188.

6                    Juror number 1968.

7                    Juror number 1601.

8                    Juror 0723.    I'm sorry.     0273.      Juror 0273.

9                    Juror 1141.

10                   Juror 1431.    You can go around that way and take the

11       first seat, if you want.

12                   Juror 1580.

13                   Juror 0364.

14                   Juror 1964.

15                   Juror number 1223.

16                   Juror 1009.

17                   Juror 0101, if you would take the last seat in the

18       back.

19                   And Juror number 2166, if you could take this seat

20       right here.

21                   THE COURT:    All right.    Folks, you have been chosen

22       to serve as jurors in this case.        Before I dismiss everyone

23       else here, let me ask, is there any reason that any of you

24       cannot serve?

25                   All right, well, I thank you.            I will come back to
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1        you all in a second.

2                    I am going to thank you all for your service today.

3        It is -- you are going home now, but it is an incredible

4        service you are performing by being here.              And greatly

5        appreciate you devoting your day to this.              This is essential to

6        our system of justice.        So thank you and you are all welcome to

7        go.

8                    Glenda, do they need to call in tomorrow.

9                    THE COURTROOM DEPUTY:        They need to call in tonight.

10                   THE COURT:      Call in tonight, but thank you all.

11                   (Pause.)

12                   THE COURT:      All right, folks, so in a minute I am

13       going to ask the deputy clerk just to orientate you, give you

14       your badges, show you where to go tomorrow, just explain a

15       little bit more about the system.           This is surprisingly not my

16       usual courtroom here.        She will show you where my usual

17       courtroom is.        I actually have a jury in another case that is

18       deliberating in the jury room right now, so you are not going

19       to be able to -- well, they may be gone for the day.                You may

20       be able to go into the jury room.           We'll have to see.

21                   Tomorrow, just because I need to spend some time with

22       the lawyers dealing with some final legal issues in the case,

23       we are not going to start until 11:00 a.m. tomorrow.                Maybe

24       that gives you all a chance to deal with some of your personal

25       issues as well.       Try and be here by 10:30 or 10:45.           Just
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1        sometimes it takes a while to get into the house with the

2        security.    That way we are in a position in which we can really

3        get going at 11:00 a.m. tomorrow.

4                    I am going to tell you this now.          By the time we are

5        done with this trial, you are going to be so sick of hearing me

6        saying this, you are going to be repeating it.            Do not discuss

7        the case with anybody, even your fellow jurors.             I will tell

8        you when you can discuss the case with your fellow jurors.               But

9        that is not going to be until after all of the evidence has

10       been presented and I have given you my final jury instructions

11       at the end of the trial.      So for now, do not discuss anything

12       about the case with one another or certainly not with anybody

13       else.    If friends and family, colleagues ask you about it, you

14       can simply say, you were chosen for services in a criminal

15       case.

16                   You can tell them a rough estimate of how long the

17       case is going to take so that they can make arrangements and

18       you can make arrangements for dealing with your life as the

19       case goes forward.      Do not conduct any type of research of any

20       kind relating to the case, the parties, the witnesses, anything

21       at all about this case.      That means nothing on the internet or

22       in any other way.      Everything you know about the case, you need

23       to hear here or in my usual courtroom in the evidence that is

24       actually admitted into evidence.        That is critically important.

25       So no research of any kind with respect to the case.
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1                    And as I have told you before and I am going to tell

2        you again, if you see the parties in any way in the hallway

3        area or anywhere, just steer clear so you don't accidentally

4        overhear some discussion in the hallway.              And if they steer

5        clear of you, they are not being rude, I tell them to do the

6        same thing.    If you end up in the elevator together, I just ask

7        that everyone keep their mouths closed while in the elevator

8        together, so there is not any incidental discussion of the

9        case.    If anything does come to attention about the case in any

10       way, don't tell your fellow jurors about it, just let me know

11       and we can talk about that.         But hopefully that is nothing that

12       will have occurred.      I do thank you all for your service.              I

13       realize this is asking a lot of people.               But it is what makes

14       our system work.

15                   So I am, on behalf of the courts, deeply appreciative

16       of your willingness to serve and your commitment to this

17       important undertaking.      So thank you.       Have a good night and I

18       will see you all back in my usual courtroom at 11:00.

19                   A JUROR:    I'm sorry.     How long did you say it would

20       last?

21                   THE COURT:    The trial?

22                   A JUROR:    Uh-huh.

23                   THE COURT:    Our best estimate is that the evidence

24       will all come in no later than March 7th.              And then the jury

25       will deliberate however long the jury takes to deliberate.
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1        That is just an estimate because no one knows exactly how long

2        it is going to take each witness to testify and to

3        cross-examine each witness.         And we are all going to do our

4        best to keep things moving and on time and not to delay.

5        Because I appreciate and we all appreciate the imposition on

6        you.    And we don't want to do anything that is wasting your

7        time.    So we are going to do our best to move things along as

8        quickly as possible, but in a manner that is consistent with

9        all of the parties in the case.

10                   A JUROR:    So we are to be here every day?

11                   THE COURT:    So what I have said here is we are going

12       to sit definitely Monday, Tuesday, Wednesday and Thursday.

13       This Friday, we are going to sit for half a day.              Some Fridays,

14       we may sit half a day.      I will always give you a little bit of

15       time off on the Fridays to attend to other affairs that you may

16       have and so I can actually handle some of my other cases as

17       well.    And the question about whether we sit part days on

18       Friday may turn in part on just how well we are doing in moving

19       the case along or whether there is a witness that is only

20       available on Friday.      But I am going to do my best to give you

21       some time to attend to personal matters in your life.

22                   Any other questions?

23                   Yes.

24                   A JUROR:    And it is this courtroom?

25                   THE COURT:    No.   It is going to be in a different
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1        room.    The deputy clerk, Ms. Walker, is going to show you just

2        now where you go and where you will be.                We are only up here

3        because I needed additional capacity and space given the number

4        of prospective jurors we had.

5                    A JUROR:    Your Honor, if in case of emergency, we

6        contact --

7                    THE COURT:    Ms. Walker.       She will give you her

8        contact information.      So in the morning, you are running late,

9        the Metro is not working, you get a flat with your car or

10       something like that, call Ms. Walker and let her know.

11                   A JUROR:    Okay.   Thank you.

12                   THE COURT:    All right.      Thank you all.

13                   (Jury out at 4:59 p.m.)

14                   THE COURT:    All right.      Well, thank you, folks.           I

15       appreciate you all handled that in a very professional and

16       efficient manner.      So thank you for your work on the jury

17       selection process.      The reason I scheduled things to start at

18       11:00 tomorrow is I have arranged for Ms. Peterson to meet with

19       you at 9:00 a.m. tomorrow.          She is going to come to the cell

20       block at 9:00 a.m. tomorrow morning.

21                   I am scheduled to meet with the marshal that is in

22       charge of the assignments tomorrow morning at 9:30 to ask him

23       if some accommodation can be made, Mr. Sterlingov, with respect

24       to where you are housed.        So I will get some additional

25       information on that.
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1                    What I would like to do is have all of us convene at

2        10:00 a.m., both so that I can confirm that Mr. Sterlingov has

3        received the advice that he needs, to the extent he needs

4        advice with respect to any potential conflict.             But also I will

5        then explain in a little bit more detail my rulings with

6        respect to the couple of threshold issues that defense counsel

7        raised or asked about in the motion he filed last night.                As I

8        said before, I ruled on many of the Daubert motions already.

9        But I will rule on the remaining Daubert issues to the extent I

10       can at this time.      And, obviously, those things develop over

11       the course of the trial and things can change.             But I will give

12       you my best guidance I can with respect to the Daubert issues

13       and also on the venue issue.

14                   I think the bottom line on venue, I will give you

15       more detail on this and I have talked about this in the past.

16       And I think the indictment on its face is sufficient.               But I

17       will give you more detail and discussion about that tomorrow.

18                   Let's see here.    A couple of other issues that were

19       raised and I just want to touch on to see if it is something

20       that I need to address.      I guess the -- we do need during our

21       10:00 session and hopefully we can move relatively quickly and

22       we are not keeping the jury waiting to start with, are your

23       objections, Mr. Ekeland, with respect to the government's

24       slides that they want to use in their opening.

25                   MR. EKELAND:    Yes, Your Honor.         We are still
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1        objecting that -- the same objections that we submitted, we

2        would like the Court to rule on.

3                    THE COURT:    Yes.      So I will do that and I will hear

4        any particular arguments with respect to particular slides.                     I

5        have been through them, but I'd like to hear from the parties

6        about that before I give you my final views with respect to

7        each slide.    So just be prepared to go to the extent there are

8        objections, slide by slide, and explain the objections to me

9        and we can move through that fairly quickly.

10                   The government indicated that they are not asking the

11       jury be retained if there is a conviction for purposes of

12       forfeiture.    That could affect, obviously, the length of the

13       trial and what we need to tell the prospective jurors.                   Does

14       the defense have a view on that question?

15                   MR. EKELAND:    No, not at the moment, Your Honor.              Can

16       we get back to you in the next day or two on that?

17                   THE COURT:    Yes.      I think it may have something to do

18       with how long we are asking the jurors to be here.               Hopefully

19       if there were a conviction, it could not take that much

20       additional time.      Let me know.      I know it is not often resolved

21       by the same jury and it doesn't have to be and it can be

22       submitted to the Court as well.

23                   MR. EKELAND:    To be frank with the Court, I haven't

24       had any discussion with my client about it, so I'd like to do

25       that before I --
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1                    THE COURT:    Of course.    You are welcome to do that,

2        but at least check in about that question tomorrow.

3                    The government asked that I give an instruction with

4        respect to the telephone and use of the telephone.             I guess, I

5        am not sure that is necessary at this point.            I think if the

6        jurors seem puzzled or maybe even during -- if we end up with

7        lengthy or a couple of lengthy calls early on, I can pause and

8        explain to the jury then.      I think it is actually going to make

9        more sense to the jury in the context of a conversation than in

10       advance when they have no idea what I am talking about.                But if

11       we have lengthy conversation, you can remind me.             I am happy to

12       say to the jury at that time, by the way, we are discussing

13       legal issues and you shouldn't speculate as to what we are

14       discussing, which I am happy to do.         But I think doing that in

15       the course of the trial is probably more sensible.

16                   As I said before, I am very open to and think it may

17       be a good idea to give the red book instruction on jury

18       questions in this case, just because we are dealing with a

19       complicated, highly technical subject matter.

20                   Does the defense have a position on that question,

21       Mr. Ekeland?

22                   MR. EKELAND:    I think we are open to that.          I

23       don't see off the top of my head an issue with that.

24                   THE COURT:    You would have an opportunity, by the

25       way, to object to my asking any particular question.
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1                    MR. EKELAND:    Yes, Your Honor.         Just so I understand

2        is what we are proposing just allowing the jury to ask

3        questions if they have got a question?

4                    THE COURT:    What we do is I would tell the jurors

5        that if they wanted to, that they could at the end of a

6        witness' testimony, after all counsel have examined the

7        witness, write a note.      They are all going to have pads.            And

8        if there is a question, they could write a note to me

9        indicating what question they would like me to ask.               I am not

10       promising I will ask the question, because there would be legal

11       reasons not to ask the question.        I will then look at it and I

12       will discuss it with you on the phones, before I actually ask

13       the question or reformulate the question.            You can look in the

14       DC red book of instructions.        That is the instruction I would

15       propose to give.

16                   MR. EKELAND:    I don't expect for me to object to

17       that.    If you are looking for an answer right now, I am not

18       going to object to that.

19                   THE COURT:    Well, I am going to put it in my draft

20       preliminary instructions.      If you do overnight have a change on

21       that, let me know.

22                   MR. EKELAND:    Thank you.

23                   THE COURT:    Then the government has proposed 24-hours

24       notice from both sides for any witnesses.            Any objection to

25       that?
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1                    MR. EKELAND:    No objection.       And they have already

2        told us their witnesses for tomorrow.

3                    THE COURT:    Who do you have coming tomorrow?

4                    MR. PEARLMAN:    Tomorrow we have Mark Price.

5                    MR. BROWN:    Matt Price.

6                    MR. PEARLMAN:    Matt Price.       Excuse me.       Two of the

7        interpreters --

8                    THE COURT:    You need to move to a microphone.

9                    MR. PEARLMAN:    Sarah Krulikowski and Sergei Miroff.

10                   THE COURT:    Those are the translators?

11                   MR. PEARLMAN:    Yes.     And then Leo Rovensky, if we get

12       to it, which is unlikely.

13                   THE COURT:    Yeah.     I think given the fact that I have

14       to -- we are not starting until 11.          I have to give preliminary

15       instructions and you each have to open.               So hopefully we'll get

16       to a witness or two.

17                   Then let's see here.       I'm sorry.        How long do you

18       anticipate your opening taking from the government?

19                   MR. BROWN:    Your Honor, I think when we timed it, it

20       was around 45 minutes.      But I think Court has, you know set a

21       limit of 60 minutes, to be conservative I'd say 45 to 60.

22                   THE COURT:    That is fine.      Mr. Ekeland.

23                   MR. EKELAND:    We are in the same range, 45 to 60.

24                   THE COURT:    That is all fine with me.

25                   The government filed a motion requesting that I
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1        preclude the defense in its opening from referring to the

2        Mt. Gox hack or mounting the Mt. Gox CEO.            And I take it the

3        position is that as far as they know there is no defense

4        witness who actually has any nonspeculative or non-hearsay

5        information with respect to that.         And, therefore, it would

6        violate 403, because there is not -- or there is nothing that

7        is inadmissible to start with.        And if there were, there would

8        be a 403 problem, because there is not anyone who would know

9        anything about what happened; correct?

10                   MR. BROWN:    Your Honor, to be clear, I think our

11       motion pertains to the entire trial, that we would move to

12       exclude reference to a hack or alleged misconduct by the CEO.

13       But certainly during opening statements and barring some sort

14       of foundation that the defense can actually proffer that there

15       is a -- whatever the hack was, that it affected the specific

16       account records at issue in this case.

17                   THE COURT:    Mr. Ekeland.

18                   MR. EKELAND:    First of all, it is not just one hack,

19       it is multiple hacks that have -- I think more than one witness

20       in this case can testify to, that there is numerous.

21                   THE COURT:    They can testify that they heard they

22       were hacks from public media or -- I guess, what would be

23       the -- one, is what would be a non-hearsay basis for people

24       saying there were hacks?      But more importantly what would the

25       basis be for them suggesting that the hacks had anything to do
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1        with the integrity of the data at issue in this case?

2                    MR. EKELAND:    Well, I think when you get into the

3        history of Mt. Gox, from the beginning, one of the things that

4        Mark Karpeles says, you know, when he just got the company was

5        that it was a mess.      I think --

6                    THE COURT:    I'm sorry.     But who is going to

7        testify -- who is going to testify in a non-hearsay way to

8        that?    I mean, you can't say, I read a press report.             A witness

9        can't say, I read a press report in which the CEO said the

10       company was a mess.      That is multiple levels of hearsay.

11                   MR. EKELAND:    I am not sure of that, Your Honor.            I

12       know that the history of Mt. Gox is no secret.             Dr. Cabanas

13       knows Mr. Sterlingov is a creditor of Mt. Gox.             It has been

14       well documented.      It is not some esoteric conspiracy theory.

15       It is just part of Mt. Gox.         And we are not just talking about

16       one hack.    I don't see us, you know, having this sort of --

17       making this the main line of defense.           But it is something that

18       I do see potentially coming up.         And it is not anything that

19       the government is not on notice on or I don't even think it is

20       something that is in dispute.         So to the --

21                   THE COURT:    It is certainly in dispute the question

22       of what -- any hack compromised the data that is at issue in

23       this case.

24                   MR. EKELAND:    That is a separate question from

25       whether or not Mt. Gox was hacked multiple times and that was
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1        reported to the media.       So to the --

2                    THE COURT:     But I mean that gets back to the question

3        of -- maybe I should let you think about this overnight.                   But

4        the question that I want you to answer is actually what

5        admissible evidence you can offer with respect to, one, that

6        there was one or more hacks; and, two, that it is a reasonable

7        inference or a reasonable jury could infer from that, that the

8        data at issue in this case was compromised.

9                    MR. EKELAND:     I think that there is probably multiple

10       witnesses in this case that might be able to testify to that.

11       And if they haven't -- they don't have knowledge of that, then

12       I think there is a potential credibility issue.                I think that

13       it is a -- if you -- I think it is something we would have to

14       lay a foundation for.       But I think that there might even -- and

15       in a certain sense, I don't want to reveal the defense strategy

16       on that point.       I think if -- I think what the defense would

17       like on this point is if we can lay a foundation for it and

18       bring it in, I think it is permissible.               I am not at this

19       moment planning on making it part of my opening.

20                   THE COURT:     Well, that answers the question for now.

21       If you are not planning on mentioning this in the opening, then

22       when there is a witness here, the government is free to object

23       to any testimony and you are free to lay a foundation.                    And we

24       will just see whether it comes in.          If you are not going to do

25       it in your opening, then I think we can address this with a
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1        real concrete issue in front of me.

2                    MR. EKELAND:    Yeah.    I think for convenience sake, I

3        will keep it out of my opening.        And then if I can lay a

4        foundation and if it presents itself, I think it is an entirely

5        appropriate area of inquiry from a number of witnesses in this

6        case, including government witnesses.

7                    THE COURT:    All right.    Mr. Brown.

8                    MR. BROWN:    Your Honor, I think there are two related

9        questions.    One is just what is the admissible testimony about

10       the Mt. Gox hack.      But I think relatedly -- I think what the

11       Court was reacting to during the Daubert proceedings was there

12       is a real 403 issue of jury confusion if you are talking about

13       hacks writ large and then you are talking about, well, we have

14       these four or five specific account records.            And there has

15       been absolutely no showing -- and none of their witnesses, to

16       the extent they have been questioned about this during the

17       Daubert hearings, Mr. Verret, Mr. Cabanas, none of their

18       witnesses can say they examined the specific account records at

19       issue here and say those were affected by the hack.

20                   THE COURT:    Right.

21                   MR. EKELAND:    So there is a real risk of prejudice in

22       that sense.    It is a confusion of the issues.          And it is such

23       a -- once you ring that bell, it is going to be hard to unring

24       it.   And that is why we are concerned about the 403 issue.              And

25       relatedly it is true that to the extent that the defense
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1        experts have been questioned during the Daubert proceedings,

2        the Court has found that Mr. Verret and Mr. Cabanas, they are

3        not experts in the Mt. Gox hack.

4                    THE COURT:    Right.

5                    MR. EKELAND:    So I am not sure how the defense is

6        going to introduce this.

7                    THE COURT:    Well, I mean, as you know, at least in a

8        Daubert context I expressed some questions about this and

9        whether there was a basis for getting into these issues.

10                   If it is not going to come up in the opening, I guess

11       what I would simply ask is, Mr. Ekeland, if you can provide us

12       with notice before you get into it with somebody, so we can

13       have a discussion about whether there is actually a fair

14       evidentiary basis for the inquiry.         Okay?

15                   MR. EKELAND:    Does that include if someone opens the

16       door to it, like the government's witnesses open the door, are

17       you asking the defense to stop and have a conversation about it

18       or --

19                   THE COURT:    Well, I guess, in the sense that I think

20       I should be the one to make the decision about whether they

21       actually opened the door or not.        And my concern is if the

22       government says, we have received Mt. Gox documents, and he is

23       ah, they have opened the door.        And I don't think that is

24       opening the door to the questions we are talking about.                So I

25       think we can get on the phones.        And I don't think we have to
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1        break stride, we get on the phones, talk about it quickly.                And

2        if I am in agreement, they have opened the door and invited it

3        in some way, that is fine.

4                    I mean, opening the door may address the 403 issue.

5        I am still also not sure whether there is anybody who can offer

6        competent testimony on this, including I am not sure any of the

7        government witnesses actually have competent knowledge of what

8        happened with respect to the hacks.          They may have, but I don't

9        know.    And we can also explore some of it outside of the

10       presence of the jury if we need to.

11                   MR. EKELAND:    So I just want to understand to make

12       sure I am clear on this.      Are you -- is the Court precluding

13       questioning on the integrity of the data and the knowledge of

14       the government witnesses in relation to the integrity of the

15       data and what they actually know about it?

16                   THE COURT:    I am asking that you flag the issue

17       before we turn to the subject so we have a conversation.

18                   MR. EKELAND:    Understood, Your Honor.

19                   THE COURT:    All right.     Is there anything else that

20       we need to address tonight?         I am happy to get into anything

21       else that you need to address before your openings tomorrow,

22       other than the issues I have told you I will address tomorrow.

23                   MR. EKELAND:    Your Honor, I know you have referenced

24       that we are sitting on Friday for part of the day, do you know

25       which part of the day?
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1                    THE COURT:    I am going to surprise you.

2                    Yes, I do.    I think it is in the morning.           I think

3        Friday morning was the plan.

4                    MR. EKELAND:    Thank you, Your Honor.

5                    THE COURT:    10:00 to 12:30, so before lunch, we'll

6        say.

7                    Okay.    Mr. Ekeland, you look like you wanted to raise

8        something else.

9                    MR. EKELAND:    Yes, Your Honor.         We just would renew

10       our request for a one-day continuance so we can review all of

11       the data that we got on Saturday.         I don't -- we haven't been

12       able to open up the 800 megabytes of SQL database data.

13       Mr. Fischbach was traveling.        We got a bunch of translations

14       last night.    I just think it is -- we are in a little bit of a

15       tough position of getting such a large amount of data.                  I am

16       not clear on what parts of it are new, what parts of it are

17       Jencks.    I don't understand why after all of this time we have

18       seen this spreadsheet with all of the passwords and all of the

19       data.    We would like at least to just get a day to digest it

20       and understand what this is.

21                   Because my concern is that if -- if we don't know

22       what this is that we are just going to be objecting needlessly

23       at trial, because we just don't -- we haven't had a chance to

24       look at it.    And we haven't -- it they weren't files -- some of

25       the files aren't easily opened.
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1                    THE COURT:     Ms. Pelker.

2                    MS. PELKER:     Your Honor, the database files pertain

3        to a cooperator that is not testifying until the end of trial.

4        Mr. Hassard talked to us on break regarding a spreadsheet that

5        contains passwords, which I think is what Mr. Ekeland is

6        referring to, which is separate from the database files.                  That

7        spreadsheet was a file on the devices that were produced in

8        discovery a long time ago.           And we separately produced the

9        export or extraction of that file to defense.               So they have had

10       it for a very long time.       It sounds like they may have missed

11       it in their review of the discovery.             It has been in their

12       possession for an extended period of time.

13                   THE COURT:     Let me leave it this way for the night.

14       And Ms. Pelker, I ask that you confer with Mr. Ekeland.                   Help

15       sort of guide him through what is there.

16                   And, Mr. Ekeland, if you overnight can take a look at

17       what is there.       And if there is any additional issues you want

18       to flag for me in the morning, that is fine.

19                   MR. EKELAND:     Yeah.      I think the issue is more is

20       that we just haven't been able to look at it.               And what we are

21       asking for is time -- like maybe his has been produced before,

22       maybe this hasn't.       But, you know, an SQL file, you need

23       technical equipment and our expert equipment and our expert who

24       just came in to open.       It is really just a question -- maybe

25       everything Ms. Pelker said, I have no reason to doubt --
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1                    THE COURT:       It is 5:20 now.     I know when I tried

2        cases, I usually didn't go to bed until 2:00 or 3:00 in the

3        morning.    I certainly think you have time to look at it.

4        Ms. Pelker can help you, your expert is here.              Open it up and

5        look at it before you tell me there is a problem.

6                    MS. PELKER:      To emphasize, the SQL files are

7        cooperating discovery.        That cooperator is not testifying until

8        next week at the earliest.

9                    THE COURT:       Okay.

10                   MS. PELKER:      It is not evidence.        We don't -- we

11       don't even believe that it really pertains to the subject

12       matter of that cooperator's testimony.            It was produced out of

13       an extreme abundance of caution.          You also have the emails and

14       the back and forth and the cooperator's Jencks to explain it.

15                   THE COURT:       All right.   So look at it overnight and

16       let me know in the morning if there is something that I am

17       missing here.        Okay?

18                   MR. EKELAND:      Understood, Your Honor.

19                   THE COURT:       Anything else before we adjourn for the

20       evening?

21                   All right.       I will see you all at 10:00 a.m. back in

22       my usual courtroom which is Courtroom 8.

23                   (Proceedings concluded at 5:21 p.m.)

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1                                 C E R T I F I C A T E
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3                    I, SHERRY LINDSAY, Official Court Reporter, certify
4        that the foregoing constitutes a true and correct transcript of
5        the record of proceedings in the above-entitled matter.
6

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10                                   Dated this 15th day of March, 2024.
11

12                                   ________________________
                                     Sherry Lindsay, RPR
13                                   Official Court Reporter
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